     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 1 of 115
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1                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3       UNITED STATES OF AMERICA,
                                                              Criminal Action
4                     Plaintiff,                              No. 1: 21-399
5               vs.                                           Washington, DC
                                                              February 20, 2024
6       ROMAN STERLINGOV,
                                                              9:16 a.m.
7                   Defendant.
        __________________________/                           MORNING PROCEEDINGS
8

9                             TRANSCRIPT OF JURY TRIAL
                       BEFORE THE HONORABLE RANDOLPH D. MOSS
10                          UNITED STATES DISTRICT JUDGE
11

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23                       APPEARANCES CONTINUED ON NEXT PAGE

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     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 2 of 115
                                                                              2

1                                APPEARANCES CONTINUED

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     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 3 of 115
                                                                                   3

1                                  TABLE OF CONTENTS

2                                      WITNESSES

3       Leo Rovensky

4             Direct examination continued by Mr. Brown                       6

5

6                                       EXHIBITS

7       Government Exhibits 807 - 809                                         14
        Government Exhibit 861                                                17
8       Government Exhibits 810 - 814                                         26
        Government Exhibits 517A - 517S                                       39
9       Government Exhibits 522, 522A                                         43
        Government Exhibit 53                                                 46
10      Government Exhibits 912, 914                                          56
        Government Exhibit 892                                                60
11      Government Exhibit 511E                                               61
        Government Exhibits 511A, 511D                                        63
12      Government Exhibit 513B                                               65
        Government Exhibit 521A                                               66
13      Government Exhibit 843                                                69
        Government Exhibit 412                                                70
14      Government Exhibits 413A - 413H                                       71
        Government Exhibits 416 - 418I                                        73
15      Government Exhibits 414A - 414M                                       75
        Government Exhibits 419A - 420G                                       91
16      Government Exhibits 411A - 411H                                       94
        Government Exhibits 431A, 431D, 431E, 432A, 432D, 432E                95
17      Government Exhibits 431C, 432C                                        97

18

19

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21

22

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     Case 1:21-cr-00399-RDM   Document 280     Filed 03/16/24     Page 4 of 115
                                                                                  4

1                                P R O C E E D I N G S
2                   THE COURTROOM DEPUTY:        Criminal case 21-399 United

3       States versus Roman Sterlingov.

4                   Let me tell the marshals to bring him.

5                   Criminal case 21-399, United States of America versus

6       Roman Sterlingov.

7                   Would counsel please state your name at the podium,

8       starting with government counsel.

9                   MR. BROWN:    Good morning, Your Honor.             AUSA

10      Christopher Brown for the government and with me at counsel

11      table are C. Alden Pelker and Jeffrey Pearlman.

12                  THE COURT:    All right.      Thank you.

13                  MR. EKELAND:    Good morning, Your Honor.             Tor Ekeland

14      for defendant, Roman Sterlingov, who is present in court.                 And

15      joining me at counsel table is Michael Hassard.

16                  THE COURT:    Thank you.      And do you have an answer to

17      my question, by the way, about the forfeiture trial, if there

18      is one?

19                  MR. EKELAND:    Yes, Your Honor.            We would like to have

20      the jury -- the same jury.

21                  THE COURT:    Okay.

22                  MR. EKELAND:    I do have one small thing for the Court

23      before we start today.

24                  THE COURT:    Okay.      Go ahead.

25                  MR. EKELAND:    As the Court knows, Mr. Sterlingov has
     Case 1:21-cr-00399-RDM    Document 280    Filed 03/16/24     Page 5 of 115
                         DIRECT EXAMINATION OF LEO ROVENSKY                          5

1       been unable to shave and clip his nails.                This morning we did

2       bring an electric shaver and the nail clipper.                And the

3       marshals wouldn't let it in.          They said ask the Court.            So we

4       are asking the Court for permission to bring the electric

5       shaver and nail clippers so Mr. Sterlingov can shave here and

6       clip his nails.

7                   THE COURT:     It is fine with me as long as the Marshal

8       Service is okay deferring to my decision with that, it is fine

9       with me.

10                  Do you want to adjourn to do that?

11                  MR. EKELAND:     Yeah.    Can we do that?

12                  THE COURT:     Anything else before we take that quick

13      break and get going?

14                  MR. EKELAND:     Not from the defense, Your Honor.

15                  THE COURT:     Anything else from the government?

16                  MR. BROWN:     No, Your Honor.

17                  THE COURT:     We need to adjourn today by 4:50 in light

18      of an obligation one of the jurors has.

19                  MR. EKELAND:     Thank you, Your Honor.

20                  (Recess taken at 9:18 a.m.)

21                  (Jury in at 9:45 a.m.)

22                  THE COURT:     Welcome back, members of the jury.              And

23      the witness can return to the witness stand.

24                            LEO ROVENSKY, previously sworn

25                  THE COURT:     And you may proceed when you are ready.
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 6 of 115
                         DIRECT EXAMINATION OF LEO ROVENSKY                    6

1                             DIRECT EXAMINATION CONTINUED

2       BY MR. BROWN:

3       Q.    Good morning, Agent Rovensky.

4       A.    Good morning.

5       Q.    On Thursday, we talked about an account on Bitcoin Talk

6       called Killdozer.       Can you remind the jury who Killdozer was?

7       A.    Killdozer is the defendant, Roman Sterlingov, on the

8       Bitcoin Talk forum.

9       Q.    And was Killdozer an active poster on Bitcoin Talk?

10      A.    He was.

11      Q.    So directing your attention to Exhibit 13, which has

12      already been admitted into evidence, I believe.              I would like

13      to direct your attention to message 530466.

14      A.    I'm sorry.      My screen is off.

15            Thank you.

16                  THE COURTROOM DEPUTY:       Give me one second.

17                  THE WITNESS:     It is up.

18      BY MR. BROWN:

19      Q.    Okay.   So is this one of the private or -- excuse me --

20      the public posts of Killdozer?

21      A.    Yes, it is.

22      Q.    I would like to ask you to read the first -- under the

23      body of the post, I would ask you to read the first chunk of

24      text right below it, the first paragraph, please.

25      A.    Killdozer writes, "While it is maybe feels cool when an
     Case 1:21-cr-00399-RDM   Document 280     Filed 03/16/24    Page 7 of 115
                         DIRECT EXAMINATION OF LEO ROVENSKY                           7

1       offline restaurant chain or a gas station or some other store

2       starts accepting Bitcoin, I think we should not forget that

3       Bitcoin is an online currency.          I even think of it as Liberty

4       Reserve, but much better."

5       Q.    And then could you read what he writes under bullet point

6       number 1?

7       A.    "Number 1, Bitcoin is not meant to be used offline in

8       stores, not even so much as on mobile devices, which would

9       work, but not as good as on PCs.          It is, however, a great and

10      unique online currency with some great qualities like speed,

11      low transaction fees, anonymity, sort of.               This is what it

12      should be used as.      And instead of putting our time on trying

13      to make it something if it is not that and trying to get

14      offline retailers to use it, we should spend more time on

15      promoting it online where it is at its best.                  Are there any

16      stores that use Liberty Reserve offline?                No.   Because it

17      wasn't meant for that."

18      Q.    And then could you read bullet point number 3 up to the

19      end of that fourth line, please?

20      A.    "There is no inherent reason to use Bitcoin offline.                 Are

21      you trying to achieve anonymity when paying for your lunch?

22      Pay with cash, much easier.          Transaction fees, pay with cash or

23      maybe are you trying to eat lunch in a restaurant that is on

24      the other side of the globe?         Well, then you have got bigger

25      problems."    Tongue out emoji.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 8 of 115
                         DIRECT EXAMINATION OF LEO ROVENSKY                    8

1       Q.    And then I would like to direct your attention to message

2       723859, please.

3             And by the way, what is the date of this post?

4       A.    This post is on January 31st, 2012.

5       Q.    And could you read the full body of that post, please?

6       A.    Sure.

7             "What guns?     Silk Road mainly sells drugs.         That is

8       already illegal and apparently already enough reason to try to

9       shut down it and Bitcoin, according to some politicians.              They

10      don't even have to care about guns."

11      Q.    And then I would like to direct your attention to post

12      number 831645, please.      What is the date of this post?

13      A.    April 2nd, 2012.

14      Q.    And directing your attention to the third line -- or the

15      third paragraph of that body.        Starting with the word "What,"

16      could you read the first full sentence of that paragraph,

17      please?

18      A.    "What are we really losing?"

19      Q.    And then directing your attention to message number

20      1599885, please.

21            And then does this post include quoted language?

22      A.    It does.

23      Q.    And could you read what is below the quoted language in

24      terms of how Killdozer responds to the quoted language?

25      A.    It starts right here.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 9 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    9

1             Killdozer responds, "Right now the whole picking Bitcoin

2       network is plausibly deniable money laundering."             Tongue out

3       emoji.

4       Q.    And then could I direct your attention to post number

5       2594297, please.

6             And then is there another quoted passage in this post?

7       A.    There is.

8       Q.    Could you read the quote and then read how Killdozer

9       responds, please?

10      A.    The quote, "Sure.     That is the way I intended it.

11      Nevertheless, what Franky said still apply to any company

12      trying to put those ATMs in place.         And it seems to be a huge

13      problem."    End of quote.

14            The response, "What huge problem?         FinCEN said they are

15      now regulating Bitcoin, so all companies need licenses.               Get

16      the license and you are set."

17      Q.    What was the date of that post?

18      A.    June 27th, 2013.

19      Q.    What is FinCEN?

20      A.    FinCEN is an investigative financial organization that has

21      information on the Bank Secrecy Act and anti-money laundering.

22      Q.    And then directing your attention to post 267228, please.

23      And then scrolling down to the bottom of that post.              Is there a

24      quoted language towards the bottom of that post?

25      A.    There, starting right here.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 10 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   10

1        Q.    Could you read the quote language and then read how

2        Killdozer responds?

3        A.    The quote, "I am not sure why people are so afraid when

4        money laundering is mentioned.       If you are not a criminal,

5        money laundering is not a crime."        End of quote.

6              Killdozer's response, "If you are not a criminal, it is

7        not called money laundering.        If all of your money sources are

8        legit and taxed, you can't or will want to launder the money.

9        You will use it and nobody will have any problems with it.

10       Earning money and not paying taxes on it, while still living in

11       the country that needs those taxes and using the services it

12       provides for those taxes is a crime though."

13       Q.    Now directing your attention back to the

14       shormint@hotmail.com records.       Were you able to see that

15       Shormint was emailing with somebody at email address invalid

16       where the L is a 7 @gmail.com?

17       A.    I was.

18       Q.    I would like to pull up Exhibit 805, which I believe has

19       already been admitted.

20             Agent Rovensky, do you recognize this exhibit?

21       A.    I do.

22       Q.    And what is this?

23       A.    These are records provided to the government by Microsoft.

24       Q.    Looking at column B, what is the heading for column B

25       here?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 11 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   11

1        A.    The heading for column B is contact email.

2        Q.    Is there an entry in column B?

3        A.    There is invalid@gmail.com where there is a 7 instead of

4        the L.

5        Q.    What is the understanding of what it means to be a contact

6        email?

7        A.    This is a contact of the shormint@hotmail.com email

8        address.

9        Q.    In the Shormint email search warrant, was the

10       investigative team able to recover messages between Shormint

11       and invalid@gmail?

12       A.    No, we were not.

13       Q.    Let me pause there.     I'm sorry.

14             Now directing your attention to Exhibit 15, which is the

15       private messages on Bitcoin Talk -- and this has already been

16       admitted.

17             I would like to direct your attention to private message

18       125567.    What is the date of this private message?

19       A.    The date of this message is October 28, 2011.

20       Q.    Is this under received private messages?

21       A.    This is a private message received by the Akemashite

22       Omedetou Bitcoin Talk account.

23       Q.    And that date, October 28, how does that relate in time to

24       the launch of Bitcoin Fog?

25       A.    This is one day after the launch of Bitcoin Fog.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 12 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  12

1        Q.    Who is the sender of the message that Akemashite Omedetou

2        received?

3        A.    The sender is Andrew Bitcoiner.

4        Q.    Could you read the subject line of that message?

5        A.    Subject, "Interested in your site."

6        Q.    And that -- pause.     And then, moving down to the next

7        private message, message 125710.        What is the date of that

8        private message?

9        A.    Also October 28, 2011.

10       Q.    And who is this private message from?

11       A.    From Andrew Bitcoiner.

12       Q.    Is this a little later in the day on October 28th?

13       A.    It is.

14       Q.    And what is the subject line here?

15       A.    It is a continuation of the "Interested in your site"

16       subject.

17       Q.    Is there a quoted passage in this private message?

18       A.    There is.

19       Q.    Can you tell from looking at this who the author of the

20       quoted passage is?

21       A.    The author is Akemashite Omedetou.

22       Q.    Could you just read what Akemashite Omedetou says in that

23       quoted block?

24       A.    So Akemashite Omedetou responds, "It does sound

25       interesting, but do you go about estimating a price of such a
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 13 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  13

1        new service?     Also, if the deal would be made, we would

2        publically announce it, right?"

3        Q.     And then could you read how Andrew Bitcoiner responds to

4        Akemashite Omedetou?

5        A.     Andrew Bitcoiner responds, "Hey there.         Thanks for

6        writing.   I am very excited about this possible exchange.            I'd

7        be happy to negotiate with you on what you perceive the value

8        of this site is for you.      If we could transfer ownership, it

9        would be best practice to announce that the site is under new

10       ownership, but I would prefer not to have my identity publicly

11       linked to it.     Let's continue this through email.          My email is

12       invalid@gmail.com.     Please get back to me your asking price and

13       the details of what it includes.        Keep in mind, I'd be happy to

14       engage you for continued development work if I find something

15       that I'd like to expand in or if you have some good ideas for

16       it."

17       Q.     If we scroll down just a little bit further, how does he

18       sign that private message?

19       A.     He signs off, "Many thanks, Andrew."

20       Q.     Did law enforcement obtain records for the

21       invalid@gmail.com email address?

22       A.     We did.

23       Q.     And directing your attention to Exhibit 807, which I do

24       not think has been admitted yet.        And, actually, in your binder

25       or up here.      Could you quickly look through 807, 808 and 809,
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 14 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  14

1        please?

2        A.    Sure.

3              Okay.

4        Q.    Do you recognize Exhibits 807, 808 and 809?

5        A.    I do.   These are emails obtained from the legal process

6        for the invalid@gmail.com email address.

7        Q.    And are these fair and accurate copies of the emails that

8        were obtained through the legal process for the

9        invalid@gmail.com?

10       A.    They are.

11                  MR. BROWN:    And the government moves to admit and

12       publish Exhibits 807, 808 and 809?

13                  THE COURT:    Any objection?

14                  MR. EKELAND:     No objection, Your Honor.

15                  THE COURT:    Exhibits 807, 808 and 809 are admitted

16       and may be published to the jury.

17                  (Whereupon, Exhibit No. 807 - 809 were admitted.)
18       BY MR. BROWN:

19       Q.    Could we scroll down just a second so there is nothing

20       below.    Go back up to the top.

21             So what does this email show?        First of all, what is the

22       date of this email?

23       A.    The date of this email is November 3rd, 2011.

24       Q.    Who is it from?

25       A.    The email is from shormint@hotmail.com using the Vasily
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 15 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   15

1        Kunnikov moniker.

2        Q.    Who is this email to?

3        A.    The email is to the invalid@gmail.com email.

4        Q.    And could I ask you to read the whole email here, please?

5        A.    Sure.   So Shormint writes, "Hello, Andrew.          I'm sorry for

6        the delay.    We were discussing the possibilities of selling the

7        service.   For now, however, we have decided that while we are

8        not in principle against selling it, it is very difficult, for

9        now, to set the price.      Because it is just starting and it is

10       difficult to know how popular it will become and how much

11       revenue it will generate.      We are not either running it just

12       for money.    We are also interested in having such a service and

13       to benefit the Bitcoin movement, make sure it will prosper.                We

14       were discussing a lot what kind of price to set.            And no sane

15       suggestion could be made.      I mean, of course, if you say that

16       you will pay some ridiculous price for it, like a couple of

17       hundred thousand dollars or something, we would sell directly,

18       but we do understand that is preposterous.           This is not

19       actually a finely covered price proposition.           It is just a

20       hypothetical scenario.      In case someone would pay that kind of

21       money, I guess we would have to set up a physical meeting, meet

22       in real life and it would be a much more serious process, of

23       course.

24             "We will see how the service is going.          And it is possible

25       that the time will come when we will see the actual value in
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 16 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   16

1        this service and be able to suggest a serious price.             If you

2        will still be interested to buy, you will have the first

3        chance.    In the meantime, we are open to any other cooperation

4        proposals.    Maybe you have other service that we can cooperate

5        with or even other ideas that we can help implement and be a

6        part of.   I understand that you are as interested in the future

7        of Bitcoins as much as we are.       So if there are any ideas, I am

8        sure we together would make best of it.          I am proficient

9        developer in C/C++, mostly for Windows platform, but many of

10       the libraries I use are platform independent Java, PHP, Python,

11       HTML/CSS, JS.    My friends have additionally experience in

12       assembler .net, Pearl and some other areas.           Anyhow, we do hope

13       to hear from you.     We will in any case contact you when we have

14       a real price proposal.      Akemashite Omedetou, Bitcoin Fog."

15       Q.    Now, I would like to pause here and direct your attention

16       to an exhibit that has not yet been admitted, Exhibit 861.             Do

17       you recognize Exhibit 861?

18       A.    I do.   This is an email obtained from the legal process

19       for the heavydist@gmail.com account.

20       Q.    Does this -- is this a fair and accurate copy of the

21       records produced by Google in response to the legal process for

22       heavydist@gmail.com?

23       A.    Yes, it is.

24                   MR. BROWN:   The government moves to admit and publish

25       Government Exhibit 861?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 17 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   17

1                   THE COURT:    Any objection?

2                   MR. EKELAND:     Just on relevance grounds.

3                   THE COURT:    Overruled.

4                   Exhibit 861 is admitted and may be published to the

5        jury.

6                   (Whereupon, Exhibit No. 861 was admitted.)
7        BY MR. BROWN:

8        Q.    Agent Rovensky, could you read who this email is from,

9        please?

10       A.    This email is from Mr. Sterlingov from his

11       heavydist@gmail.com account.

12       Q.    What is the date of this email?

13       A.    June 12th, 2011.

14       Q.    What is the subject line for this email?

15       A.    Subject line is, "Poker bot co-op."

16       Q.    Could I direct your attention to this -- the paragraph a

17       few paragraphs down, starting with the word "So"?             And just

18       have you read the first -- read that full paragraph until you

19       get to an emoji, please.

20       A.    The defendant writes, "So what can I bring to the table

21       then?   Well, before my skills in the AI are getting better that

22       would probably be the software development skills.             I am very

23       proficient in C++, Delphi, PHP, JavaScript, a couple of other

24       languages, but mainly those.        I have done a whole lot of Win

25       API coding and sneaky stuff like faking input, screen capture,
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24    Page 18 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     18

1        intercepting function calls, et cetera, you know, all of those

2        things that will come in handy when writing a poker bot."

3        Tongue out emoji.

4        Q.    And then returning to Exhibit 807, 808 and 809.              Have you

5        reviewed all three of those exhibits?

6        A.    Yes, I have.

7        Q.    Could we just briefly show Exhibit 808, please.

8              And so is this a further continuation of the same email

9        thread between Andrew Bitcoiner AKA Invalid and Akemashite

10       Omedetou?

11                   MR. EKELAND:    Objection, Your Honor, leading.

12                   THE COURT:   Overruled.

13                   THE WITNESS:    Yes, it is.

14       BY MR. BROWN:

15       Q.    Okay.   And going up to the top of that message, could you

16       just read that paragraph there, starting, "Hello, Andrew"?

17       A.    So Shormint writes, "Hello, Andrew.             We have considered

18       the amount you have specified will not even cover our

19       development costs.     We are much more interested in keep running

20       it, if not for anything else to have at least one mixing

21       service out there that does everything properly.              The counting

22       of the monthly income is, of course, the main scheme that is

23       used when selling websites.         However, since we are very new and

24       the trust is just being built up, that scheme would produce a

25       much too small price.      If we have any other proposition
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 19 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   19

1        considering Fog, you will be the first we shall contact."

2        Q.    And then directing your attention to Exhibit 809, please.

3              Is this a further continuation of the same email thread?

4        A.    It is a continuation of the email thread between Shormint

5        and Invalid.

6        Q.    What is the date of this email?

7        A.    December 17th, 2011.

8        Q.    Could I ask you to read the -- going to the last full

9        paragraph starting with the word "is," could you please read

10       those first two full sentences?

11       A.    Sure.   Shormint writes, "Is it going well for Bit jack?             I

12       am a little surprised by the apparent lack of general interest

13       to Bitcoin poker and Bitcoin casinos, especially when it became

14       illegal to play in the US and considering the trouble people

15       have to deal with to withdraw their money with credit cards and

16       such.   It must reach a critical mass, I guess, for an average

17       Joe to start playing in Bitcoins."

18       Q.    And on Bitcoin Talk did Akemashite Omedetou also publicly

19       post about online poker?

20       A.    He did.

21                  MR. EKELAND:     Objection, Your Honor, leading.

22                  THE COURT:    Overruled.

23       BY MR. BROWN:

24       Q.    Directing your attention to Exhibit 13, which has been

25       previously admitted and message 648602.          And what is the date
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 20 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   20

1        of this post?

2        A.     This is a post made on December 13th, 2011.

3        Q.     And what is the subject of this post?

4        A.     The subject is, "Regarding poker and the shared pot at the

5        table in a decentralized network."

6        Q.     And this is a long post.     I want to move down towards the

7        bottom of this.      There is a paragraph starting, What is at the

8        end.

9               Excuse me.    I misspoke.    "What if at the end."

10              Could you look at that paragraph starting, "What if at the

11       end" and just read the very last sentence of that paragraph

12       that is in the parenthesis?

13       A.     Sure.   Akemashite Omedetou writes, "Losing the money and

14       getting higher fee and bad will and not really losing anything

15       more by just making the key public as the network wants."

16       Q.     Now we can close this out.

17              Directing your attention back to the High Hosting records

18       which I believe have been previously admitted.            Exhibit 502E,

19       as in echo.

20              Now, what is the date of this record?

21       A.     This is from November 29th, 2011.

22       Q.     Is this -- what is this record from?

23       A.     From Highhosting.net.

24       Q.     And could you -- what does this message appear to contain?

25       A.     This is internal correspondence by High Hosting related to
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 21 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  21

1        a support ticket for Akemashite Omedetou.

2        Q.    And is there a statement from the -- that appears to be

3        from Akemashite Omedetou here?

4        A.    There is.

5        Q.    Could you read -- could you point that out for the jury

6        where that is on the screen?

7        A.    Right here.

8        Q.    Could you read the block of text starting with the word

9        hello?

10       A.    "Hello, can you please check this?         I believe this is

11       incorrect.    I have paid and I can see in my Liberty Reserve

12       account that the payment has been made...            Here is the row from

13       LR.   That is the date and something called batch number.             Maybe

14       this will help you find my payment?"         And then there is a date

15       November 25th, 2011; a time, 10:55; the batch number, 77407610;

16       and the Liberty Reserve account number, U9214765.

17             And it says, "Thank you."

18       Q.    And directing your attention to 502F.          What is this

19       exhibit?

20       A.    This is another record from High Hosting.

21       Q.    What is the date of this exhibit?

22       A.    February 13th, 2012.

23       Q.    And is this -- what is the format of this exhibit?

24       A.    This is an email.

25       Q.    What is the subject line of this email?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 22 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    22

1        A.    Subject is regarding "Ticket ID 844308, the website is

2        down."

3        Q.    And then that top part of the exhibit, does that -- who is

4        that message from?

5        A.    This message is from Shormint using the Vasily Kunnikov

6        moniker.

7        Q.    Could you read the text at the top of this message?

8        A.    So he writes, "What do you mean by give further attention?

9        The problem is still not fixed, if that is what you mean...

10       Thanks."

11       Q.    Directing your attention to 502H, please.           What is the

12       date of this exhibit?

13       A.    February 21st, 2012.

14       Q.    And who is the sender of this message?

15       A.    The sender here is Reseller club sales team.

16       Q.    And what is the subject line of this message?

17       A.    Request for transfer of BitcoinFog.com.

18       Q.    Could you read the first paragraph, "We have received"?

19       A.    "We have received a request for transferring

20       BitcoinFog.com to a new registrar, internet.BScorp.             This

21       request may have been placed by your customer.            If your

22       customer approves this transfer request, BitcoinFog.com will be

23       transferred and will no longer be accessible in your control

24       panel."

25       Q.    And the date of this message, how does that relate in
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 23 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     23

1        terms of time to the launch of Bitcoin Fog?

2        A.    This is several months after the launch of Bitcoin Fog.

3        Q.    So I'd like to flip back to Exhibit 1, which has been

4        previously admitted.     And directing your attention to post

5        number 66.    And what is the date of this post?

6        A.    February 19th, 2012.

7        Q.    Who made this post?

8        A.    Akemashite Omedetou.

9        Q.    And could you read the quoted language?

10       A.    The quote is, "I made a deposit on the 8th.            It still

11       shows the balance is being updated.          It's been much more than

12       two hours."

13       Q.    Could you read the full response from Akemashite?

14       A.    "I apologize for that.        We have built in an automatic

15       lockdown in the system if it senses that something is trying to

16       do some strange requests/tampering with the sent data and so

17       on.   It seems now that our service is a little bigger than

18       before, such things happen more and more often.             And some

19       lockdowns have been happening, since we don't really have the

20       manpower to monitor the service fully 24/7, although it is

21       checked on every day.      These delays have been happening.           Each

22       time we have to check exactly what happened.            And if there was

23       no real risk of hack ins and losing funds, restart the service.

24       We have done it now.

25             "Certainly this is not the way it is supposed to work,
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 24 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   24

1        lockdown when anything happens.        This was a setting that worked

2        for us in the beginning.      But now we, obviously, have to rework

3        our routines, but still keep the service secure.            I apologize

4        for all of the days.     And they did indeed happen a couple of

5        times before due to these lockdowns.         And we will be working on

6        getting rid of them.     As of now, we have not detected any

7        actual breaches of our security.        And all of the funds are

8        intact.   If your payouts are still not going -- starting to go

9        through after this message, please contact us."

10       Q.    And then if we could scroll down to post number 68,

11       please.   What is the date of this post?

12       A.    Also February 9th, 2012.

13       Q.    And who made this post?

14       A.    Akemashite Omedetou.

15       Q.    Could you read the second paragraph starting with the word

16       "We" please?

17       A.    "We are checking what the situation with BitcoinFog.com

18       is.   Since we are not hosting those servers ourselves, we have

19       to check with the external company."

20       Q.    And then scrolling down to post number 70.           What is the

21       date of this post?

22       A.    February 16th, 2012.

23       Q.    What who is the author of this post?

24       A.    Akemashite Omedetou.

25       Q.    Could you read the full post, please?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 25 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     25

1        A.    "Yes.   After all of this time, we got the news today that

2        the hoster is stopping delivering the kind of hosting we were

3        using.    And they tell us this after they have shut down the

4        site without any warnings...        Now we are just waiting on them

5        to give us domain transfer codes so we can get move the site to

6        another company..."

7        Q.    And just scrolling down to the next post in the sequence

8        there, number 71.     What is the date of that post?

9        A.    February 26, 2012.

10       Q.    And who is the author?

11       A.    Akemashite Omedetou.

12       Q.    Could you just read the first paragraph of that post,

13       please?

14       A.    "Problems with the freenet website are finally seemed to

15       be resolved.    The extra time was due to the domain transfer.

16       Also we now on Bitcoin-hosting.com, which is good for the

17       Bitcoin economy."     Smily face.

18       Q.    So I would like to direct your attention back to certain

19       Shormint emails, specifically 810, 811, 812, 813, 814.

20             Just take a moment to -- if we could pull that up on your

21       screen.   Have you reviewed those, 810 through 814?

22       A.    I have.

23       Q.    Do you recognize these records?

24       A.    I do.   These are records obtained from Microsoft pursuant

25       to legal process for the shormint@hotmail.com account.                This
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 26 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  26

1        was for the one that was activated in October of 2015.

2        Q.    Are these records fair and accurate copies of the records

3        provided by Microsoft in response to that legal process?

4        A.    They are.

5                   MR. BROWN:    The government moves to admit and publish

6        810 through 814.

7                   THE COURT:    Any objection?

8                   MR. EKELAND:     No objection.

9                   THE COURT:    Exhibits 810 through 814 are admitted and

10       may be published to the jury.

11                  (Whereupon, Exhibit Nos. 810 - 814 were admitted.)
12       BY MR. BROWN:

13       Q.    Directing your attention to 810, what is the date of this

14       message?

15       A.    October 12th, 2015.

16       Q.    And who is this message from?

17       A.    From Orangewebsite.com.

18       Q.    Who is it directed to?

19       A.    It is directed to privacy department,

20       shormint@hotmail.com.

21       Q.    What is the subject heading of this email?

22       A.    Customer invoice-invoice 30579.

23       Q.    And could you read the text where it says, "Dear customer"

24       and then the following lines, please?

25       A.    "Dear customer, this is a notice that an invoice has been
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 27 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     27

1        generated 12 October 2015.      Your payment method is PayPal."

2        Q.     Looking at this record can you tell what the invoice is

3        for?

4        A.     I can.

5        Q.     Could you point that out to the jury on the screen?

6        A.     Right here.

7        Q.     Can you explain to the jury what the invoice -- what

8        product or service is being invoiced here?

9        A.     This is domain renewal for BitcoinFog.com for hosting of

10       the BitcoinFog.com domain for a period of five years from

11       October 25th, 2016 to October 24th, 2021.            And the cost for

12       this renewal is 69 Euro and 50 cents.

13       Q.     Very quickly.   Directing your attention to Exhibit 811.

14              What is Exhibit 811?

15       A.     This is another email correspondence between Orange

16       website and Shormint.

17       Q.     And then directing your attention to Exhibit 812.              And

18       what is Exhibit 812?

19       A.     Correspondence between Orange website and Shormint.

20       Q.     And then Exhibit 813.    What is this, Exhibit 813?

21       A.     Correspondence between Orange website and Shormint.

22       Q.     And then Exhibit 814.    What is Exhibit 814?

23       A.     Email correspondence between Orange website and Shormint.

24       Q.     So at some point, Agent Rovensky, did Bitcoin Fog set up a

25       Tor gate?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 28 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                     28

1        A.    They did.

2        Q.    And what is a Tor gate?

3        A.    A Tor gate is a way to access a hidden services site on

4        the darknet such as Bitcoin Fog from the regular internet,

5        so -- without having to use a Tor browser.

6        Q.    So directing your attention back to Exhibit 1, which has

7        previously been admitted.      And I would like you to take a look

8        at post number 86, please.      What is the date of this post?

9        A.    December 3rd, 2012.

10       Q.    And who made this post?

11       A.    Akemashite Omedetou.

12       Q.    Now, towards the bottom of the screen here, there is a

13       paragraph starting now.      Could you read that full paragraph,

14       please?

15       A.    "Now for some good news.      We have launched a Tor gate so

16       that service can be accessed even without Tor

17       https://gate.BitcoinFog.com.

18       Q.    Could we scroll down a little further in that post.               Could

19       you read the next two full paragraphs, please?

20       A.    "This is less secure than going through Tor itself, but

21       all connections are going through SSL, so information leaks are

22       minimal.   Basically only the fact itself that you are accessing

23       the website itself could be observed by on adversary.                 Still if

24       you have Tor installed, you should be going to the hidden

25       services link directly.      If you are using the Tor gate, make
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 29 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                          29

1        sure to keep an eye on the SSL indicator.             The real Bitcoin Fog

2        service should always have a valid certificate for

3        'Gate.BitcoinFog.com.'      You should not receive any SSL

4        warnings.     The Tor gate is operating in testing mode.               And

5        since it is in clearnet, it could be shut down at any time.

6        The hidden services is still the primary access point for

7        Bitcoin Fog.    But if the site loads and the SSL looks fine, you

8        can use it relatively safely."

9        Q.    Agent Rovensky, do you have an understanding of what an

10       SSL is?

11                   MR. EKELAND:    Objection, Your Honor, 702.

12                   THE COURT:   I will allow the foundational question.

13       BY MR. BROWN:

14       Q.    If you know, do you have an understanding of what an SSL

15       is?

16       A.    Sure.   It is a certificate that encrypts the website and

17       protects a user's data when on that website.

18       Q.    Agent Rovensky, are you familiar with a financial

19       institution called BitPay?

20       A.    I am.

21       Q.    What sort of financial institution is it?

22       A.    BitPay is a payment processing service that connects

23       online shoppers who want to pay with Bitcoin with merchants

24       selling goods and services.         So a shopper who wants to pay with

25       Bitcoin sends the Bitcoin to BitPay and then BitPay provides it
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 30 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    30

1        a fiat equivalent of that amount to the merchant that is

2        selling the good or service.

3        Q.    Now, in your binder I'd like to have you review multiple

4        exhibits, Exhibits 439 through 443G, please.            And I believe in

5        your binder some of the Excel spreadsheets may have the first

6        page printed, but we'll address that.

7                     MR. BROWN:   Excuse me.    438 through 443G.

8                     THE COURTROOM DEPUTY:     I'm sorry.      438 to --

9                     MR. BROWN:   443G, as in gulf.

10                    THE COURTROOM DEPUTY:     Thank you.

11                    THE WITNESS:   Do you know if it is in binder 2?

12                    MR. BROWN:   Do you know which?         Beginning of 3 maybe.

13                    THE WITNESS:   438?

14       BY MR. BROWN:

15       Q.    Yes.   Through 443G, as in gulf.

16                    MR. BROWN:   Your Honor, while the witness is

17       reviewing those, can I raise something on the phone, please?

18                    THE COURT:   Yes.

19                    (Conference held at the bench.)

20                    THE COURT:   Okay.

21                    MR. BROWN:   So, Your Honor, these records, they were

22       assembled by the subpoena respondent, BitPay.             And we may be

23       running into a similar situation where there are records in a

24       spreadsheet from multiple different accounts.             And they are

25       there just because they are the identifiers that were asked for
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 31 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   31

1        in the subpoena.     This is as they were assembled by the

2        company, BitPay.     The government would be fine with a similar

3        instruction to the jury, just the fact that certain entries are

4        grouped with other entries, doesn't -- you know, should not be

5        read into that fact that -- that doesn't imply association

6        necessarily between those entries, just the fact they are on

7        this same spreadsheet.      These are records as they were provided

8        in the form they were provided by BitPay.

9                    THE COURT:   This is how they were requested?

10                   MR. BROWN:   Yes, Your Honor.       It is because the

11       subpoenas would request, you know, all transactions for X, Y, Z

12       identifiers they would search the records for X, Y and Z and

13       produce all in the same spreadsheet.

14                   MR. EKELAND:    Your Honor, it is highly prejudicial.

15       The government has had ample time to separate the spreadsheets.

16       They are putting the heavydist@gmail.com, which this is

17       Mr. Sterlingov's email right next to Shormint.            This is not an

18       ancillary issue in this case.       The government is trying to say

19       that Mr. Sterlingov is shormint@hotmail.com without any

20       evidence.    You know, they are bringing in an expert to try and

21       do this.    This should be separated.       This is a really clear 403

22       issue here.

23                   THE COURT:   Mr. Brown.

24                   MR. BROWN:   Your Honor, this is not a 403 issue.

25       This is simply a grouping together, which was conducted not by
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 32 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                       32

1        a government agency.      This was a subpoena respondent.              This

2        should be a small issue, but we wanted to raise it just for the

3        avoidance of, you know, having the objection raised midstream.

4        But it is not substantially more prejudicial.             There is nothing

5        to be implied by the grouping of these.           These are just

6        transactions that BitPay processed.          And, you know, they

7        returned records for certain identifiers.

8                   MR. EKELAND:      Your Honor, the mere fact that the

9        government is raising the issue tells you that they are aware

10       that there is an issue placing heavydist@gmail.com next to the

11       Shormint is an improper attempt to prejudice the jury into

12       thinking that those two emails are the same.            It is not clear.

13       The government has had ample time to separate this out of the

14       spreadsheet.    It is an Excel spreadsheet.           They should be

15       separate exhibits.      And the jury should get an instruction

16       saying that there is nothing in evidence saying these two

17       emails are the same.      They should be separated.         It is highly

18       prejudicial under 403.

19                  MR. BROWN:     Your Honor, if we had separated these

20       records, they would no longer be in the form of the business

21       records that are produced by BitPay.          And the defense would be

22       up in arms that we have altered the evidence here.              We are

23       simply -- and the defense has stipulated to the authenticity of

24       these records.       There is nothing -- there is nothing remotely

25       prejudicial, let alone substantially more prejudicial than
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 33 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    33

1        probative about the mere fact that there is a spreadsheet that

2        has different entries for different identifiers.

3                    THE COURT:   So my concern here is just that it is not

4        going to be terribly easy to adjust this on the fly right now.

5        But I would request, Mr. Ekeland, if there are other -- you

6        have all of the exhibits.      If there are other ones like this,

7        please let us know in advance.       Let the government know in

8        advance if you don't object to them altering exhibits to

9        address this concern.      What I am inclined to do is allow it now

10       with an instruction, but request that when the exhibits go back

11       to the jury during deliberations, that you actually do break it

12       out.    And we may need a -- if they are already letters, we will

13       have to figure out some way to number the exhibits to do it.

14       But that way, I mean, as they are looking at this, my

15       instruction will be fresh in their mind.             And when it goes back

16       to them in the jury room, assuming that Mr. Ekeland has no

17       objection to actually altering the exhibits -- I think probably

18       what you could do is redact the Shormint from one and then

19       redact the heavydist from the other and then it is two separate

20       exhibits.    So it will go back to the jury for their

21       deliberations that way.

22                   MR. BROWN:   Yes, Your Honor.       We can certainly do

23       that.

24                   THE COURT:   All right.

25                   MR. EKELAND:    Your Honor, and just to be clear, the
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 34 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   34

1        Court will instruct the jury very clearly that they are not to

2        infer that shormint@hotmail.com and heavydist@gmail.com are the

3        same user just from this exhibit?

4                     THE COURT:   Well, what I will do is just say the

5        grouping here is the way they were requested and they should

6        not draw any inference from the fact they are grouped in the

7        exhibit.     Okay?

8                     MR. BROWN:   Thank you.

9                     (End of bench conference.)

10       BY MR. BROWN:

11       Q.    So Agent Rovensky, during that time, have you had a chance

12       to review those records?

13       A.    Yes.

14       Q.    And do you recognize these records?

15       A.    Yes.   These are records produced by BitPay to the

16       government pursuant to legal process.

17       Q.    And are these records -- do they fairly and accurately

18       reflect the records as they were produced by BitPay in response

19       to legal process?

20       A.    They do.

21                    MR. BROWN:   The government moves to admit and publish

22       Exhibits 438 through 443G, as in gulf.

23                    THE COURT:   All right.    And I will admit those

24       exhibits and they can be published to the jury.            But I want to

25       instruct the jury that you will see on these exhibits there are
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 35 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   35

1        different email accounts that are listed.            And that is just --

2        the reason that you see the same email accounts on the page is

3        because that is the way the government requested in their

4        information they requested from BitPay.          So you shouldn't draw

5        any inference with respect to association based on the fact

6        that they appear on the same page here.          That is simply the

7        information the government requested.

8                   You may proceed.

9        BY MR. BROWN:

10       Q.    Agent Rovensky, directing your attention to Exhibit 441B,

11       which is up on the screen here.        Do you recognize this exhibit?

12       A.    I do.

13       Q.    And does this show transactions?

14       A.    These are BitPay transactions, yes.

15       Q.    And then directing your attention, if we could flip over

16       to 441A, as in alpha.      Is Exhibit 441A -- is this also a record

17       by BitPay?

18       A.    Yes, it is.

19       Q.    And going back up to the top of page 2, could you just

20       read what it says under column A?

21       A.    For column A, the information BitPay used to create the

22       report.

23       Q.    And so flipping back to Exhibit 441B, so in column A, what

24       is shown here?

25       A.    So column is the input ID.       And this is basically the
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 36 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    36

1        search terms that BitPay used to produce the records.

2        Q.    Now, just scrolling over, looking at some of the other

3        headings here.       What is the heading for column C?

4        A.    The heading for column C is Bitcoin address.

5        Q.    What is the heading for column D?

6        A.    Transaction time.

7        Q.    And then scrolling over to column J, what is the column --

8        heading for column J?       Excuse me.

9        A.    Merchant name.

10       Q.    How about column K?

11       A.    Merchant address.

12       Q.    And what is your understanding of what the merchant name

13       and merchant address is?

14       A.    Merchant in this transaction is the company that is

15       selling the goods or service.

16       Q.    And then scrolling over to column N, as in November, what

17       is the heading there?

18       A.    Buyer name.

19       Q.    And what is your understanding of what is included in

20       column N, as in November?

21       A.    This is the buyer or shopper that is purchasing the goods

22       or services.

23       Q.    So I would like to scroll back to the left and look

24       specifically at row 6.

25             And I'd like to direct your attention to the transaction
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 37 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   37

1        time.

2              Well, first of all -- yeah.       I'm sorry.     The transaction

3        time for row 6, under column D, what is noted here?

4        A.    December 1st, 2012, 18:58:11.

5        Q.    Can you tell looking further along row 6 -- can you tell,

6        what kind of transaction this was and how much it was for?

7        A.    I can.   This was a payment from Shormint to Microtronix in

8        the amount of 6.5548 Bitcoin, which had a USD value at the time

9        of $82.

10       Q.    If you could pause here.      Could you circle with your

11       finger where the Bitcoin value is and the USD value is?

12       A.    Sure.    The Bitcoin value is here, 6.55.        And the USD value

13       is right here, $82.

14       Q.    What is the name of the merchant for this transaction?

15       A.    Microtronix.

16       Q.    If we could scroll over to the right, look at the buyer

17       information, maybe clear off the --

18             Can you point out to the jury the buyer name here?

19       A.    So the buyer name is the Akveduk Papademos moniker used

20       by, if you look at the buyer email, shormint@hotmail.com.

21       Q.    Was December 1st, 2012 close in time to when Bitcoin Fog

22       announced its Tor gate?

23       A.    Yes, it is.

24       Q.    Did the investigation team obtain records from

25       Microtronix?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 38 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   38

1        A.    We did.

2        Q.    So in your binder, I direct you to review Exhibits 517A

3        through 517S, as in Sierra.

4        A.    Okay.

5        Q.    Do you recognize these Exhibits 517A through 517S?

6        A.    I do.   These are records provided to the government by

7        Microtronix pursuant to legal process.

8        Q.    Do these exhibits fairly and accurately show the records

9        as they were provided by Microtronix?

10       A.    Yes, they do.

11                   MR. BROWN:   The government moves to admit and publish

12       517A through 517S.

13                   THE COURT:   Any objection?

14                   MR. EKELAND:    I'm sorry.     Through 517 -- what was the

15       last letter?

16                   MR. BROWN:   S, as in Sierra.

17                   MR. EKELAND:    Let me just look at them real quick.

18                   I'm sorry.   Mr. Brown, who are you saying these are

19       all from?     They are from Microtronix?

20                   MR. BROWN:   I believe the witness testified these are

21       from Microtronix.

22                   MR. EKELAND:    Could you just take a look at 517I real

23       quick?

24                   MR. BROWN:   You have stipulated.

25                   MR. EKELAND:    You are not saying that is from
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 39 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    39

1        Microtronix.

2                     MR. BROWN:   It is.

3                     MR. EKELAND:   No objection.

4                     THE COURT:   All right.    517A through S are admitted

5        and may be published to the jury.

6                     (Whereupon, Exhibit Nos. 517A - 517S were admitted.)
7        BY MR. BROWN:

8        Q.    Just, Agent Rovensky, directing your attention to 517A,

9        what is this document?

10       A.    This is an email receipt for a payment received by

11       Microtronix.

12       Q.    What is the date of this receipt?

13       A.    December 1st, 2012.

14       Q.    And if you scroll down, what is the total USD transaction

15       of this?

16       A.    $82.

17       Q.    Who is it from?     Who or is the -- I'm sorry.         Let me

18       rephrase.    Whose invoice is this?

19       A.    This is an invoice to shormint@hotmail.com using his

20       Akveduk Papademos moniker.

21       Q.    And what company is this invoice being issued by?

22       A.    The company is Microtronix.

23       Q.    Does this invoice appear to correspond to a BitPay

24       transaction we just looked at?

25       A.    It does.
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 40 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                   40

1        Q.    Is there geographic information associated with

2        Shormint.com here?

3        A.    To Microtronix, Shormint provides an address in Neapoli,

4        Greece.

5        Q.    Directing your attention to Exhibit 217D, as in delta.

6              And what does this exhibit appear to be?

7        A.    This an invoice from Microtronix.

8        Q.    And under invoice, what information is below that?

9        A.    Invoice to Bitcoin Fog, Akveduk Papademos, with a Neapoli,

10       Greece address.

11       Q.    What is the amount of this invoice?

12       A.    The amount of this invoice is $82.

13       Q.    Is there a description of the goods or services being

14       invoiced here?

15       A.    There is.      Geotrust quick SSL premium SSL.

16       Q.    And then directing you to 517E, as in echo.

17             What does this appear to be?

18       A.    These are the details --

19                  THE COURT:     I think you said 517.

20                  I'm sorry.     You are right.      I apologize.

21       BY MR. BROWN:

22       Q.    Could you -- what does this exhibit appear to be?

23       A.    These are the order details from Microtronix.

24       Q.    Is there a field marked domain name?

25       A.    There is.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 41 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   41

1        Q.    Could you point that out for the jury?

2        A.    (Complying.)

3        Q.    What does it say after domain name?

4        A.    The domain name is gate.BitcoinFog.com.

5        Q.    And we can close this out.

6              Agent Rovensky, during the course of the investigation,

7        did the investigation team discover that the defendant rented

8        servers anywhere?

9        A.    Yes, we did.

10       Q.    And where were those servers rented?

11       A.    At a company called M247.

12       Q.    Where is M247?

13                  MR. EKELAND:     Objection, Your Honor.        Can we pick up

14       the phone for one moment?

15                  (Conference held at the bench.)

16                  MR. EKELAND:     Your Honor, Mr. Brown is saying

17       servers.   There is nothing in evidence here that Mr. Sterlingov

18       rented servers.      And Mr. Brown is testifying in his question

19       when he is asking a leading question.         So we object to that and

20       we ask that be struck.

21                  THE COURT:    All right.     Well, why don't I just ask

22       you, Mr. Brown, if you want to clarify it in your questioning.

23       You can come back and say, I want to clarify, my question is

24       about server or servers.      Fair enough?

25                  MR. BROWN:    That is fair, Your Honor.         And the
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24    Page 42 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     42

1        witness can answer according to his knowledge.

2                   THE COURT:    That is fair.

3                   MR. EKELAND:     Your Honor, we just ask that here

4        Mr. Brown is asking a lot of leading questions.              And we are not

5        objecting just to move this stuff along.              But here I think it

6        is inappropriate for him to lead particularly on this core

7        issue in this case.

8                   THE COURT:    Okay.      Well, I think if he does it the

9        way I suggested, it won't be leading.          Okay.

10                  (End of bench conference.)

11       BY MR. BROWN:

12       Q.    Now, Agent Rovensky, with respect to M247, did the

13       defendant rent a server or servers?

14       A.    Servers.

15       Q.    Okay.   Now, directing your attention to Exhibit 522 and

16       522A and which have not been admitted yet.

17                  THE COURTROOM DEPUTY:        You said 522?

18                  MR. BROWN:    Yes, 522 and 522A.

19       BY MR. BROWN:

20       Q.    Do you recognize these exhibits?

21       A.    Yes, I do.

22       Q.    And what are these exhibits?

23       A.    These are records provided pursuant to a mutual legal

24       assistance treaty from Romania.

25       Q.    Is one Exhibit, 522, is that the original Romanian
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 43 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     43

1        document?

2        A.     Yes, one is in Romanian.

3        Q.     What is Exhibit 522A?

4        A.     522A is -- I'm sorry.    Is that the first or the second

5        one?

6        Q.     The second one.

7        A.     The second one is the translation of the original

8        production.

9        Q.     Do these two exhibits, do they fairly and accurately

10       represent the records produced by Romania in response to the

11       mutual legal assistance treaty request?

12       A.     Yes, they do.

13                   MR. BROWN:   The government moves to admit Exhibits

14       522 and 522A.

15                   THE COURT:   Any objection?

16                   MR. EKELAND:    No objection.

17                   THE COURT:   522 and 522A may be admitted to the jury.

18                   (Whereupon, Exhibit Nos. 522, 522A were admitted.)
19       BY MR. BROWN:

20       Q.     I'd like to have us look briefly at Exhibit 522A.              Can you

21       explain again what 522 is?

22       A.     522 is the production from Romania for records related to

23       M247.

24       Q.     And then directing your attention to the translation,

25       Exhibit 522A.    And if we could scroll down on the second page.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 44 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   44

1        There is a subject heading marked response.           Could you read the

2        paragraph of text following the subject line response?

3        A.    "Following the communication of the request regarding the

4        above mentioned case.      We provide the following details

5        regarding IP 185.120.145.154, IP 185.120.145.155, IP

6        185.120.145.156, IP 185.120.145.157 and IP 185.120.145.158 for

7        the period of times mentioned as follows."

8        Q.    How many IP addresses are listed there?

9        A.    5 IP addresses.

10       Q.    And looking at the information in the box there what is --

11       what does this record identify as the subscriber for those

12       addresses?

13       A.    The subscriber is To the Moon LTD and the point of contact

14       is Roman Sterlingov.

15       Q.    Is there a geographic location associated with the

16       defendant here?

17       A.    Yes.   In this case he gives a location Birkirkara, Malta.

18       Q.    What email address did the defendant use here?

19       A.    Info@dangerzone.today.

20       Q.    When did the service start here?

21       A.    The service start date is October 28, 2015.

22       Q.    And under services for client, what does it say there?

23       A.    Hosting by a 3rd party.

24       Q.    And where is the server location?

25       A.    The server location is in Bucharest, Romania.
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 45 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    45

1        Q.    Now, I'd like to direct your attention to -- and this has

2        not been admitted, I don't think -- Exhibit 53.

3              Now, have you reviewed the full Bitcoin Talk thread on

4        Bitcoin Fog?

5        A.    Yes.   I reviewed the entire announcement thread on Bitcoin

6        Talk.

7        Q.    Is that announcement thread still online roughly today or

8        contemporaneous?

9        A.    It is.

10       Q.    And did you take a screenshot of the full thread as it

11       appeared recently?

12       A.    Yes, I did.

13       Q.    And looking at Exhibit 53, do you recognize this exhibit?

14       A.    Yes, I do.     This is the thread and the capture of it.

15       Q.    Is this a fair and accurate representation of the full

16       thread to as it appears today?

17       A.    It is.

18                    MR. BROWN:   The government moves to admit and publish

19       Government Exhibit 53.

20                    THE COURT:   Any objection?

21                    MR. EKELAND:   Hearsay.

22                    MR. BROWN:   Your Honor, we will pull out specific

23       statements that either are non-hearsay or meet hearsay

24       exceptions or exemptions.

25                    THE COURT:   Yeah.     If there are particular hearsay --
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 46 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   46

1        it is a long document, so if --

2                   MR. EKELAND:     The entire thing is --

3                   THE COURT:    We have already discussed -- not the

4        entire thing is not hearsay.        So given my prior rulings, I need

5        to know if there are other aspects of it you think are hearsay.

6                   MR. EKELAND:     We renew our objection with the

7        understanding of the Court's prior ruling.

8                   THE COURT:    So long as there is nothing beyond my

9        prior ruling, I will admit Exhibit 53 and it may be published

10       to the jury.

11                  MR. BROWN:    Yes, Your Honor.

12                  (Whereupon, Exhibit No. 53 was admitted.)
13       BY MR. BROWN:

14       Q.    So I'd like to direct your attention to Exhibit 508, which
15       is dated October 22nd, 2015.
16                  MR. EKELAND:     Is that exhibit or post number?

17       BY MR. BROWN:

18       Q.    So looking at Exhibit 508, what is the date of this post?

19       A.    This post is dated October 22nd, 2015.

20       Q.    And is the author of the post -- who is the author here?

21       A.    It is Bitcoin Talk user named ZZLTFFKS.

22                  MR. EKELAND:     Your Honor, can we talk for a moment?

23                  (Conference held at the bench.)

24                  THE COURT:    Yes.

25                  MR. EKELAND:     I am confused.      This Bitcoin Talk user,
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 47 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   47

1        newbie, this is completely hearsay.         And it is not Akemashite

2        Omedetou.    So I am just a little confused why this is being

3        brought in.

4                    THE COURT:   So that was my point before is that I was

5        making -- to the extent that we are talking about Akemashite

6        Omedetou, I conclude that it comes in.          If there are other

7        statements that are being offered for the truth of the matter

8        asserted by other speakers, then I need to consider those

9        separately.    That was my point before.

10                   MR. BROWN:   Yes, Your Honor.       What we have here is --

11       we have a post within a post.

12                   MR. EKELAND:    Can we -- this is being published to

13       the jury right now.      Can we take the -- pull the publication

14       while we are deciding this?

15                   THE COURT:    Sure.

16                   MR. BROWN:    Yes, Your Honor.      So what we have here is

17       a post within a post.      The box text is a statement by Bitcoin

18       Fog.   The user frames it as they logged in and there is a post

19       here that according to the user was posted in the Bitcoin Fog

20       service.    So it is a statement by a party opponent and to the

21       extent that there is a question about the user here, this is an

22       adoptive admission.      This is a thread that Akemashite Omedetou

23       uses to respond to user questions about services.             And it has

24       already been established that Akemashite does respond to

25       specific statements made about the service.           He does monitor
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 48 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    48

1        this.   And if there were an issue with the accuracy of the

2        quoted text within the box, Akemashite would have corrected it.

3        So if falls within the exemption for an adopted admission.

4                   THE COURT:    Is this being offered for the truth of

5        the matter asserted by the speaker or is it being offered to

6        show how Akemashite Omedetou is responding to it?

7                   MR. BROWN:    Your Honor, it is being offered in part

8        to show the truth of the matter asserted in that there are --

9        there is discussion of service interruptions on Bitcoin Fog.

10                  THE COURT:    But I guess what does that matter as the

11       truth of the matter asserted that whether there were service

12       interruptions or not, is the point that you are trying to show

13       how Akemashite Omedetou is responding to it or is it just a

14       matter in this case whether there were, in fact, as a matter of

15       truth service interruptions?

16                  MR. BROWN:    Yes, Your Honor.       I mean, I think it

17       qualifies as both.     It does, you know -- it qualifies as both.

18       You know, this just shows the effect on the listener in terms

19       of how the other users are hearing this.             And there will be

20       further posts by Akemashite describing further efforts or

21       events in terms of resolving these service issues.

22                  MR. EKELAND:     Your Honor, there is multiple levels of

23       hearsay in here.     And --

24                  THE COURT:    What are the multiple levels?           I have

25       already ruled with respect to Akemashite Omedetou.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 49 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   49

1                    MR. EKELAND:    If you are ignoring Akemashite

2        Omedetou, the mere fact whether there were service

3        interruptions is something that you would learn from the logs.

4        You got the newbie --

5                    THE COURT:   Why is that a fact that matters in any

6        way?   I guess I am not sure why that is being offered for the

7        truth of the matter asserted.       I can imagine that it might be

8        offered for the truth of the matter asserted.            But I would have

9        thought it was more just to show the reactions more of the

10       operator.

11                   MR. EKELAND:    Your Honor may recall that the

12       government has made a big deal over Mr. Sterlingov sending the

13       server blade to Romania, I believe it was in October or

14       November of 2015.     And then the government has referenced, I

15       believe, it was a December 31st, 2015, post by Akemashite

16       Omedetou.    The question of service interruptions for Bitcoin

17       Fog are an issue in this case that the government has raised.

18       And as they have admitted to you on this side bar, they are

19       offering this for the truth as such.         This shouldn't come in

20       under -- it is improper hearsay.

21                   THE COURT:   So, Mr. Brown, I guess the concern that I

22       am having with respect to the adoption theory is that does turn

23       on Akemashite Omedetou being Mr. Sterlingov.           When I ruled

24       before, I really thought that the less controversial

25       proposition was at a minimum Akemashite Omedetou is either
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 50 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   50

1        Mr. Sterlingov or a co-conspirator in any statements relating

2        to the operation of Bitcoin Fog in furtherance of the alleged

3        conspiracy and that would be sufficient to come in.             But I am

4        not sure whether the adoption theory applies to a statement of

5        a co-conspirator, if that is the way it is coming in.

6                   MR. BROWN:    Your Honor, I mean, first of all, even if

7        the user here is arguably a co-conspirator with respect to the

8        adoptive admission, I mean, two points.          Number 1, I think that

9        we have at least made a conditional showing that Akemashite

10       Omedetou is the defendant, Roman Sterlingov.           And second, even

11       if Akemashite Omedetou is simply a co-conspirator, it is still

12       an adoptive admission of a co-conspirator.

13                  THE COURT:    I guess that was my question.          Is there

14       such a thing in the law?

15                  MR. BROWN:    I'm sorry.     Could you repeat that?

16                  THE COURT:    That was my question, is there such a

17       thing as a hearsay exception of an adopted statement by a

18       co-conspirator?      I think the -- I am just kind of wondering

19       whether we are spinning our wheels over nothing.            Because what

20       really matters is what he is saying.         And whether you call it

21       an adoptive admission or not, he is talking about delays being

22       resolved in the next few hours.        And I think that I am not sure

23       it would make a huge difference, frankly, if I instructed the

24       jury that they should consider the statements of Akemashite

25       Omedetou in this context for the truth of the matter asserted.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 51 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   51

1        But the other statements they should only consider for the

2        purposes of whatever responses they are evoking from Akemashite

3        Omedetou.    But if there is more here, then I need to be

4        convinced here that there is an adopted admission or adopt --

5        it is really not even an admission.         It is sort of an adopted

6        statement by a co-conspirator.

7                    MR. EKELAND:    Your Honor, we object to the

8        characterization of the statement from newbie as a

9        co-conspirator.      I don't believe newbie was listed anywhere in

10       the government's bill of particulars when they were ordered to

11       list the co-conspirators.      Also just being a user of Bitcoin

12       Fog doesn't mean you are a co-conspirator in money laundering.

13       As this Court has said, it is legal to use a mixer.             So it is

14       not even clear here that you don't have a co-conspirator

15       without, you know, the Court finding the facts sufficient to

16       say this user newbie or whoever else they are bringing in is a

17       co-conspirator.      And if the Court is going to say this is a

18       co-conspirator, we just merely ask that the Court put down in

19       the record the basis for that finding.

20                   THE COURT:   Mr. Brown, do you have anything -- put

21       that issue aside for the minute -- with the other issues I

22       raised?

23                   MR. BROWN:   Yes, Your Honor.       I think that -- I mean,

24       we would be fine with an instruction that this box text

25       statement is only being used to show effect on the listener.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 52 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                      52

1        But I mean, we do think at this point there has been at least a

2        preliminary showing that Akemashite is Roman Sterlingov.                So it

3        should fall within the party opponent exception.            But barring

4        that as a secondary matter, I think we would be fine with a

5        limiting instruction.

6                    THE COURT:   The box is Akemashite Omedetou; right?

7        It is the non-box that is only coming in to the extent it is

8        explaining the statement by Akemashite Omedetou; right?

9                    MR. BROWN:   Yes, Your Honor.

10                   MR. EKELAND:    Your Honor, it is not clear to me that

11       this is a statement from Akemashite Omedetou.            Perhaps the

12       government could point out the basis for saying that.                 This

13       looks like some kind of news announcement.           I don't see any

14       identifier in the box as identifying this clearly as Akemashite

15       Omedetou.

16                   THE COURT:   It doesn't matter in my mind as long as

17       it is anybody that is operating Bitcoin Fog.           Because it is --

18                   MR. EKELAND:    Your Honor, how are we clear this is a

19       statement from somebody operating Bitcoin Fog?            I don't see

20       that in the box statement either.        I don't see any statement

21       saying this is an operator of Bitcoin Fog or, hey, this is

22       Akemashite Omedetou.     I don't -- I just ask for the basis for

23       that statement.

24                   THE COURT:   I can -- I mean, I am happy to let

25       government answer the question but I think I can see that from
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 53 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   53

1        what the statement itself is.       It is not the statement of some

2        third party.    It is all, delays will be resolved in the next

3        few hours.    I'm sorry for the inconvenience.         That is not a

4        user.   That is someone who is running the site who is saying

5        that.

6                    MR. EKELAND:    I think that is a big assumption that

7        is the person who is running the site.          I don't know who that

8        is.

9                    MR. BROWN:   Your Honor, I think -- just the

10       contextual clues -- and the Court can consider the statement

11       itself as well as other information that the Court is aware of

12       in making a ruling on a hearsay exception.           The context here is

13       we are in a thread dedicated to talking about Bitcoin Fog.

14       There is a user who has said they saw a message after "Logging

15       in" and then there is a statement about, you know, basically

16       service status on a site.      I think that there is more than

17       enough for a reasonable jury to draw a conclusion this is a

18       statement by Bitcoin Fog by Akemashite Omedetou.

19                   THE COURT:   I think I am convinced by the context of

20       that.   I don't think, as I said, it has to be Akemashite.            But

21       it is somebody who is purportedly operating Bitcoin Fog.              So I

22       am just going to give that instruction to the jury and we can

23       continue.

24                   One other thing while I have you on the phone here

25       quickly, which is with -- there was an objection earlier this
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 54 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    54

1        morning with respect to the grouping of certain email

2        addresses.    On Thursday, there was a similar objection that was

3        raised.   And the question I have is, would it be possible for

4        the government to do the same sort of segregating with the

5        earlier exhibit as well, so when it actually goes back to the

6        jury it is also segregated in a similar fashion?

7                   MR. BROWN:    Yes, Your Honor.       That was the listing of

8        the Mt. Gox accounts.      We can certainly create separate

9        spreadsheets for each of the separate entries for when the

10       exhibits go back to the jury.

11                  THE COURT:    Assuming Mr. Ekeland wants you to do

12       that, then I would request that you do so.

13                  MR. EKELAND:     Yes, Your Honor.         While we are on the

14       subject, perhaps going forward anything that the government is

15       aware of where they are grouping emails and stuff like that

16       together, that would be helpful if they separated it.

17                  THE COURT:    Why don't I let you all talk about that

18       during a break, but I think that is a good idea.

19                  Let's proceed.

20                  (End of bench conference.)

21                  THE COURT:    Members of the jury --

22                  So you can publish the exhibit to the jury and then I

23       can explain my ruling.

24                  This is Exhibit 53, correct?

25                  MR. BROWN:    Yes, Your Honor, Exhibit 53.
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 55 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                      55

1                   THE COURT:    So members of the jury, you see -- you

2        should see in front of you there is a box and then there is

3        words that are below the box.        I am admitting what is in the

4        box.   And you can consider that in your deliberations.                What is

5        below the box is not coming in for the truth or the lack of

6        truth of that speaker, it is only coming in to explain the

7        response in the box.     What is in the box is what comes in as

8        evidence and the other portion of it is only there to explain

9        to you so you can understand what the speaker is saying in the

10       box.

11                  You may proceed.

12                  MR. BROWN:    And, Your Honor, just for clarity, the

13       framing language that we are looking at is above the box.

14                  THE COURT:    I'm sorry.      I am confused.      I don't

15       see -- it is further up the page, maybe not being displayed to

16       us at this point?

17                  MR. BROWN:    No, Your Honor.       It is "FYI."

18                  THE COURT:    Okay.      That is fine.

19                  Yeah.     So what is in the box, you can consider and

20       the other language is just to understand that language.

21       BY MR. BROWN:

22       Q.     Agent Rovensky, what is the date of post 508?

23       A.     October 22, 2015.

24       Q.     And what does the user say in that line starting, FYI?

25       A.     "FYI, message shown today after logging in."
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 56 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   56

1        Q.    And in the box it appears that some of this is cut off.

2        To the extent you can read it, can you read what is in the box?

3        A.    "News.   All delays will be resolved in the next few hours.

4        We shall update further -- inconvenience.            We have now found

5        the source of the problem and such delays -- much less frequent

6        in the future."

7        Q.    Now scrolling down to -- directing your attention to

8        Exhibit 912, which has not yet been admitted, I don't think --

9        and also 914.    If you could review both of those on your

10       screen, please.      Do you recognize Exhibits 912 and 914?

11       A.    I do.    These are emails obtained from the

12       PlasmaDivision.com email addresses.

13       Q.    And do these emails fairly and accurately show records

14       that were produced for the PlasmaDivision.com email records?

15       A.    They do.

16                  MR. BROWN:    The government moves to admit and publish

17       Government Exhibit 912 and 914?

18                  THE COURT:    Any objection?

19                  MR. EKELAND:     No objection, Your Honor.

20                  THE COURT:    Exhibits 912 and 914 are admitted and may

21       be published to the jury.

22                  (Whereupon, Exhibit Nos. 912, 914 were admitted.)
23       BY MR. BROWN:

24       Q.    Let's start with 912.     First of all, what is the format of

25       this document?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 57 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  57

1        A.    This is an email.

2        Q.    What is the date of the email?

3        A.    November 15th, 2015.

4        Q.    And who is this email directed to?

5        A.    To Mr. Sterlingov at his Spam@Plasmadivision.com address.

6        Q.    If you scroll down -- is the top part of this email, does

7        it appear to be in a foreign language or in English?

8        A.    In a foreign language.

9        Q.    If we scroll down, is there a portion of this email that

10       is in English?

11       A.    There is.

12       Q.    If we go back up to the -- I'm sorry -- to the middle of

13       the message.    There is a subject heading that says,

14       "Important."    Could you read that subject heading?

15       A.    "Important delivery information."

16       Q.    And beneath that, what information is listed?

17       A.    Scheduled delivery November 23rd, 2015.

18       Q.    If you scroll down, does it say where the destination of

19       that delivery is?

20       A.    Yes.   It says ship to M247 Europe SRL with an address for

21       Bucharest, Romania.

22       Q.    Does it give information about what was shipped?

23       A.    It doesn't say what was shipped, but it does provide a

24       weight of 12 and a half kilograms.

25       Q.    Now, directing your attention to Exhibit 914.            What does
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 58 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                   58

1        this exhibit appear to be?

2        A.    Also an email.

3        Q.    What is the date of this email?

4        A.    November 23rd, 2015.

5        Q.    And who is this email addressed to?

6        A.    Spam@plasmadivision.com.

7        Q.    And does this email also appear to have information in

8        more than one language?

9        A.    It does.

10       Q.    If we could scroll down to the second half of the email.

11       What language does the second half of the email appear to be

12       in?

13       A.    In English.

14       Q.    And could you read where it says important and just that

15       heading there?

16       A.    Important delivery information.

17       Q.    And then beneath that is there a delivery date listed?

18       A.    There is.      November 23rd, 2015.

19       Q.    And then under shipment detail, does it have information

20       about where the delivery was made to?

21       A.    Again, it provides Ship to and M247 Europe SRL with a

22       Bucharest, Romania address.

23       Q.    Is there further information about what was delivered?

24       A.    Just the weight and that it weighed 12 and a half

25       kilograms.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 59 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   59

1        Q.    Now, going back to Exhibit 53.        I'd like to direct your

2        attention to post 513.      And what is the date of this post?

3        A.    December 31st, 2015.

4        Q.    Who made this post?

5        A.    Akemashite Omedetou.

6        Q.    Could you read the text of this post?

7        A.    "We currently experience outages related to a hardware

8        failure.   I'm sorry for this inconvenience.          We are working on

9        getting the service back online as soon as" --

10       Q.    And then directing your attention to post number 527.

11             What is the date of this post?

12       A.    January 13th, 2016.

13       Q.    Who made this post?

14       A.    Akemashite Omedetou.

15       Q.    Could you read that first full paragraph of that post?

16       A.    "We have finally been able to resolve all of the technical

17       issues.    We know there have been a lot of delays and we are

18       sorry for the inconvenience.        Ultimately, this comes as a cost

19       for running our service at the level of anonymity we have.             As

20       of now, both deposits, withdrawals and the mixing process are

21       all working as expected."

22       Q.    And now directing your attention to Exhibit 892, which I

23       believe has not yet been admitted.

24             Agent Rovensky, do you recognize Exhibit 892?

25       A.    Yes, I do.
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 60 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                   60

1        Q.     And what do you recognize it to be?

2        A.     This is an email from the defendant's PlasmaDivision.com

3        account.

4        Q.     Does this fairly and accurately represent the records from

5        Mr. Sterlingov's PlasmaDivision.com accounts?

6        A.     It does.

7                   MR. BROWN:     The government moves to admit and publish

8        892.

9                   THE COURT:     Any objection?

10                  MR. EKELAND:      No objection.

11                  THE COURT:     Exhibit 892 is admitted and may be

12       published to the jury.

13                  (Whereupon, Exhibit No. 892 was admitted.)
14       BY MR. BROWN:

15       Q.     Agent Rovensky, what is the date of this document?

16       A.     March 1st, 2018.

17       Q.     What is the format of this document?

18       A.     This is an email.

19       Q.     And who is it delivered to?

20       A.     To Roman Sterlingov at Plasma@PlasmaDivision.com.

21       Q.     Who is it sent from?

22       A.     From PayPal.

23       Q.     What does this document appear to be?

24       A.     This is a receipt, a confirmation of payment.

25       Q.     Can you tell from looking at this document who was paid,
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 61 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  61

1        whose payment was confirmed?

2        A.    The payment was to M247.

3        Q.    And could you just point out to the jury where you see

4        that?

5        A.    Right here, the merchant.

6        Q.    Now, we can close this out.       And I would like to direct

7        your attention to some other records.         Did you find evidence

8        relating to a company called RamNode?

9        A.    Yes.

10       Q.    I'd like to direct your attention to 500E, as in echo.

11             Do you recognize Exhibit 511E?

12       A.    Yes.   These are records provided by RamNode pursuant to

13       legal process.

14       Q.    And are these records a fair and accurate copy of the

15       records produced by RamNode?

16       A.    They are.

17                    MR. BROWN:   The government moves to admit and publish

18       511E.

19                    THE COURT:   Any objection?

20                    MR. EKELAND:   No objection.

21                    THE COURT:   Exhibit 511E is admitted and may be

22       published to the jury.

23                    (Whereupon, Exhibit No. 511E was admitted.)
24       BY MR. BROWN:

25       Q.    Agent Rovensky, I'd like to direct your attention to page
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 62 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  62

1        3 of this document.     And first of all, what is -- what manner

2        of company is RamNode?

3        A.    It is a server hosting company.

4        Q.    So on page 3, could you review what it says under account

5        owner information?

6        A.    Under account owner information, it says subscriber name,

7        Roman Sterlingov.     And address, it is an address in Sweden.

8        For email, heavydist@gmail.com and then the phone number.

9        Q.    And under types of service, could you just read those

10       three entries under product/service?

11       A.    Product service, RamNode cloud account with no domain,

12       1024 megabyte SKVMS for the domain bloomeditor.com and 512

13       megabyte SKVMS for the domain dangerzone.today.

14       Q.    And looking at the -- scrolling down to the bottom of this

15       page and then the following page.        What are some of the payment

16       methods listed here?

17       A.    PayPal, Bitcoin, via Payssion or BitPay.

18       Q.    If I could direct your attention to Exhibit 511A, as in

19       alpha, and 511D, as in delta.

20             Do you recognize these two exhibits?

21       A.    I do.

22       Q.    This is more records provided by RamNode.

23             And are these fair and accurate copies of the records that

24       were produced by RamNode in response to legal process?

25       A.    They are.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 63 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  63

1                   MR. BROWN:    The government moves to admit and publish

2        Exhibits 511A and 511D?

3                   THE COURT:    Any objection?

4                   MR. EKELAND:     No objection.

5                   THE COURT:    511A and 511D are admitted and may be

6        published to the jury.

7                   (Whereupon, Exhibit Nos. 511A and 511D were
8        admitted.)
9        BY MR. BROWN:

10       Q.    Agent Rovensky, are these further account records provided

11       by RamNode?

12       A.    They are.

13       Q.    Looking at 511D, as in delta, what are some of the payment

14       methods indicated?

15       A.    They are right here, BitPay and Stripe.

16       Q.    Now, are you familiar with a company called SpiderOak?

17                  THE COURT:    Are you getting ready to switch to a

18       different set of exhibits?

19                  MR. BROWN:    Yes.

20                  THE COURT:    Is this a good time for a morning break?

21                  MR. BROWN:    Yes.

22                  THE COURT:    It is 11:16.      Why don't we come back at

23       11:35.   I will remind you, don't discuss the case amongst

24       yourselves, don't conduct any research and I will see you back

25       shortly.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 64 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   64

1                     (Jury out at 11:15 a.m.)

2                     THE COURT:   All right.    Anything before we take our

3        break?

4                     MR. BROWN:   No, Your Honor.

5                     MR. EKELAND:   Nothing from the defense, Your Honor.

6                     THE COURT:   All right.    I will see you back after the

7        break.    Thank you.

8                     (Recess taken at 11:16 a.m.)

9                     THE COURT:   All right.    Let's get the jury.

10                    THE COURTROOM DEPUTY:     Please be seated and come to

11       order.

12                    (Jury in at 11:43 a.m.)

13                    THE COURT:   All right.    Mr. Brown, you may proceed.

14       BY MR. BROWN:

15       Q.    Agent Rovensky, did the investigation team obtain evidence

16       related to a provider called SpiderOak?

17       A.    Yes.

18       Q.    I would like to direct your attention to Exhibit 513B, as

19       in boy.

20                    THE COURTROOM DEPUTY:     I'm sorry.

21       BY MR. BROWN:

22       Q.    Agent Rovensky, do you recognize Exhibit 513B?

23       A.    Yes.   These are records provided by SpiderOak.

24       Q.    And are these -- is this a fair and accurate copy of the

25       records that were provided by SpiderOak?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 65 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  65

1        A.    It is.

2                     MR. BROWN:   Government moves to admit and publish

3        Government Exhibit 513B.

4                     THE COURT:   Any objection?

5                     MR. EKELAND:   No objection.

6                     THE COURT:   513B is admitted and may be published to

7        the jury.

8                     (Whereupon, Exhibit No. 513B was admitted.)
9        BY MR. BROWN:

10       Q.    So, Agent Rovensky, starting at the top in the section

11       marked account summary, could you point out to the jury when

12       this account was created?

13       A.    The created date is June 12th, 2016.

14       Q.    And is there information about how much data or how many

15       bytes were stored?

16       A.    Yes.   130.658 gigabytes.

17       Q.    Under username is there information about a username?

18       A.    There is.

19       Q.    Could you point that out for the jury?

20       A.    Roman Sterlingov.

21       Q.    And what email address is associated with that user?

22       A.    Incoming640294774@gravytrain.top.

23       Q.    If we scroll down a little bit further, under active

24       devices, are there name entries for active devices?

25       A.    There are.     There are three.    There is one named Bunker X,
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 66 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  66

1        one named mail woo and the other one named B test.

2        Q.    And we can close that out.

3              Did the investigation obtain records from Namecheap?

4        A.    Yes, we did.

5        Q.    And what is Namecheap?

6        A.    Namecheap is another domain registration and hosting

7        provider.

8        Q.    Directing your attention to 525A, as in alpha, do you

9        recognize this exhibit?

10       A.    I do.   These are records produced by Namecheap.

11       Q.    Are these records a fair and accurate copy of the records

12       that were provided by Namecheap?

13       A.    They are.

14                   MR. BROWN:   The government moves to admit and publish

15       Exhibit 521A.

16                   THE COURT:   Any objection?

17                   MR. EKELAND:    Just relevance.

18                   THE COURT:   521A is admitted and may be published to

19       the jury.

20                   (Whereupon, Exhibit No. 521A was admitted.)
21       BY MR. BROWN:

22       Q.    Now, the first page, Agent Rovensky, is there a name

23       indicated under user info?

24       A.    There is, Roman Sterlingov.

25       Q.    Is there an email address indicated there?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 67 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   67

1        A.    Info@dangerzone.today.

2        Q.    If we turn to page 2 -- and then page 2 and as it scrolls

3        down that page, what sort of products or services does this

4        record reflect?

5        A.    These are --

6                   MR. EKELAND:     Objection, Your Honor.        This document

7        speaks for itself, asking the witness to speculate and --

8                   MR. BROWN:    Your Honor, he is not speculating.

9                   THE COURT:    Overruled.

10                  The witness may answer.

11       BY MR. BROWN:

12       Q.    Agent Rovensky, what sort of products or services are

13       indicated in this document?

14       A.    These are web domain registrations and renewals placed as

15       orders by Mr. Sterlingov with Namecheap.

16       Q.    So starting on page 2, towards the top of that, looking at

17       the first set of entries, what domain or domains are indicated

18       there?

19       A.    In the first one, the domain is bloomeditor.com.

20       Q.    And then beneath that, what domain or domains are

21       indicated?

22       A.    Hedgedwallet.com, gravytrain.top, dangerzone.today,

23       bitcoaster.com, dangerzone.info.

24       Q.    If we could scroll down a little bit further and pause

25       here.    What additional domain or domains are indicated?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 68 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  68

1        A.     There is MoonVPN.org, MoonVPN.net.

2        Q.     And then directing your attention to page 12 of this

3        document.     What is shown under transaction review?

4        A.     These are transactions of when the defendant paid for the

5        orders to Namecheap.

6        Q.     And if we just look at the first row in the upper

7        left-hand corner, what username is being used for these

8        transactions?

9        A.     His username with Namecheap is Kellerman.

10       Q.     And we can close this exhibit out.

11              And directing your attention to 843, which has not

12       previously been admitted.      Do you recognize Exhibit 843?

13       A.     Yes.   This is an email obtained from the legal process

14       from Google for the heavydist@gmail.com address.

15       Q.     And does this email -- is it a fair and accurate

16       representation of the emails produced by Google in response to

17       the heavydist@gmail.com legal process?

18       A.     Yes, it is.

19                     MR. BROWN:   The government moves to admit and publish

20       843?

21                     THE COURT:   Any objection?

22                     MR. EKELAND:   Relevance.

23                     THE COURT:   Exhibit 873 is admitted and may be

24       published to the jury.

25                     MR. BROWN:   Your Honor, just for the record I believe
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 69 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    69

1        this is Exhibit 843.

2                     (Whereupon, Exhibit No. 843 was admitted.)
3                     THE COURT:   I'm sorry.     That is what I meant to say,

4        843 is admitted and may be published.

5        BY MR. BROWN:

6        Q.    Agent Rovensky, who is this message from?

7        A.    This message is from BTC lot web.

8        Q.    And who is it to?

9        A.    Mr. Sterlingov at his heavydist@gmail.com email address.

10       Q.    And looking at the body of that message is there a domain

11       indicated?

12       A.    There is, Bloomeditor.com.

13       Q.    All right.     And we can close that out.        Now, I would like

14       to turn to financial records that were collected in this

15       investigation.       Did the investigation team obtain records from

16       Binance?

17       A.    Yes, we did.

18       Q.    What sort of financial institution is Binance?

19       A.    It is cryptocurrency exchange.

20       Q.    Directing your attention to Exhibit 412, which you should

21       see on your screen.       Do you recognize Exhibit 412?

22       A.    Yes.   These are records provided by Binance pursuant to

23       legal process.

24       Q.    We are scrolling through multiple tabs.           Do you see the

25       multiple tabs?
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 70 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                   70

1        A.     I do.

2        Q.     Have you previously reviewed this record electronically?

3        A.     Yes.

4        Q.     Does this record fairly and accurately represent the

5        records produced by Binance in response to legal process?

6        A.     It does.

7                      MR. BROWN:   The government moves to admit and publish

8        412?

9                      THE COURT:   Any objection?

10                     MR. EKELAND:   No objection.

11                     THE COURT:   Exhibit 412 is admitted and may be

12       published to the jury.

13                     (Whereupon, Exhibit No. 412 was admitted.)
14       BY MR. BROWN:

15       Q.     So Agent Rovensky, staying on tab 1, is there a username

16       indicated anywhere on tab 1 here?

17       A.     There is a name, Roman Sterlingov.

18       Q.     And is there an email address indicated?

19       A.     There is in the second column,

20       incoming527409381@gravytrain.top.

21       Q.     We can close this out.

22              Did the investigation team obtain records from Bitfinex?

23       A.     Yes, we did.

24       Q.     What sort of financial institution is Bitfinex?

25       A.     Bitfinex is a cryptocurrency exchange.
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 71 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                     71

1        Q.    Directing your attention in your binder to Exhibits 413A

2        through 413H, as in hotel?

3        A.    Okay.

4        Q.    Do you recognize these Exhibits 413A through 413H?

5        A.    These are records provided to the government by Bitfinex

6        pursuant to legal process.

7        Q.    Do these records fairly and accurately show the records as

8        they were produced by Bitfinex to the government?

9        A.    They do.

10                   MR. BROWN:    The government moves to publish 413A

11       through H?

12                   MR. EKELAND:     No objection.

13                   THE COURT:    Exhibits 413A through H are admitted and

14       may be published to the jury.

15                   (Whereupon, Exhibit No. 413A - 413H were admitted.)
16       BY MR. BROWN:

17       Q.    Agent Rovensky, I would like to direct your attention

18       specifically to Exhibit 413F.        What does this appear to show?

19       A.    This appears to be a utility bill for proof of address

20       purposes.

21       Q.    And is there a name and address indicated on this

22       document?

23       A.    There is.      Roman Sterlingov in Gothenburg, Sweden.

24       Q.    And directing your attention to 413G, as in gulf.                Do you

25       recognize this exhibit?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 72 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  72

1        A.    Yes.   This is Mr. Sterlingov's Swedish driver's license.

2        Q.    And were those records produced by Bitfinex as part of

3        their account records?

4        A.    They are.

5        Q.    We can close that out.

6              Now, did the investigation team obtain records from

7        Kraken?

8        A.    Yes, we did.

9        Q.    What sort of financial institution is Kraken?

10       A.    Kraken is also a cryptocurrency exchange.

11       Q.    Now, I am going to direct your attention to Exhibits 416

12       through 418I, as in India, in your binder.           And I believe two

13       of those exhibits have already been admitted and those are 418A

14       and 418B.

15                    THE COURTROOM DEPUTY:     That is correct.

16       BY MR. BROWN:

17       Q.    Do you recognize these exhibits?

18       A.    Yes.   These are records produced to the government by

19       Kraken pursuant to legal process.

20       Q.    And do these records -- are they a fair and accurate

21       representation of the records that were produced by Kraken?

22       A.    They are.

23                    MR. BROWN:   The government moves to admit exhibits

24       416 through 418I with the exception of the two previous

25       admitted Exhibits 418A and 418B.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 73 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   73

1                     THE COURT:   Any objection?

2                     MR. EKELAND:   No objection.

3                     THE COURT:   That request is granted.        And those

4        exhibits are admitted and may be published to the jury.

5                     (Whereupon, Exhibit No. 416 - 418I were admitted.)
6        BY MR. BROWN:

7        Q.    Agent Rovensky, I'd like to direct your attention to

8        Exhibit 416.    Do you recognize this exhibit?

9        A.    Yes, I do.

10       Q.    And what does this exhibit show?

11       A.    This shows the two accounts that the defendant had with

12       Kraken.

13       Q.    And looking at the emails.       What are the two emails

14       associated with these two accounts?

15       A.    Info@dangerzone.today and HQ@MoonVPN.org.

16       Q.    What are the two account names listed under column D?

17       A.    Roman Sterlingov and To the Moon LTD.

18       Q.    We can close these out.       Agent Rovensky, I'd like to

19       direct your attention to Exhibit 415, which I think we can just

20       pull up on the screen in a moment.

21             Did the investigation team obtain records from Poloniex?

22       A.    Yes.

23       Q.    What sort of financial institution is Poloniex?

24       A.    It is a cryptocurrency exchange.

25       Q.    Now, looking at Exhibit 415.       Do you recognize this
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 74 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    74

1        exhibit?

2        A.    I do.    Those are the records obtained by the government

3        from Poloniex pursuant to legal process.

4        Q.    Is this a fair and accurate copy of the records provided

5        by Poloniex to the government?

6        A.    It is.

7                     MR. BROWN:   The government moves to admit and publish

8        Exhibit 415.

9                     THE COURT:   Any objection?

10                    MR. EKELAND:   No objection.

11                    THE COURT:   Can I ask the witness to spell Poloniex

12       just for the record?

13                    THE WITNESS:   Sure.    P-O-L-O-N-I-E-X.

14                    THE COURT:   Thank you.

15       BY MR. BROWN:

16       Q.    Agent Rovensky, in the spreadsheet here there is a name

17       indicated for the account owner?

18       A.    Yes.    Roman Sterlingov.

19       Q.    And what is the email account indicated?

20       A.    Info@dangerzone.today.

21       Q.    We can close this out.        Did the investigation team obtain

22       records from Bitstamp?

23       A.    Yes, we did.

24       Q.    What sort of financial institution is Bitstamp?

25       A.    Bitstamp is a cryptocurrency exchange.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 75 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   75

1        Q.    So in your binder, directing your attention to exhibits

2        414A through 414M, as in Mike?

3        A.    Okay.

4        Q.    Do you recognize these Exhibits 414A through 414M?

5        A.    I do.   These are records provided by Bitstamp to the

6        government pursuant to legal process.

7        Q.    Do these records fairly and accurately represent the

8        records that were provided by Bitstamp?

9        A.    They do.

10                    MR. BROWN:   The government moves to admit and publish

11       Government Exhibits 414A through 414M.

12                    THE COURT:   Any objection?

13                    MR. EKELAND:   No objection.

14                    THE COURT:   Exhibits 414A through 414M are admitted

15       and may be published to the jury.

16                    (Whereupon, Exhibit No. 414A - 414M were admitted.)
17       BY MR. BROWN:

18       Q.    I would like to direct your attention to 414C.            Is there a

19       name indicated for the Bitstamp account here?

20       A.    It is in the name of Roman Sterlingov.

21       Q.    Is there a geographic location associated with it?

22       A.    There is an address in Gothenburg, Sweden.

23       Q.    And if we scroll down a little bit further, is there an

24       email address associated with this account?

25       A.    Yes.    Heavydist@gmail.com.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 76 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     76

1        Q.    Now, starting at page 6, scrolling down a little bit

2        further.   Do you see a box that says support tickets?

3        A.    I do.

4        Q.    And then beneath support tickets there are -- it starts

5        with -- it looks like a list starting with a number 1.                Do you

6        have an understanding of what that list shows?

7        A.    I do.   These are messages between Mr. Sterlingov and

8        employees of Bitstamp.

9        Q.    And if we could turn to page 9.        And find message number 9

10       or maybe that is the top of page 8 perhaps.           So what is the

11       date of the message number 9?

12       A.    July 25th, 2016.

13       Q.    And does this indicate who sent this message?

14       A.    It does.   It is an employee of Bitstamp named Rok Pristov.

15       Q.    Can you read the full message that Rok Pristov sends to

16       Roman Sterlingov?

17       A.    "Dear Roman.    We have received your withdrawal request and

18       instructed our payment department to further process it.               You

19       will receive an email notification as soon as the process is

20       concluded and funds sent to the designated account.             We will

21       have to kindly ask you to help us better understand the nature

22       of your relationship with Bitstamp.         In order to do so, we

23       require an additional KYC, know your customer, procedure is

24       completed before we can proceed processing of your future

25       withdrawal request.     We kindly ask you to send us a high
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 77 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    77

1        resolution of both pages of your international passport and

2        answer the following KYC questionnaire, 1, what is your

3        occupation?    Two, are you using your Bitstamp account in

4        connection with any business activity?          Three, the purpose of

5        trading on Bitstamp?     Please describe in as much detail as

6        possible how you intend to use your trading account.              Four,

7        what is the origin of the deposited Bitcoins?             Five, what are

8        your future plans and activities planned on our exchange?              Six,

9        which bank do you intend to use?        Please provide the complete

10       address and swift code.      Seven, estimated amount that you would

11       be depositing/withdrawing to/from your Bitstamp account per

12       month in USD and BTC.      We kindly ask you to submit your answers

13       and documents in a reply to this ticket.             Thank you for your

14       cooperation and we look forward to your reply.             Best regards,

15       Rok Pristov."

16       Q.    If we scroll down to the following message, message number

17       10, who is the author of that message?

18       A.    Roman Sterlingov.

19       Q.    And what is the date of that message?

20       A.    August 2nd, 2016.

21       Q.    How does Roman Sterlingov respond?         Can you read the full

22       response?

23       A.    "One, I am freelancing doing IT-related work.             Two, no

24       this is my personal account.        Three, what detail?        I want to

25       buy and sell Bitcoins because I think it's a good system with a
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 78 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    78

1        lot of future and I like to trade.        I like to put in the trades

2        in the system and see how they execute.          If I buy on the low

3        and sell on the high, then I make money.             It's about looking

4        for trends in the economic situation and news and reading the

5        internet and making up your own opinion and then trying to

6        combine that opinion into trading.        The purpose of this is to

7        make and save money.     I think money is good, because it can be

8        used for buying and selling goods and services which are

9        important for surviving.      How much more detail do you need?

10       About what?    Four, I bought them very early on when they were

11       super cheap, one of the best decisions of my life.              Five, to

12       trade.   What else would they be?       Do you guys sell pizza?        My

13       future plans are to trade the Bitcoin on the exchange by going

14       to the trade page and then filling in the orders and then

15       executing, hopefully making money.        Six, you already have my

16       bank details from my outgoing payments, which have even

17       completed with no problems in the past.          Take the last account

18       that is my bank account.      Seven, maybe $1,000 per month.           I

19       don't know.    You already have my documents since my account is

20       already verified."

21       Q.    And then could we scroll down to message 11 and first of

22       all, who is speaking in message 11?

23       A.    Rok Pristov, the employee of Bitstamp.

24       Q.    Could you read Rok Pristov's message there under 11?

25       A.    "Dear Roman, thank you for your prompt reply and providing
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 79 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    79

1        your information.     Please note that in addition to the

2        documentation you have submitted in your account verification,

3        we kindly ask you to provide us with an image of your

4        international passport.      Lastly, we kindly ask you to provide

5        us with some documentation which can confirm your early BCT

6        acquisition, for example some screenshots of bank transactions

7        sent to Bitcoin exchanges.      We thank you for your cooperation

8        and look forward to hearing from you.         Should you have any

9        questions, please feel free to ask.         Best regards, Rok

10       Pristov."

11       Q.    And then could you read message 12?

12             First of all, who is message 12 from?

13       A.    Roman Sterlingov.

14       Q.    Could you please read message 12?

15       A.    "I am attaching a scan of my passport.          However, I cannot

16       provide any documents for the later purchases.            I don't know

17       where to get them.     This was done years ago back in the day

18       this was not done through a bank, but through a means such as

19       Liberty Reserve, which does not even exist anymore.             Further, a

20       large chunk of those Bitcoins purchased on Mt. God platform,

21       which unfortunately does not exist anymore either.             I am sure

22       you can see the dates on my account and it is very old.               And

23       the Bitcoins I have acquired are really even much older than

24       that since I got my Bitstamp account pretty late.             There is no

25       requirement in my county to keep these documents or
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24    Page 80 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                     80

1        verifications for years to come, since I am not a part of any

2        business.    So I have no reason to keep them nor are you

3        required to keep them either, if I understand it correctly."

4        Q.    If we could scroll down to message 13.

5              Who is message 13 from?

6        A.    From Rok Pristov of Bitstamp.

7        Q.    Could you read message 13?

8        A.    "Dear Roman, thank you for the provide documentation.

9        Alternatively, would it be possible to provide us with some

10       screenshots of email confirmations you have received from the

11       purchase of your Bitcoin on Mt. Gox?          We are looking forward to

12       hearing from you.      Best regards, Rok Pristov.

13       Q.    If you can scroll down to 14.        Who is that from?

14       A.    From Mr. Sterlingov.

15       Q.    Could you read that?

16       A.    "Here is the screenshot of one of the few pages which I

17       can log in with my Mt. Gox account.          It is on the Mt. Gox

18       website now, even though it is not an exchange, it shows my

19       account there with my credentials."

20       Q.    Could we flip over to 414J, as in Juliette.             Do you

21       recognize this?

22       A.    Yes.   So this is that screenshot that Mr. Sterlingov

23       provided to Bitstamp related to his Mt. Gox account.

24       Q.    And then returning to Exhibit 414C.             Could we scroll down

25       to message 15.       Who is speaking in message 15?
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 81 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                         81

1        A.     Rok Pristov.

2        Q.     Could you read what Rok Pristov says there?

3        A.     "Dear Roman, thank you for your reply and the provided

4        document.    One, would it be possible to provide us with some

5        screenshots of email confirmations you have received from

6        Mt. Gox for the purchased Bitcoin?         Two, additionally could you

7        confirm if you were using any cryptocurrency tumblers?                 We

8        thank you for your cooperation and look forward to hearing from

9        you.    If you have any questions, please feel to free ask.                 Best

10       regards, Rok Pristov."

11       Q.     And then scrolling down to message 16.          Who is message 16

12       from?

13       A.     From Roman Sterlingov.

14       Q.     How does he respond?

15       A.     "One, would it be possible to provide us with some

16       screenshots of email confirmations you have received from

17       Mt. Gox for the purchased Bitcoin?         Well, not really, I'm sorry

18       to say.   Mind you, again, this was years ago.            There is/was no

19       requirement in any law that governs me or in your terms and

20       conditions at the time I was using those Bitcoins to keep any

21       of that information.      I'm not sure how can I get any receipts

22       from Mt. Gox because they don't exist anymore.             If you ask me

23       for any documents that I do actually have, then, of course, I

24       can send them to you.       Honestly, I don't understand what you

25       are trying to check here.       My account is very old.         If there
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 82 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   82

1        were any problems with the money, they would have already come

2        up.   I trusted your service as it seems very legit as a way of

3        storing my funds.     In doing so, I was completely compliant to

4        all of your rules and contracts.        I honestly begin to doubt

5        that your service is really so stable.          Because it looks like

6        you fishing for some reason to hold some payment.             Do you have

7        liquidity problems?     Two, additionally, could you confirm if

8        you were using any cryptocurrency tumblers?           I don't know if I

9        did with the specific funds sent to your exchange.             It's not

10       impossible.    I did a lot of experimenting with Bitcoin back in

11       the day.   It was a very new and exciting technology.            I haven't

12       done this recently, but my account here is very old.             I don't

13       really remember.     As you probably understand, I don't keep a

14       record of everything I do on my computer for years to come.                If

15       it could be in your terms at the time that this kind of

16       information would need to be kept, then I would have done it."

17       Q.    And could we scroll down to message 17.          And who is

18       message 17 from?

19       A.    From Roman Sterlingov.

20       Q.    And could you read what he says there?

21       A.    "I have actually went back to my mail program and turns

22       out I didn't delete all of my Mt. Gox emails, as I assumed.                I

23       usually delete such emails because they clog up the mailbox.               I

24       am sending a screenshot of one now."

25       Q.    And then directing you to Exhibit 414I, as in India.            Do
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 83 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   83

1        you recognize this?

2        A.    I do.   This is the email that Mr. Sterlingov just

3        referenced in that message.

4        Q.    And looking at the body of the email, who is it addressed

5        to?

6        A.    The email is addressed to Mr. Sterlingov's plasma at

7        PlasmaDivision.com address for the Mt. Gox account name

8        Roso987341870.

9        Q.    And flipping back to 414C and skipping forward to message

10       number 29.    Who is the author of this message 29?

11       A.    Employee of Bitstamp named Urban Kosem.

12       Q.    Could you read the body of that message, please?

13       A.    "Dear Roman, thank you for your reply.          We kindly ask you

14       to elaborate on the purpose of the .0426 BTC deposit you have

15       made to Bitstamp on February 12, 2017 and your activity on its

16       originating address."      And the address is

17       1HEMZAsDvoNAZfiqzhuNKKx1KdcivykaJG.         "We are looking forward to

18       hearing from you.     Best regards, Urban K."

19       Q.    And could we scroll down to message 30.          Who is the author

20       of message 30?

21       A.    Roman Sterlingov.

22       Q.    And how does he respond here?

23       A.    "I see what you mean now.      Yes, sorry.      I forgot about

24       that one.     It was easy to forget seeing how it is a very low

25       sum of money.    I found the invoice this was in response to.
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 84 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    84

1        This was a payment I received from my client for the services

2        of my company."

3        Q.    Could we switch over to 414A.        Do you recognize this

4        exhibit here?

5        A.    I do.

6        Q.    And what does this exhibit show?

7        A.    This is an invoice that the defendant provided to

8        Bitstamp.

9        Q.    And could you scroll down to the bottom?            And then

10       returning to Exhibit 414C.      Could you read -- first directing

11       your attention to message number 31, who is the author of

12       message 31?

13       A.    Urban Kosem of Bitstamp.

14       Q.    What does Mr. Kosem write here?

15       A.    "Dear Roman, thank you for your reply.           We have noticed

16       that the BTC address specified on your submitted invoice never

17       received any BTC.     Please clarify why that is and what the

18       purpose of the deposit we have previously inquired about is.

19       Please also clarify why you have personally received BTC for

20       the services of your company.        Additionally, provide additional

21       documentation regarding the origin of your previously deposited

22       BTC as the submitted documentation does not suffice.              Please

23       provide screenshots or email confirmations showing your initial

24       BTC purchases and BTC withdrawals made to Bitstamp in order for

25       us to confirm their origin.         Thank you for your cooperation.
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 85 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    85

1        We are looking forward to your reply.          Best regards, Urban K."

2        Q.    Scrolling down to message 32.        Who is this a message from?

3        A.    From Roman Sterlingov.

4        Q.    Could you read Mr. Sterlingov's response in message 32,

5        please?

6        A.    "I think this was a simple error in the invoice where the

7        address said the number 1 instead of the number 3.              This was

8        clarified personally to my client from whom I received the

9        funds.    The deposit address is my Bitstamp deposit address,

10       which I have used on invoices for a short while.             As you see, I

11       noticed that it was printed with an error and switched away

12       from that address entirely because I did not know if the

13       exchange is going to receive the funds because my company is

14       registered as enskild firma in Sweden, which means it is a

15       registered business, but it is light form of a company, which

16       does not create a separate business ID number, but uses my own

17       personal information as the company.          This is normal business

18       practice in Sweden and is fully lawful.           The original

19       purchases, as you can see, were made many, 3-plus? years ago.

20       This was way before your website gave any indication that you

21       will need that information.         So there is not much to go on

22       here, because I wasn't taking screenshots of everything I do on

23       the internet, because I knew that years later you will ask for

24       my payment history.     The large chunk of the Bitcoins were

25       acquired on the exchange Mt. Gox.         This exchange is now defunct
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 86 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    86

1        and in the process of repaying funds to its users.             I used the

2        Mt. Gox website to purchase them.        I am attaching a screenshot

3        of Bitcoin builder, which was only available to Mt. Gox

4        accounts.    Right now, the website Mt. Gox does not exist.            I am

5        not sure what screenshots you want me to provide.             Please

6        release my money, as I have provided all of the information I

7        can and you are holding my funds and stalling instead of paying

8        out, without any reason.      I have been a loyal customer of yours

9        for years, given your company a lot of revenue.            And this is

10       how you treat me after years?       No other exchange is going this.

11       I have provided all of the needed documents about my identity

12       as well as what information I have about the origin of the

13       funds."

14       Q.    And could we scroll down to message 33.          And who is this

15       message from?

16       A.    From Urban Kosem of Bitstamp.

17       Q.    And could you read the first two sentences of that

18       message?

19       A.    "Dear Roman, thank you for your reply.          According to our

20       chain analysis, the bulk of your deposited BTC originate from

21       mixing services."

22       Q.    And then could you read the next sentence?

23       A.    "Please clarify if you have used mixing services in the

24       past and what was the purpose of such activity."

25       Q.    Then dropping down to the end of that message on the third
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 87 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    87

1        line up, there is a sentence that starts with the word please.

2        Could you read from there and until the end of the message,

3        please?

4        A.    "Please also elaborate on the purpose and the reason of

5        your recent BTC withdrawals.        We are looking forward to your

6        reply.    Best regards, Urban K."

7        Q.    Could we scroll down to message 34, please.           And who is

8        this message from?

9        A.    From Roman Sterlingov.

10       Q.    And about halfway down or a third of the way down that

11       message, there is a sentence that begins there is a caret sign

12       or a greater than sign.      And then the words "please clarify,"

13       do you see there?

14       A.    I do.

15       Q.    Could you read from that point until the end of this

16       message?

17       A.    "Please clarify if you have used mixing services in the

18       past and what was the purpose of such activity.            To repeat

19       myself, it is possible that I have used some.            I don't really

20       remember.     This was years ago.    Bitcoin was a new thing.         And I

21       experimented with many different services.           What is the

22       problem?"

23       Q.    Then could you continue reading?

24       A.    Greater than sign, "Please also elaborate on the purpose

25       and the reason of your recent BTC withdrawals.            I decided to
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 88 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    88

1        move them for personal reasons.         Honestly, none of this is any

2        of your business.      I was nice enough to use your service and

3        pay you money.       I haven't done anything weird or illegal or

4        even questionable.      I have just used your service for its basic

5        purpose.   I have now already wasted 2, 3 hours of my time

6        dealing with this shit.       Right now my time is valued at an

7        average of 50 Euros per hour.        Are you going to reimburse me

8        for time I spent gathering information and answering your

9        pointless questions?"

10       Q.    Could we drop down to message 36?

11             And who is this message from?

12       A.    From Urban Kosem of Bitstamp.

13       Q.    Could you read his message, please?

14       A.    "Dear Roman, thank you for your reply.           We kindly ask you

15       to provide any documentation regarding your use of mixing

16       services indicating when and what services you have used and

17       what BTC amount was involved.        In regard to your work material,

18       please provide additional documentation as the submitted

19       screenshot does not reveal much about the nature of your work.

20       While we understand your concern for privacy, please note that

21       this information and documentation is required in order to

22       fully establish the nature of your relationship with Bitstamp.

23       Therefore we kindly ask you to clarify the purpose and

24       destination of your BTC withdrawals in the last month and

25       elaborate on your activity in connection to these withdrawals.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24    Page 89 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    89

1        Thank you for your cooperation.        We are looking forward to your

2        reply.   Best regards, Urban K."

3        Q.    And then could we scroll down to message 37.             And who is

4        speaking in message 37?

5        A.    Roman Sterlingov.

6        Q.    What does he say here?

7        A.    "I am happy to provide you with any answers you wish if

8        you can help me as well.      I have now already wasted 2 to 3

9        hours of my time dealing with this shit.             Right now my time is

10       valued at an average of 50 Euros per hour.            Are you going to

11       reimburse me for the time I have spent gathering information

12       and answering your pointless questions?"

13       Q.    Could you scroll down to message 40, please?

14             Who is the author of this message?

15       A.    Roman Sterlingov.

16       Q.    What does he say here?

17       A.    "I have to say that I am very disappointed with your

18       service so far.      I have already provided you with all of the

19       needed documents.     I have gathered the information and I have

20       answered your intrusive questions.        And now you are asking for

21       documents again.     Searching through the internet, I can see

22       this is common practice on your exchange.            I will, of course,

23       provide you with needed documents when I get around to it.              But

24       just so you know, this is no way to treat a client.              You have

25       prompted me to check some other exchanges.            And I have now
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 90 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   90

1        found several others which even have better functionality than

2        you.   In a way, I am grateful that you forced me to find

3        different websites because."

4        Q.     And what is the date of this message here?

5        A.     April 18th, 2018.

6        Q.     If we could just scroll to the top of this document here.

7        And then scroll down a little bit further and stop here.              Is

8        there an indication for the date of Mr. Sterlingov's last log

9        in to Bitstamp?

10       A.     Yes.   His last log in to Bitstamp was April 18, 2018?

11       Q.     Now we can close this out.      Agent Rovensky, did the

12       investigation team obtain records from LocalBitcoins?

13       A.     Yes.

14       Q.     What kind of financial institution was LocalBitcoins?

15       A.     LocalBitcoins was a peer-to-peer Bitcoin exchange.

16       Q.     And how does a peer-to-peer or how did LocalBitcoins work

17       as a peer-to-peer Bitcoin exchange?

18       A.     Peer-to-peer kind of like what Craigslist used to be back

19       in the day.    So individuals would find each other, individuals

20       looking to buy or sell Bitcoin, they would communicate and

21       agree on a price and execute the trades on LocalBitcoin.

22       Q.     Did LocalBitcoins provide any sort of escrow service?

23       A.     There would be an escrow service, yes.

24       Q.     Now directing your attention in your binder to Exhibits

25       419A through 420G.
     Case 1:21-cr-00399-RDM   Document 280    Filed 03/16/24   Page 91 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    91

1        A.    419?

2        Q.    419A through 420G.

3              So 419 and then 420s.

4        A.    Oh.    Okay.

5        Q.    Do you recognize those exhibits, 419A through 420G?

6        A.    I do.   These are records provided to the government by

7        BitPay pursuant to legal process.

8        Q.    And then are you sure it was BitPay?

9        A.    I'm sorry.     Not -- I misspoke, LocalBitcoin.

10       Q.    Okay.   And, Agent Rovensky, looking at 419A through 420G,

11       do these fairly and accurately reflect the records from

12       LocalBitcoins?

13       A.    They do.

14                    MR. BROWN:   The government moves to admit and publish

15       419A through 420G?

16                    THE COURT:   Any objection?

17                    MR. EKELAND:   I just need to flip through them.          One

18       second, Your Honor.       No objection, Your Honor.

19                    THE COURT:   Exhibits 419A through 420G are admitted

20       and may be published to the jury.

21                    (Whereupon, Exhibit No. 419A - 420G admitted.)
22       BY MR. BROWN:

23       Q.    Now, Agent Rovensky, directing your attention to 420A,

24       which is up on your screen.         What does this show?

25       A.    This is information for Mr. Sterlingov's LocalBitcoin
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 92 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                        92

1        account under the username GothenCoin.

2        Q.    Could you point out that username for the jury?

3        A.    Right there.

4        Q.    Is there a name associated with GothenCoin?

5        A.    Roman Sterlingov.

6        Q.    Is there an email address associated with that?

7        A.    There is.      GothenCoin@AOL.com.

8        Q.    Looking a little further down that block of text.                Is

9        there information about the date this account was created?

10       A.    This account was created on September 20th, 2012.

11       Q.    And then flipping over to Exhibit 419A.           And what does

12       this exhibit show?

13       A.    This is account information for the defendant's

14       LocalBitcoin account under the username Code grin.

15       Q.    Is there a specific name associated with the Code grin

16       account?

17       A.    There is no real name provided by the user.

18       Q.    Is there an email address provided for this account?

19       A.    There is.      Mr. Sterlingov's Spam@PlasmaDivision.com email

20       address.

21       Q.    When was this account created?

22       A.    On February 26, 2017.

23       Q.    And we can close this out.

24             Agent Rovensky, did the investigation team obtain records

25       from BTC-e?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 93 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   93

1        A.    Yes, we did.

2        Q.    What kind of financial institution was BTC-e?

3        A.    It was a cryptocurrency exchange.

4        Q.    Did BTC-e comply with US subpoena requests?

5        A.    BTC-e did not comply with US subpoena requests.            They did

6        not enforce strict KYC anti-money laundering policies and while

7        operating they were very popular among cyber criminals.

8        Q.    Did it cease operations in 2017?

9        A.    Yes.

10       Q.    Did the government obtain access to BTC-e's servers?

11       A.    We did.

12       Q.    Do you know which US government agency has custody of

13       BTC-e account records?

14       A.    The FBI.

15       Q.    Did they pull records for records of a specific account of

16       interest in this investigation?

17       A.    Yes.

18       Q.    I'd like to direct your attention to 414A to 414M, as in

19       Mike, in your binder.

20                    MR. BROWN:   I'm sorry, 411A through 411M, as in -- H

21       as in hotel, I'm sorry.

22                    THE COURT:   So 411A through H?

23                    MR. BROWN:   Yes, Your Honor.      My apologies.

24                    THE COURT:   Okay.

25       BY MR. BROWN:
     Case 1:21-cr-00399-RDM    Document 280   Filed 03/16/24   Page 94 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                   94

1        Q.    And do you recognize Exhibits 411A through 411H?

2        A.    I do.   These are records pulled from the government's

3        database of BTC-e records.

4        Q.    Do these records fairly and accurately represent the

5        records that were produced by the FBI for this case?

6        A.    They do.

7                   MR. BROWN:     The government moves to admit and publish

8        Exhibits 411A through 411H?

9                   THE COURT:     Any objection?

10                  MR. EKELAND:      No objection.

11                  THE COURT:     Exhibits 411A through 411H are admitted

12       and may be published to the jury.

13                  (Whereupon, Exhibit No. 411A - 411H were admitted.)
14       BY MR. BROWN:

15       Q.    Agent Rovensky, directing your attention to 411A, is there

16       a log-in name indicated here?

17       A.    There is.      The defendant used the log-in name Henderson

18       for his BTC-e account.

19       Q.    What is the email address?

20       A.    Info@dangerzone.today.

21       Q.    And then directing your attention to Exhibit 411G, as in

22       gulf.

23             Looking at this BTC-e record, what email accounts are

24       indicated?

25       A.    Heavydist@gmail.com and Info@dangerzone.today.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 95 of 115
                           DIRECT EXAMINATION OF LEO ROVENSKY                  95

1        Q.    We can close this out.

2              Did the investigation team obtain records from Nordea

3        Bank?

4        A.    We did.

5        Q.    What kind of financial institution is Nordea Bank?

6        A.    Nordea is a traditional bank in Sweden.

7        Q.    In your binder, I'd like to direct your attention to

8        Exhibits 431A, 431D, 431E, 432A, 432D and 432E.            So A, D and E

9        for 431; and A, D and E for 432.

10       A.    Okay.

11       Q.    And do you recognize those exhibits, 431A, 431D, 431E,

12       432A, 432D, 432E?

13       A.    I do.   These are records obtained pursuant to a mutual

14       legal assistance treaty for Nordea Bank from Sweden.

15       Q.    Do these records fairly and accurately -- are these fair

16       and accurate copies of the records that were provided by Sweden

17       in response to that mutual legal assistance treaty request?

18       A.    They are.

19                  MR. BROWN:    The government moves to admit.          We don't

20       need to publish, these exhibits, 431A, 431D, 431E, 432A, 432D,

21       432E.

22                  THE COURT:    Any objection?

23                  MR. EKELAND:     No objection.

24                  THE COURT:    These exhibits are admitted.

25                  (Whereupon, Exhibit Nos. 431A, 431D, 431E, 432A,
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 96 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   96

1        432D, 432E were admitted.)
2                   THE COURT:    I was going to ask you.         Is this a good

3        time for the lunch break?      But I will leave it up to you.

4        Sometime in the next few minutes.

5                   MR. BROWN:    Your Honor, if I could ask a couple more

6        questions, that would be a good stopping point.

7                   THE COURT:    Okay.

8        BY MR. BROWN:

9        Q.    And, Agent Rovensky, is some portion of these records in a

10       language other than English?

11       A.    Yes, in Swedish.

12       Q.    And were translations prepared for some of the Nordea Bank

13       records?

14       A.    Yes, they were.

15       Q.    Directing your attention to exhibits in your binder 431B,

16       431C, 432B and 432C.

17                  MR. EKELAND:     I'm sorry.     Mr. Brown, could you repeat

18       the exhibit numbers and letters again?

19                  MR. BROWN:    Yes, 431B, 431C, 432B, 432C.

20                  MR. EKELAND:     Thank you.

21       BY MR. BROWN:

22       Q.    So I'm sorry, different exhibits.         431C and 432C, as in

23       Charlie.

24       A.    I see them.

25       Q.    And do you recognize those exhibits?
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 97 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   97

1        A.    I do.   These are the translations.

2                    MR. BROWN:   And I believe that these have previously

3        been conditionally -- the government moves to admit Exhibits

4        431C and 432C.

5                    THE COURT:   All right.     Any objection?

6                    MR. EKELAND:    No objection, Your Honor.

7                    THE COURT:   All right.     So 431B and 432B -- are you

8        moving those in?

9                    MR. BROWN:   Your Honor, I believe those -- the B are

10       the unredacted translations and the Cs are the redacted.

11                   THE COURT:   So you are only admitting the Cs?

12                   MR. BROWN:   Yes, Your Honor.

13                   THE COURT:   So 431C and 432C are admitted.

14                   (Whereupon, Exhibit Nos. 431C, 432C were admitted.)
15                   MR. BROWN:   Apologies for the confusion, Your Honor.

16                   Your Honor, that would be a good stopping point.

17                   THE COURT:   All right.     So why don't we take a lunch

18       break.    And why don't we come back at 1:45.         And I will just

19       remind you not to discuss the case even with your fellow

20       jurors.    Don't do any research and steer clear of anyone

21       associated with the case so you don't inadvertently hear any

22       hall chatter.    I will see you back here at 1:45.

23                   (Jury out at 12:34 p.m.)

24                   THE COURT:   All right.     You can take your lunch break

25       as well.   I will see you back here at 1:45.
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 98 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   98

1                    One of the jurors requested tomorrow, if we could

2        take the lunch break at 11:30 but the juror has something on

3        Zoom the juror needs to do and requested going forward, if we

4        can do the lunch breaks on Mondays for the same reason at noon

5        on Mondays.

6                    MR. EKELAND:    So tomorrow at 11:30 and then on

7        Mondays at noon, Your Honor?

8                    THE COURT:   That is what the juror has requested,

9        yes.

10                   MR. BROWN:   No objection from the government.

11                   MR. EKELAND:    No objection, Your Honor.

12                   THE COURT:   All right.

13                   MR. BROWN:   Actually --

14                   THE COURT:   Mr. Brown.

15                   MR. BROWN:   -- while we are on the point of

16       scheduling, is there any chance that we will be sitting this

17       Friday as well?

18                   THE COURT:   You know, I guess I am still of the view,

19       it just depends on how quickly we are moving along,

20       particularly now since we are going to have to, if there is a

21       conviction, do the forfeiture proceeding.            I just want to make

22       sure that we are not keeping jurors here longer than we have

23       promised.    So I just want to make sure we are moving along.              So

24       I will ask maybe in the next day or two for your best

25       assessment of how we are doing by comparison to the schedule we
     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 99 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                   99

1        were hoping to meet and then we'll make a decision about

2        sitting on Friday.

3                   MR. BROWN:    Yes, Your Honor.

4                   THE COURT:    There is a juror who needed to travel on

5        Friday for something on Saturday; is that right?

6                   THE COURTROOM DEPUTY:       Yes.

7                   THE COURT:    The juror just asked if we were sitting

8        on Friday because the juror has something out of town on

9        Saturday apparently.     So let's see how we are moving along and

10       if we need to sit on Friday, we will; if we not, we won't.             See

11       you all soon.

12                  (Recess taken at 12:36 p.m.)

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     Case 1:21-cr-00399-RDM   Document 280   Filed 03/16/24   Page 100 of 115
                          DIRECT EXAMINATION OF LEO ROVENSKY                    100

1                                 C E R T I F I C A T E
2

3                    I, SHERRY LINDSAY, Official Court Reporter, certify
4        that the foregoing constitutes a true and correct transcript of
5        the record of proceedings in the above-entitled matter.
6

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10                                   Dated this 21st day of February, 2024.
11

12                                   ________________________
                                     Sherry Lindsay, RPR
13                                   Official Court Reporter
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                                   16th [1] 24/22                      411M [1] 93/20
    Case 1:21-cr-00399-RDM 17
 BY MR. BROWN: [40] 6/2 6/18
                                    Document      280 82/18
                                      [3] 3/7 82/17      Filed 03/16/24412 [6]
                                                                            Page   101
                                                                                3/13   of 115
                                                                                     69/20 69/21 70/8
                                   17th [1] 19/7                        70/11 70/13
 14/18 17/7 18/14 19/23 26/12
                                   18 [1] 90/10                        413A [6] 3/14 71/1 71/4 71/10
 29/13 30/14 34/10 35/9 39/7 40/21
                                   185.120.145.154 [1] 44/5             71/13 71/15
 42/11 42/19 43/19 46/13 46/17
                                   185.120.145.155 [1] 44/5            413F [1] 71/18
 55/21 56/23 60/14 61/24 63/9
                                   185.120.145.156 [1] 44/6            413G [1] 71/24
 64/14 64/21 65/9 66/21 67/11 69/5
                                   185.120.145.157 [1] 44/6            413H [4] 3/14 71/2 71/4 71/15
 70/14 71/16 72/16 73/6 74/15
                                   185.120.145.158 [1] 44/6            414A [8] 3/15 75/2 75/4 75/11
 75/17 91/22 93/25 94/14 96/8
                                   18:58:11 [1] 37/4                    75/14 75/16 84/3 93/18
 96/21
                                   18th [1] 90/5                       414C [4] 75/18 80/24 83/9 84/10
 MR. BROWN: [72] 4/9 5/16 14/11
                                   19th [1] 23/6                       414I [1] 82/25
 16/24 26/5 30/7 30/9 30/12 30/16
                                   1:45 [3] 97/18 97/22 97/25          414J [1] 80/20
 30/21 31/10 31/24 32/19 33/22
                                   1HEMZAsDvoNAZfiqzhuNKKx1KdcivykaJG 414M [7] 3/15 75/2 75/4 75/11
 34/8 34/21 38/11 38/16 38/20
                                    [1] 83/17                           75/14 75/16 93/18
 38/24 39/2 41/25 42/18 43/13
                                   1st [4] 37/4 37/21 39/13 60/16      415 [3] 73/19 73/25 74/8
 45/18 45/22 46/11 47/10 47/16
                                                                       416 [5] 3/14 72/11 72/24 73/5
 48/7 48/16 50/6 50/15 51/23 52/9 2
                                                                        73/8
 53/9 54/7 54/25 55/12 55/17 56/16
                                   20 [1]   1/5                        418A [2] 72/13 72/25
 60/7 61/17 63/1 63/19 63/21 64/4
                                                2/9                    418B [2] 72/14 72/25
 65/2 66/14 67/8 68/19 68/25 70/7 20001 [1]
                                   20005 [1] 1/21                      418I [4] 3/14 72/12 72/24 73/5
 71/10 72/23 74/7 75/10 91/14
                                              11/19 12/9 14/23 17/13   419 [2] 91/1 91/3
 93/20 93/23 94/7 95/19 96/5 96/19 2011 [8]
                                    19/7 20/2 20/21 21/15              419A [9] 3/15 90/25 91/2 91/5
 97/2 97/9 97/12 97/15 98/10 98/13
                                   2012 [13] 8/4 8/13 21/22 22/13       91/10 91/15 91/19 91/21 92/11
 98/15 99/3
                                    23/6 24/12 24/22 25/9 28/9 37/4    420A [1] 91/23
 MR. EKELAND: [62] 4/13 4/19 4/22
                                    37/21 39/13 92/10                  420G [8] 3/15 90/25 91/2 91/5
 4/25 5/11 5/14 5/19 14/14 17/2
                                   2013 [1]   9/18                      91/10 91/15 91/19 91/21
 18/11 19/21 26/8 29/11 31/14 32/8
                                   2015 [14] 26/1 26/15 27/1 44/21     420s [1] 91/3
 33/25 38/14 38/17 38/22 38/25
                                    46/15 46/19 49/14 49/15 55/23      43 [1] 3/9
 39/3 41/13 41/16 42/3 43/16 45/21
                                    57/3 57/17 58/4 58/18 59/3         431 [1] 95/9
 46/2 46/6 46/16 46/22 46/25 47/12
                                   2016 [5]   27/11 59/12 65/13 76/12 431A [5] 3/16 95/8 95/11 95/20
 48/22 49/1 49/11 51/7 52/10 52/18
                                    77/20                               95/25
 53/6 54/13 56/19 60/10 61/20 63/4
                                              83/15 92/22 93/8         431B [3] 96/15 96/19 97/7
 64/5 65/5 66/17 67/6 68/22 70/10 2017 [3]
                                   2018 [3] 60/16 90/5 90/10           431C [7] 3/17 96/16 96/19 96/22
 71/12 73/2 74/10 75/13 91/17
                                   2021 [1]   27/11                     97/4 97/13 97/14
 94/10 95/23 96/17 96/20 97/6 98/6
                                   2024 [2] 1/5 100/10                 431D [5] 3/16 95/8 95/11 95/20
 98/11
                                   20530 [2] 1/14 1/17                  95/25
 THE COURT: [115]
                                   20th [1] 92/10                      431E [5] 3/16 95/8 95/11 95/20
 THE COURTROOM DEPUTY: [9]  4/2
                                                 1/4 4/2 4/5            95/25
 6/16 30/8 30/10 42/17 64/10 64/20 21-399 [3]
                                   217D [1] 40/5                       432 [1] 95/9
 72/15 99/6
                                   21st [2] 22/13 100/10               432A [5] 3/16 95/8 95/12 95/20
 THE WITNESS: [5] 6/17 18/13
                                   22 [1] 55/23                         95/25
 30/11 30/13 74/13
                                   22nd [2] 46/15 46/19                432B [3] 96/16 96/19 97/7
$                                  23rd [3] 57/17 58/4 58/18           432C [7] 3/17 96/16 96/19 96/22
                                   24/7 [1] 23/20                       97/4 97/13 97/14
$1,000 [1] 78/18
                                   24th [1] 27/11                      432D [5] 3/16 95/8 95/12 95/20
$82 [4] 37/9 37/13 39/16 40/12                                          96/1
                                   2594297 [1] 9/5
'                                  25th [3] 21/15 27/11 76/12          432E [5] 3/16 95/8 95/12 95/21
                                   26 [3] 3/8 25/9 92/22                96/1
'Gate.BitcoinFog.com.' [1] 29/3                                        438 [4] 30/7 30/8 30/13 34/22
                                   267228 [1] 9/22
.                                  27th [1] 9/18                       439 [1] 30/4
                                   28 [4] 11/19 11/23 12/9 44/21       441A [2] 35/16 35/16
.0426 [1]  83/14                   28th [1] 12/12                      441B [2] 35/10 35/23
.net [1] 16/12                     29 [2] 83/10 83/10                  443G [5] 30/4 30/7 30/9 30/15
1                                  29th [1]   20/21                     34/22
                                   2nd [2] 8/13 77/20                  46 [1] 3/9
10 [1] 77/17                                                           4:50 [1] 5/17
10005 [1] 2/4                      3
1024 [1] 62/12                     3-plus [1] 85/19                    5
10:55 [1] 21/15                    30 [3] 2/3 83/19 83/20              5.1527 [1] 1/17
11 [3] 78/21 78/22 78/24           30579 [1] 26/22                     50 [3] 27/12 88/7 89/10
11:15 [1] 64/1                     31 [2] 84/11 84/12                  500E [1] 61/10
11:16 [2] 63/22 64/8               31st [3] 8/4 49/15 59/3             502E [1] 20/18
11:30 [2] 98/2 98/6                32 [2] 85/2 85/4                    502F [1] 21/18
11:35 [1] 63/23                    33 [1] 86/14                        502H [1] 22/11
11:43 [1] 64/12                    333 [1] 2/8                         508 [3] 46/14 46/18 55/22
12 [8] 27/1 57/24 58/24 68/2       34 [1] 87/7                         511A [5] 3/11 62/18 63/2 63/5
 79/11 79/12 79/14 83/15           36 [1] 88/10                         63/7
125567 [1] 11/18                   37 [2] 89/3 89/4                    511D [6] 3/11 62/19 63/2 63/5
125710 [1] 12/7                    39 [1] 3/8                           63/7 63/13
12:34 [1] 97/23                    399 [3] 1/4 4/2 4/5                 511E [5] 3/11 61/11 61/18 61/21
12:36 [1] 99/12                    3rd [3] 14/23 28/9 44/23             61/23
12th [3] 17/13 26/15 65/13                                             512 [1] 62/12
13 [5] 6/11 19/24 80/4 80/5 80/7 4                                     513 [1] 59/2
130.658 [1] 65/16                  40 [1] 89/13                        513B [6] 3/12 64/18 64/22 65/3
1301 [1] 1/20                                                           65/6 65/8
                                   403 [3] 31/21 31/24 32/18
13th [3] 20/2 21/22 59/12                                              517 [2] 38/14 40/19
                                   411A [8] 3/16 93/20 93/22 94/1
14 [2] 3/7 80/13                    94/8 94/11 94/13 94/15             517A [7] 3/8 38/2 38/5 38/12 39/4
15 [3] 11/14 80/25 80/25                                                39/6 39/8
                                   411G [1] 94/21
1599885 [1] 8/20                                                       517E [1] 40/16
                                   411H [5] 3/16 94/1 94/8 94/11
15th [1] 57/3                       94/13                              517I [1] 38/22
16 [2] 81/11 81/11                                                     517S [5] 3/8 38/3 38/5 38/12 39/6
5                                    A                                       46/12 49/18 56/8 56/20 56/22
    Case 1:21-cr-00399-RDM
521A [4] 3/12 66/15 66/18 66/20
                                    Document 280 Filed 03/16/2459/23
                                   a.m [6] 1/6 5/20 5/21 64/1 64/8
                                                                                 Page
                                                                                   60/11102 of 115
                                                                                         60/13 61/21 61/23
                                                                             63/5 63/8 65/6 65/8 66/18 66/20
522 [10] 3/9 42/15 42/17 42/18      64/12
                                                                             68/12 68/23 69/2 69/4 70/11 70/13
 42/25 43/14 43/17 43/18 43/21     able [4] 10/14 11/10 16/1 59/16
                                                                             71/13 71/15 72/13 72/25 73/4 73/5
 43/22                             about [32] 4/17 6/5 8/10 12/25
                                                                             75/14 75/16 91/19 91/21 94/11
522A [10] 3/9 42/16 42/18 43/3      13/6 19/19 33/1 36/10 41/24 47/5
                                                                             94/13 95/24 96/1 97/13 97/14
 43/4 43/14 43/17 43/18 43/20       47/21 47/23 47/25 50/21 53/13
                                                                            admitting [2] 55/3 97/11
 43/25                              53/15 54/17 57/22 58/20 58/23
                                                                            adopt [1] 51/4
525A [1] 66/8                       65/14 65/17 78/3 78/10 83/23
                                                                            adopted [4] 48/3 50/17 51/4 51/5
527 [1] 59/10                       84/18 86/11 86/12 87/10 88/19
                                                                            adoption [2] 49/22 50/4
53 [9] 3/9 45/2 45/13 45/19 46/9    92/9 99/1
                                                                            adoptive [4] 47/22 50/8 50/12
 46/12 54/24 54/25 59/1            above [3] 44/4 55/13 100/5
                                                                             50/21
530466 [1] 6/13                    above-entitled [1] 100/5
                                                                            advance [2] 33/7 33/8
56 [1] 3/10                        accepting [1] 7/2
                                                                            adversary [1] 28/23
                                   access [3] 28/3 29/6 93/10
6                                                                           afraid [1] 10/3
                                   accessed [1] 28/16
                                                                            after [10] 11/25 23/2 24/9 25/1
6.55 [1] 37/12                     accessible [1] 22/23
                                                                             25/3 41/3 53/14 55/25 64/6 86/10
6.5548 [1] 37/8                    accessing   [1]   28/22
                                                                            again [5] 43/21 58/21 81/18 89/21
60 [1] 3/10                        according [4] 8/9 42/1 47/19
                                                                             96/18
601 [1] 1/16                        86/19
                                                                            against [1] 15/8
61 [1] 3/11                        account [48] 6/5 11/22 16/19
                                                                            agency [2] 32/1 93/12
63 [1] 3/11                         17/11 21/12 21/16 25/25 60/3 62/4
                                                                            Agent [33] 6/3 10/20 17/8 27/24
648602 [1] 19/25                    62/6 62/11 63/10 65/11 65/12 72/3
                                                                             29/9 29/18 34/11 35/10 39/8 41/6
65 [1] 3/12                         73/16 74/17 74/19 75/19 75/24
                                                                             42/12 55/22 59/24 60/15 61/25
66 [2] 3/12 23/5                    76/20 77/3 77/6 77/11 77/24 78/17
                                                                             63/10 64/15 64/22 65/10 66/22
6710 [1] 2/8                        78/18  78/19   79/2  79/22  79/24
                                                                             67/12 69/6 70/15 71/17 73/7 73/18
68 [1] 24/10                        80/17 80/19 80/23 81/25 82/12
                                                                             74/16 90/11 91/10 91/23 92/24
69 [2] 3/13 27/12                   83/7 92/1 92/9 92/10 92/13 92/14
                                                                             94/15 96/9
                                    92/16 92/18 92/21 93/13 93/15
7                                                                           ago [4] 79/17 81/18 85/19 87/20
                                    94/18
                                                                            agree [1] 90/21
70 [2] 3/13 24/20                  accounts [9] 30/24 35/1 35/2 54/8
                                                                            ahead [1] 4/24
702 [1] 29/11                       60/5 73/11 73/14 86/4 94/23
                                                                            AI [1] 17/21
71 [2]  3/14 25/8                  accuracy  [1]    48/1
                                                                            AKA [1] 18/9
723859 [1] 8/2                     accurate [12]     14/7  16/20  26/2
                                                                            Akemashite [45] 11/21 12/1 12/21
73 [1] 3/14                         45/15 61/14 62/23 64/24 66/11
                                                                             12/22 12/24 13/4 16/14 18/9 19/18
75 [1] 3/15                         68/15 72/20 74/4 95/16
                                                                             20/13 21/1 21/3 23/8 23/13 24/14
77407610 [1] 21/15                 accurately   [11]    34/17  38/8  43/9
                                                                             24/24 25/11 28/11 47/1 47/5 47/22
                                    56/13 60/4 70/4 71/7 75/7 91/11
8                                                                            47/24 48/2 48/6 48/13 48/20 48/25
                                    94/4 95/15
                                                                             49/1 49/15 49/23 49/25 50/9 50/11
805 [1] 10/18                      achieve [1] 7/21
                                                                             50/24 51/2 52/2 52/6 52/8 52/11
807 [8] 3/7 13/23 13/25 14/4       acquired  [2]    79/23  85/25
                                                                             52/14 52/22 53/18 53/20 59/5
 14/12 14/15 14/17 18/4            acquisition [1]      79/6
                                                                             59/14
808 [6] 13/25 14/4 14/12 14/15     Act [1] 9/21
                                                                            Akveduk [3] 37/19 39/20 40/9
 18/4 18/7                         Action [1] 1/3
                                                                            Alden [1] 4/11
809 [8] 3/7 13/25 14/4 14/12       activated [1] 26/1
                                                                            all [45] 4/12 9/15 10/7 14/21
 14/15 14/17 18/4 19/2             active [3] 6/9 65/23 65/24
                                                                             18/1 18/5 24/4 24/7 25/1 28/21
810 [7] 3/8 25/19 25/21 26/6 26/9 activities [1] 77/8                        31/11 31/13 33/6 33/24 34/23 37/2
 26/11 26/13                       activity [5] 77/4 83/15 86/24
                                                                             38/19 39/4 41/21 50/6 53/2 54/17
811 [3] 25/19 27/13 27/14           87/18  88/25
                                                                             56/3 56/24 59/16 59/21 62/1 64/2
812 [3] 25/19 27/17 27/18          actual [2] 15/25 24/7
                                                                             64/6 64/9 64/13 69/13 78/22 79/12
813 [3] 25/19 27/20 27/20          actually [8] 13/24 15/19 33/11
                                                                             82/4 82/22 86/6 86/11 89/18 97/5
814 [8]  3/8 25/19 25/21 26/6 26/9  33/17  54/5  81/23   82/21  98/13
                                                                             97/7 97/17 97/24 98/12 99/11
 26/11 27/22 27/22                 addition  [1]    79/1
                                                                            alleged [1] 50/2
831645 [1] 8/12                    additional [4] 67/25 76/23 84/20
                                                                            allow [2] 29/12 33/9
843 [7] 3/13 68/11 68/12 68/20      88/18
                                                                            alone [1] 32/25
 69/1 69/2 69/4                    additionally [4] 16/11 81/6 82/7
                                                                            along [5] 37/5 42/5 98/19 98/23
844308 [1] 22/1                     84/20
                                                                             99/9
86 [1] 28/8                        address [39] 10/15 11/8 13/21
                                                                            alpha [3] 35/16 62/19 66/8
861 [6] 3/7 16/16 16/17 16/25       14/6 30/6 33/9 36/4 36/11 36/13
                                                                            already [17] 6/12 8/8 8/8 10/19
 17/4 17/6                          40/3 40/10 44/18 57/5 57/20 58/22
                                                                             11/15 33/12 46/3 47/24 48/25
873 [1] 68/23                       62/7  62/7  65/21   66/25  68/14  69/9
                                                                             72/13 78/15 78/19 78/20 82/1 88/5
892 [6] 3/10 59/22 59/24 60/8       70/18 71/19 71/21 75/22 75/24
                                                                             89/8 89/18
 60/11 60/13                        77/10 83/7 83/16 83/16 84/16 85/7
                                                                            also [16] 12/9 13/1 15/12 19/18
8th [2]  2/4 23/10                  85/9  85/9  85/12   92/6  92/18  92/20
                                                                             24/12 25/16 35/16 51/11 54/6 56/9
                                    94/19
9                                                                            58/2 58/7 72/10 84/19 87/4 87/24
                                   addressed [3] 58/5 83/4 83/6
                                                                            altered [1] 32/22
91 [1] 3/15                        addresses [5] 44/8 44/9 44/12
                                                                            altering [2] 33/8 33/17
912 [7] 3/10 56/8 56/10 56/17       54/2 56/12
                                                                            Alternatively [1] 80/9
 56/20 56/22 56/24                 adjourn  [2]    5/10  5/17
                                                                            although [1] 23/20
914 [7] 3/10 56/9 56/10 56/17      adjust [1] 33/4
                                                                            always [1] 29/2
 56/20 56/22 57/25                 admission [7] 47/22 48/3 50/8
                                                                            am [32] 10/3 13/6 16/7 16/8 17/22
94 [1] 3/16                         50/12  50/21   51/4  51/5
                                                                             19/12 29/20 33/9 46/25 47/2 49/6
95 [1] 3/16                        admit  [24]   14/11   16/24  26/5  34/21
                                                                             49/22 50/3 50/18 50/22 52/24
950 [1] 1/14                        34/23 38/11 43/13 45/18 46/9
                                                                             53/19 53/22 55/3 55/14 72/11
97 [1] 3/17                         56/16 60/7 61/17 63/1 65/2 66/14
                                                                             77/23 79/15 79/21 80/1 82/24 86/2
9:16 [1] 1/6                        68/19  70/7  72/23   74/7  75/10  91/14
                                                                             86/4 89/7 89/17 90/2 98/18
9:18 [1] 5/20                       94/7  95/19  97/3
                                                                            AMERICA [2] 1/3 4/5
9:45 [1] 5/21                      admitted [59] 6/12 10/19 11/16
                                                                            among [1] 93/7
9th [1] 24/12                       13/24 14/15 14/17 16/16 17/4 17/6
                                                                            amongst [1] 63/23
                                    19/25 20/18 23/4 26/9 26/11 28/7
                                                                            amount [7] 18/18 30/1 37/8 40/11
                                    39/4 39/6 42/16 43/17 43/18 45/2
                                                                             40/12 77/10 88/17
A                                   97/21                                13/24 16/16 19/24 20/18 21/12
    Case 1:21-cr-00399-RDM association
ample [2] 31/15 32/13
                                    Document[2]   280 31/5Filed
                                                            35/5 03/16/2422/21
                                                                             Page
                                                                               23/3 103  of23/19
                                                                                     23/11  115 23/21
                                   assumed [1] 82/22                     26/25 28/7 42/16 45/2 47/24 52/1
analysis [1] 86/20
                                   assuming [2] 33/16 54/11              56/8 59/16 59/17 59/23 68/12
ancillary [1] 31/18
                                   assumption [1] 53/6                   72/13 86/8 97/3
Andrew [9] 12/3 12/11 13/3 13/5
                                   ATMs [1] 9/12                        before [12] 1/9 4/23 5/12 17/21
 13/19 15/5 18/9 18/16 18/17
                                   attaching [2] 79/15 86/2              23/18 24/5 47/4 47/9 49/24 64/2
announce [2] 13/2 13/9
                                   attempt [1] 32/11                     76/24 85/20
announced [1] 37/22
                                   attention [65] 6/11 6/13 8/1 8/11 begin [1] 82/4
announcement [3] 45/5 45/7 52/13
                                    8/14 8/19 9/4 9/22 10/13 11/14      beginning [2] 24/2 30/12
anonymity [3] 7/11 7/21 59/19
                                    11/17 13/23 16/15 17/16 19/2        begins [1] 87/11
another [5] 9/6 21/20 25/6 27/15
                                    19/24 20/17 21/18 22/8 22/11 23/4 being [18] 18/24 23/11 27/8 39/21
 66/6
                                    25/18 26/13 27/13 27/17 28/6         40/13 47/2 47/7 47/12 48/4 48/5
answer [5] 4/16 42/1 52/25 67/10
                                    35/10 35/15 36/25 39/8 40/5 42/15 48/7 49/6 49/23 50/21 51/11 51/25
 77/2
                                    43/24 45/1 46/14 56/7 57/25 59/2     55/15 68/7
answered [1] 89/20
                                    59/10 59/22 61/7 61/10 61/25        believe [14] 6/12 10/18 20/18
answering [2] 88/8 89/12
                                    62/18 64/18 66/8 68/2 68/11 69/20 21/10 30/4 38/20 49/13 49/15 51/9
answers [2] 77/12 89/7
                                    71/1 71/17 71/24 72/11 73/7 73/19 59/23 68/25 72/12 97/2 97/9
anti [2] 9/21 93/6
                                    75/1 75/18 84/11 90/24 91/23        below [6] 6/24 8/23 14/20 40/8
anti-money [2] 9/21 93/6
                                    93/18 94/15 94/21 95/7 96/15         55/3 55/5
any [62] 7/15 9/11 10/9 14/13
                                   attention to [1] 45/1                bench [6] 30/19 34/9 41/15 42/10
 16/3 16/7 16/13 17/1 18/25 24/6
                                   August [1] 77/20                      46/23 54/20
 25/4 26/7 29/3 29/5 31/19 34/6
                                   August 2nd [1] 77/20                 beneath [4] 57/16 58/17 67/20
 35/5 38/13 43/15 45/20 49/5 50/1
                                   AUSA [1] 4/9                          76/4
 52/13 52/20 56/18 60/9 61/19 63/3
                                   authenticity [1] 32/23               benefit [1] 15/13
 63/24 65/4 66/16 68/21 70/9 73/1
                                   author [11] 12/19 12/21 24/23        best [13] 7/15 13/9 16/8 77/14
 74/9 75/12 77/4 79/8 79/16 80/1
                                    25/10 46/20 46/20 77/17 83/10        78/11 79/9 80/12 81/9 83/18 85/1
 81/7 81/9 81/19 81/20 81/21 81/23
                                    83/19 84/11 89/14                    87/6 89/2 98/24
 82/1 82/8 84/17 85/20 86/8 88/1
                                   automatic [1] 23/14                  better [4] 7/4 17/21 76/21 90/1
 88/15 89/7 90/22 91/16 94/9 95/22
                                   available [1] 86/3                   between [9] 11/10 18/9 19/4 27/15
 97/5 97/20 97/21 98/16
                                   Ave [2] 1/14 1/20                     27/19 27/21 27/23 31/6 76/7
anybody [1] 52/17
                                   Avenue [1] 2/8                       beyond [1] 46/8
Anyhow [1] 16/12
                                   average [3] 19/16 88/7 89/10         big [2] 49/12 53/6
anymore [3] 79/19 79/21 81/22
                                   avoidance [1] 32/3                   bigger [2] 7/24 23/17
anyone [1]  97/20
                                   aware [3] 32/9 53/11 54/15           bill [2] 51/10 71/19
anything [9] 5/12 5/15 18/20
                                   away [1] 85/11                       Binance [4] 69/16 69/18 69/22
 20/14 24/1 51/20 54/14 64/2 88/3
                                                                         70/5
anywhere [3] 41/8 51/9 70/16       B                                    binder [12] 13/24 30/3 30/5 30/11
AOL.com [1]  92/7
                                   back [31] 5/22 10/13 13/12 14/20      38/2 71/1 72/12 75/1 90/24 93/19
API [1] 17/25
                                    20/17 23/3 25/18 28/6 33/10 33/15 95/7 96/15
apologies [2] 93/23 97/15
                                    33/20 35/19 35/23 36/23 41/23       Birkirkara [1] 44/17
apologize [3] 23/14 24/3 40/20
                                    54/5 54/10 57/12 59/1 59/9 63/22 bit [7] 13/17 19/11 65/23 67/24
apparent [1]  19/12
                                    63/24 64/6 79/17 82/10 82/21 83/9 75/23 76/1 90/7
apparently [2] 8/8 99/9
                                    90/18 97/18 97/22 97/25             bitcoaster.com [1] 67/23
appear [12] 20/24 35/6 39/23 40/6
                                              20/14                     Bitcoin [65] 6/5 6/8 6/9 7/2 7/3
 40/17 40/22 57/7 58/1 58/7 58/11 bad [1]
                                   balance  [1]    23/11                 7/7 7/20 8/9 9/1 9/15 11/15 11/22
 60/23 71/18
                                   bank  [11]   9/21 77/9 78/16 78/18    11/24 11/25 15/13 16/14 19/13
APPEARANCES [3] 1/12 1/23 2/1
                                    79/6 79/18 95/3 95/5 95/6 95/14      19/13 19/18 23/1 23/2 25/16 25/17
appeared [1] 45/11
                                    96/12                                27/24 28/4 29/1 29/7 29/23 29/25
appears [4] 21/2 45/16 56/1 71/19
                                   Bankruptcy   [1]   2/7                29/25 36/4 37/8 37/11 37/12 37/21
applies [1] 50/4
                                   bar  [1]   49/18                      40/9 45/3 45/4 45/5 46/21 46/25
apply [1] 9/11
                                   barring [1] 52/3                      47/17 47/19 48/9 49/16 50/2 51/11
approves [1] 22/22
                                   based [1] 35/5                        52/17 52/19 52/21 53/13 53/18
April [3] 8/13 90/5 90/10
                                   basic  [1]   88/4                     53/21 62/17 78/13 79/7 80/11 81/6
April 18 [1] 90/10
                                   basically   [3]   28/22 35/25 53/15   81/17 82/10 86/3 87/20 90/15
April 18th [1] 90/5
                                   basis [3] 51/19 52/12 52/22           90/17 90/20
April 2nd [1] 8/13
                                   batch [2] 21/13 21/15                Bitcoin-hosting.com [1] 25/16
are [198]
                                   BCT [1] 79/5                         Bitcoiner [5] 12/3 12/11 13/3
areas [1] 16/12
                                   be  [94]   7/7 7/12 9/12 11/5 13/1    13/5 18/9
arguably [1] 50/7
                                    13/7 13/9 13/13 14/16 15/15 15/22 BitcoinFog.com [6] 22/17 22/20
arms [1] 32/22
                                    16/1 16/2 16/5 17/4 17/22 19/1       22/22 24/17 27/9 27/10
around [1] 89/23
                                    21/2 22/22 22/23 24/5 25/15 26/10 Bitcoins [8] 16/7 19/17 77/7
as [103]
                                    28/16 28/23 28/24 29/5 30/22 31/2 77/25 79/20 79/23 81/20 85/24
aside [1] 51/21
                                    31/4 31/21 32/2 32/5 32/14 32/17 Bitfinex [6] 70/22 70/24 70/25
ask [26] 5/3 6/22 6/23 15/4 19/8
                                    32/20 32/21 33/4 33/15 33/25         71/5 71/8 72/2
 41/20 41/21 42/3 51/18 52/22
                                    34/24 39/5 40/6 40/17 40/22 41/20 BitPay [21] 29/19 29/22 29/25
 74/11 76/21 76/25 77/12 79/3 79/4
                                    42/9 43/17 46/9 48/19 49/7 50/3      29/25 30/22 31/2 31/8 32/6 32/21
 79/9 81/9 81/22 83/13 85/23 88/14
                                    51/3 51/24 52/4 53/2 53/20 54/3      34/15 34/18 35/4 35/14 35/17
 88/23 96/2 96/5 98/24
                                    54/16 56/3 56/21 57/7 58/1 58/11     35/21 36/1 39/23 62/17 63/15 91/7
asked [2] 30/25 99/7
                                    60/1 60/11 60/23 61/21 63/5 64/10 91/8
asking [6] 5/4 13/12 41/19 42/4
                                    65/6 66/18 68/23 69/4 70/11 71/14 Bitstamp [27] 74/22 74/24 74/25
 67/7 89/20
                                    71/19 73/4 75/15 77/11 78/7 78/12 75/5 75/8 75/19 76/8 76/14 76/22
aspects [1] 46/5
                                    80/9 81/4 81/15 82/15 82/16 90/18 77/3 77/5 77/11 78/23 79/24 80/6
assembled [2] 30/22 31/1
                                    90/23 91/20 94/12 96/6 97/16         80/23 83/11 83/15 84/8 84/13
assembler [1] 16/12
                                    98/16                                84/24 85/9 86/16 88/12 88/22 90/9
asserted [7] 47/8 48/5 48/8 48/11
                                   became [1] 19/13                      90/10
 49/7 49/8 50/25
                                   because [18] 7/16 15/9 30/25         blade [1] 49/13
assessment [1] 98/25
                                    31/10 35/3 50/19 52/17 77/25 78/7 block [3] 12/23 21/8 92/8
assistance [4] 42/24 43/11 95/14
                                    81/22 82/5 82/23 85/12 85/13        bloomeditor.com [3] 62/12 67/19
 95/17
                                    85/22 85/23 90/3 99/8                69/12
associated [10] 40/1 44/15 65/21
                                                 15/10                  body [6] 6/23 8/5 8/15 69/10 83/4
 73/14 75/21 75/24 92/4 92/6 92/15 become [1]
                                   been [28] 5/1 6/12 10/19 11/15        83/12
B                                  cease [1] 93/8                     conditional [1] 50/9
    Case 1:21-cr-00399-RDM cents
bot [2] 17/15 18/2
                                    Document    280 Filed 03/16/24conditionally
                                          [1] 27/12                        Page 104 [1]of 115
                                                                                          97/3
                                   certain [4] 25/18 31/3 32/7 54/1 conditions [1] 81/20
both [5] 48/17 48/17 56/9 59/20
                                   certainly [3] 23/25 33/22 54/8     conduct [1] 63/24
 77/1
                                   certificate [2] 29/2 29/16         conducted [1] 31/25
bottom [6] 9/23 9/24 20/7 28/12
                                   certify [1] 100/3                  conference [6] 30/19 34/9 41/15
 62/14 84/9
                                   cetera [1] 18/1                     42/10 46/23 54/20
bought [1] 78/10
                                   chain [2] 7/1 86/20                confirm [4] 79/5 81/7 82/7 84/25
box [20] 44/10 47/17 48/2 51/24
                                   chance [3] 16/3 34/11 98/16        confirmation [1] 60/24
 52/6 52/7 52/14 52/20 55/2 55/3
                                   characterization [1] 51/8          confirmations [4] 80/10 81/5
 55/4 55/5 55/7 55/7 55/10 55/13
                                   Charlie [1] 96/23                   81/16 84/23
 55/19 56/1 56/2 76/2
                                   chatter [1] 97/22                  confirmed [1] 61/1
boy [1] 64/19
                                   cheap [1] 78/11                    confused [3] 46/25 47/2 55/14
breaches [1] 24/7
                                   check [5] 21/10 23/22 24/19 81/25 confusion [1] 97/15
break [10] 5/13 33/11 54/18 63/20
                                    89/25                             connection [2] 77/4 88/25
 64/3 64/7 96/3 97/18 97/24 98/2
                                   checked [1] 23/21                  connections [1] 28/21
breaks [1] 98/4
                                   checking [1] 24/17                 connects [1] 29/22
briefly [2] 18/7 43/20
                                   CHRISTOPHER [2] 1/15 4/10          consider [6] 47/8 50/24 51/1
bring [4] 4/4 5/2 5/4 17/20
                                   chunk [3] 6/23 79/20 85/24          53/10 55/4 55/19
bringing [2] 31/20 51/16
                                   circle [1] 37/10                   considered [1] 18/17
BRODIE [1] 1/15
                                   clarified [1] 85/8                 considering [2] 19/1 19/14
Brooklyn [1] 2/4
                                   clarify [8] 41/22 41/23 84/17      conspiracy [1] 50/3
brought [1] 47/3
                                    84/19 86/23 87/12 87/17 88/23     conspirator [12] 50/1 50/5 50/7
BROWN [14] 1/15 3/4 4/10 31/23
                                   clarity [1] 55/12                   50/11 50/12 50/18 51/6 51/9 51/12
 38/18 41/16 41/18 41/22 42/4
                                   clear [8] 31/21 32/12 33/25 37/17 51/14 51/17 51/18
 49/21 51/20 64/13 96/17 98/14
                                    51/14 52/10 52/18 97/20           conspirators [1] 51/11
browser [1] 28/5
                                   clearly [2] 34/1 52/14             constitutes [1] 100/4
BTC [23] 69/7 77/12 83/14 84/16
                                   clearnet [1] 29/5                  Constitution [1] 2/8
 84/17 84/19 84/22 84/24 84/24
                                   client [4] 44/22 84/1 85/8 89/24 contact [7] 11/1 11/5 11/7 16/13
 86/20 87/5 87/25 88/17 88/24
                                   clip [2] 5/1 5/6                    19/1 24/9 44/13
 92/25 93/2 93/4 93/5 93/10 93/13
                                   clipper [1] 5/2                    contain [1] 20/24
 94/3 94/18 94/23
                                   clippers [1] 5/5                   contemporaneous [1] 45/8
BTC-e [8] 92/25 93/2 93/4 93/5
                                   clog [1] 82/23                     CONTENTS [1] 3/1
 93/13 94/3 94/18 94/23
                                   close [14] 20/16 37/21 41/5 61/6 context [3] 50/25 53/12 53/19
BTC-e's [1]  93/10
                                    66/2 68/10 69/13 70/21 72/5 73/18 contextual [1] 53/10
Bucharest [3] 44/25 57/21 58/22
                                    74/21 90/11 92/23 95/1            continuation [4] 12/15 18/8 19/3
builder [1] 86/3
                                   cloud [1] 62/11                     19/4
built [2] 18/24 23/14
                                   club [1] 22/15                     continue [3] 13/11 53/23 87/23
bulk [1]  86/20
                                   clues [1] 53/10                    continued [5] 1/23 2/1 3/4 6/1
bullet [2] 7/5 7/18
                                   co [14] 17/15 50/1 50/5 50/7        13/14
Bunker [1] 65/25
                                    50/11 50/12 50/18 51/6 51/9 51/11 contracts [1] 82/4
business [7] 32/20 77/4 80/2
                                    51/12 51/14 51/17 51/18           control [1] 22/23
 85/15 85/16 85/17 88/2
                                   co-conspirator [12] 50/1 50/5      controversial [1] 49/24
buy [4] 16/2 77/25 78/2 90/20
                                    50/7 50/11 50/12 50/18 51/6 51/9 conviction [1] 98/21
buyer [6] 36/18 36/21 37/16 37/18
                                    51/12 51/14 51/17 51/18           convinced [2] 51/4 53/19
 37/19 37/20
                                   co-conspirators [1] 51/11          cool [1] 6/25
buying [1] 78/8
                                   co-op [1] 17/15                    cooperate [1] 16/4
bytes [1] 65/15
                                   code [3] 77/10 92/14 92/15         cooperation [6] 16/3 77/14 79/7
C                                  codes [1] 25/5                      81/8 84/25 89/1
                                   coding [1] 17/25                   copies [4] 14/7 26/2 62/23 95/16
C/C [1] 16/9                       collected [1] 69/14                copy [5] 16/20 61/14 64/24 66/11
call [1] 50/20                     COLUMBIA [1] 1/1                    74/4
called [8] 6/6 10/7 21/13 29/19    column [20] 10/24 10/24 11/1 11/2 core [1] 42/6
 41/11 61/8 63/16 64/16             35/20 35/21 35/23 35/25 36/3 36/4 corner [1] 68/7
calls [1] 18/1                      36/5 36/7 36/7 36/8 36/10 36/16   correct [3] 54/24 72/15 100/4
can [75] 5/5 5/11 5/23 6/6 12/19    36/20 37/3 70/19 73/16            corrected [1] 48/2
 16/4 16/5 17/20 20/16 21/10 21/11
                                   combine [1] 78/6                   correctly [1] 80/3
 25/5 27/2 27/4 27/7 28/16 29/8
                                   come [11] 15/25 18/2 41/23 49/19 correspond [1] 39/23
 30/17 33/22 34/24 37/5 37/5 37/7
                                    50/3 63/22 64/10 80/1 82/1 82/14 correspondence [5] 20/25 27/15
 37/18 41/5 41/13 41/23 42/1 43/20 97/18                               27/19 27/21 27/23
 46/22 47/12 47/13 49/7 52/24
                                   comes [3] 47/6 55/7 59/18          cost [2] 27/11 59/18
 52/25 53/10 53/22 54/8 54/22
                                   coming [4] 50/5 52/7 55/5 55/6     costs [1] 18/19
 54/23 55/4 55/9 55/19 56/2 56/2
                                   common [1] 89/22                   could [107]
 60/25 61/6 66/2 68/10 69/13 70/21
                                   communicate [1] 90/20              counsel [4] 4/7 4/8 4/10 4/15
 72/5 73/18 73/19 74/11 74/21
                                   communication [1] 44/3             counting [1] 18/21
 76/15 76/24 77/21 78/7 79/5 79/22
                                   companies [1] 9/15                 country [1] 10/11
 80/13 80/17 81/21 81/24 85/19
                                   company [18] 9/11 24/19 25/6 31/2 county [1] 79/25
 86/7 89/8 89/21 90/11 92/23 95/1
                                    36/14 39/21 39/22 41/11 61/8 62/2 couple [4] 15/16 17/23 24/4 96/5
 97/24 98/4
                                    62/3 63/16 84/2 84/20 85/13 85/15 course [6] 15/15 15/23 18/22 41/6
can't [1]  10/8                     85/17 86/9                         81/23 89/22
cannot [1] 79/15                   comparison [1] 98/25               court [17] 1/1 2/6 2/7 4/14 4/22
capture [2] 17/25 45/14            complete [1] 77/9                   4/25 5/3 5/4 34/1 51/13 51/15
cards [1] 19/15                    completed [2] 76/24 78/17           51/17 51/18 53/10 53/11 100/3
care [1]  8/10
                                   completely [2] 47/1 82/3            100/13
caret [1] 87/11
                                   compliant [1] 82/3                 Court's [1] 46/7
case [14] 4/2 4/5 15/20 16/13
                                   comply [2] 93/4 93/5               Courts [1] 2/7
 31/18 42/7 44/4 44/17 48/14 49/17
                                   Complying [1] 41/2                 cover [1] 18/18
 63/23 94/5 97/19 97/21
                                   computer [1] 82/14                 covered [1] 15/19
cash [2] 7/22 7/22                 concern [4] 33/3 33/9 49/21 88/20 Craigslist [1] 90/18
casinos [1] 19/13                  conclude [1] 47/6                  create [3] 35/21 54/8 85/16
CATHERINE [1] 1/13                 concluded [1] 76/20                created [5] 65/12 65/13 92/9
Ccips [1] 1/19                     conclusion [1] 53/17                92/10 92/21
C                                   depends [1] 98/19                  DOJ [2] 1/16 1/19
    Case 1:21-cr-00399-RDM
credentials [1] 80/19
                                     Document
                                    deposit  [5] 280    Filed84/18
                                                 23/10 83/14  03/16/24DOJ-CRM
                                                                            Page
                                                                               [1] 105
                                                                                    1/19of 115
                                     85/9 85/9                         DOJ-USAO [1] 1/16
credit [1] 19/15
                                    deposited [3] 77/7 84/21 86/20     dollars [1] 15/17
crime [2] 10/5 10/12
                                    depositing [1] 77/11               domain [17] 25/5 25/15 27/9 27/10
criminal [5] 1/3 4/2 4/5 10/4
                                    depositing/withdrawing [1] 77/11    40/24 41/3 41/4 62/11 62/12 62/13
 10/6
                                    deposits [1] 59/20                  66/6 67/14 67/17 67/19 67/20
criminals [1] 93/7
                                    Dept [1] 1/20                       67/25 69/10
critical [1] 19/16
                                    describe [1] 77/5                  domains [3] 67/17 67/20 67/25
CRM [1] 1/19
                                    describing [1] 48/20               don't [32] 8/10 23/19 33/8 41/21
cryptocurrency [8] 69/19 70/25
                                    description [1] 40/13               45/2 51/9 51/14 52/13 52/19 52/20
 72/10 73/24 74/25 81/7 82/8 93/3
                                    designated [1] 76/20                52/22 53/7 53/20 54/17 55/14 56/8
Cs [2] 97/10 97/11
                                    destination [2] 57/18 88/24         63/22 63/23 63/24 78/19 79/16
CSS [1] 16/11
                                    detail [4] 58/19 77/5 77/24 78/9    81/22 81/24 82/8 82/12 82/13
currency [2] 7/3 7/10
                                    details [5] 13/13 40/18 40/23       87/19 95/19 97/17 97/18 97/20
currently [1] 59/7
                                     44/4 78/16                         97/21
custody [1] 93/12
                                    detected [1] 24/6                  done [7] 17/24 23/24 79/17 79/18
customer [7] 22/21 22/22 26/22
                                    developer [1] 16/9                  82/12 82/16 88/3
 26/23 26/25 76/23 86/8
                                    development [3] 13/14 17/22 18/19 doubt [1] 82/4
cut [1] 56/1
                                    devices [3] 7/8 65/24 65/24        down [48] 8/9 9/23 12/6 13/17
cyber [1] 93/7
                                    did [47] 5/1 13/20 13/22 19/18      14/19 17/17 20/6 22/2 24/10 24/20
D                                    19/20 24/4 27/24 28/1 37/24 38/1   25/3 25/7 28/18 29/5 39/14 43/25
                                     41/7 41/9 42/12 44/18 44/20 45/10 51/18 56/7 57/6 57/9 57/18 58/10
dangerzone.info [1] 67/23            45/12 61/7 64/15 66/3 66/4 69/15   62/14 65/23 67/3 67/24 75/23 76/1
dangerzone.today [8] 44/19 62/13     69/17 70/22 70/23 72/6 72/8 73/21 77/16 78/21 80/4 80/13 80/24
 67/1 67/22 73/15 74/20 94/20        74/21 74/23 82/9 82/10 85/12       81/11 82/17 83/19 84/9 85/2 86/14
 94/25                               90/11 90/16 90/22 92/24 93/1 93/4 86/25 87/7 87/10 87/10 88/10 89/3
darknet [1] 28/4                     93/5 93/5 93/8 93/10 93/11 93/15   89/13 90/7 92/8
data [3] 23/16 29/17 65/14           95/2 95/4                         draw [3] 34/6 35/4 53/17
database [1] 94/3
                                    didn't [1] 82/22                   driver's [1] 72/1
date [40] 8/3 8/12 9/17 11/18
                                    difference [1] 50/23               drop [1] 88/10
 11/19 11/23 12/7 14/22 14/23
                                    different [8] 30/24 33/2 33/2      dropping [1] 86/25
 17/12 19/6 19/25 20/20 21/13        35/1 63/18 87/21 90/3 96/22       drugs [1] 8/7
 21/14 21/21 22/12 22/25 23/5
                                    difficult [2] 15/8 15/10           due [2] 24/5 25/15
 24/11 24/21 25/8 26/13 28/8 39/12
                                    direct [27] 3/4 6/1 6/13 8/1 8/11 during [4] 33/11 34/11 41/6 54/18
 44/21 46/18 55/22 57/2 58/3 58/17 9/4 11/17 16/15 17/16 25/18 36/25
 59/2 59/11 60/15 65/13 76/11
                                     38/2 45/1 46/14 59/1 61/6 61/10   E
 77/19 90/4 90/8 92/9
                                     61/25 62/18 64/18 71/17 72/11     e's [1] 93/10
dated [3] 46/15 46/19 100/10         73/7 73/19 75/18 93/18 95/7       each [3] 23/21 54/9 90/19
dates [1] 79/22
                                    directed [3] 26/18 26/19 57/4      earlier [2] 53/25 54/5
day [8] 11/25 12/12 23/21 79/17
                                    directing [42] 6/11 8/14 8/19      early [2] 78/10 79/5
 82/11 90/19 98/24 100/10            9/22 10/13 11/14 13/23 19/2 19/24 Earning [1] 10/10
days [1] 24/4                        20/17 21/18 22/11 23/4 26/13      easier [1] 7/22
DC [5] 1/5 1/14 1/17 1/21 2/9        27/13 27/17 28/6 35/10 35/15 39/8 easy [2] 33/4 83/24
deal [3] 13/1 19/15 49/12            40/5 40/16 42/15 43/24 56/7 57/25 eat [1] 7/23
dealing [2] 88/6 89/9                59/10 59/22 66/8 68/2 68/11 69/20 echo [3] 20/19 40/16 61/10
Dear [10] 26/23 26/25 76/17 78/25 71/1 71/24 75/1 82/25 84/10 90/24
                                                                       economic [1] 78/4
 80/8 81/3 83/13 84/15 86/19 88/14
                                     91/23 94/15 94/21 96/15           economy [1] 25/17
December [8] 19/7 20/2 28/9 37/4
                                    directly [2] 15/17 28/25           effect [2] 48/18 51/25
 37/21 39/13 49/15 59/3
                                    disappointed [1] 89/17             efforts [1] 48/20
December 13th [1] 20/2              discover [1] 41/7                  either [6] 15/11 45/23 49/25
December 17th [1] 19/7              discuss [2] 63/23 97/19             52/20 79/21 80/3
December 1st [2] 37/4 39/13         discussed [1] 46/3                 EKELAND [6] 2/2 2/3 4/13 33/5
December 31st [2] 49/15 59/3        discussing [2] 15/6 15/14           33/16 54/11
December 3rd [1] 28/9
                                    discussion [1] 48/9                elaborate [4] 83/14 87/4 87/24
decentralized [1] 20/5
                                    displayed [1] 55/15                 88/25
decided [2] 15/7 87/25
                                    DISTRICT [4] 1/1 1/1 1/10 2/7      electric [2] 5/2 5/4
deciding [1] 47/14
                                    do [119]                           electronically [1] 70/2
decision [2] 5/8 99/1
                                    document [15] 39/9 43/1 46/1       else [5] 5/12 5/15 18/20 51/16
decisions [1] 78/11                  56/25 60/15 60/17 60/23 60/25      78/12
dedicated [1] 53/13                  62/1 67/6 67/13 68/3 71/22 81/4   email [75] 10/15 11/1 11/6 11/7
defendant [14]  1/7 2/2 4/14  6/7    90/6                               11/9 13/11 13/11 13/21 14/6 14/21
 17/20 41/7 42/13 44/16 44/18
                                    documentation [8] 79/2 79/5 80/8    14/22 14/23 14/25 15/2 15/3 15/3
 50/10 68/4 73/11 84/7 94/17         84/21 84/22 88/15 88/18 88/21      15/4 16/18 17/8 17/10 17/12 17/14
defendant's [2] 60/2 92/13
                                    documents [9] 77/13 78/19 79/16     18/8 19/3 19/4 19/6 21/24 21/25
defense [4]  5/14 32/21 32/23  64/5
                                     79/25 81/23 86/11 89/19 89/21      26/21 27/15 27/23 31/17 35/1 35/2
deferring [1] 5/8                    89/23                              37/20 39/10 44/18 54/1 56/12
defunct [1] 85/25
                                    does [63] 8/21 8/22 11/23 12/24     56/14 57/1 57/2 57/4 57/6 57/9
delay [1] 15/6                       13/17 14/21 16/20 18/21 20/24      58/2 58/3 58/5 58/7 58/10 58/11
delays [6]  23/21 50/21 53/2  56/3   22/3 22/25 35/13 39/23 39/25 40/6 60/2 60/18 62/8 65/21 66/25 68/13
 56/5 59/17                          40/17 40/22 41/3 42/8 44/11 44/22 68/15 69/9 70/18 74/19 75/24
delete [2] 82/22 82/23               47/24 47/25 48/10 48/17 49/22      76/19 80/10 81/5 81/16 83/2 83/4
deliberations [3] 33/11 33/21        55/24 57/6 57/18 57/22 57/23       83/6 84/23 92/6 92/18 92/19 94/19
 55/4
                                     57/25 58/7 58/9 58/11 58/19 60/4   94/23
delivered [2] 58/23 60/19            60/6 60/23 67/3 68/15 70/4 70/6   emailing [1] 10/15
delivering [1] 25/2                  71/18 73/10 76/13 76/14 77/21     emails [13] 14/5 14/7 25/19 32/12
delivery [6] 57/15 57/17 57/19       79/19 79/21 81/14 83/22 84/6       32/17 54/15 56/11 56/13 68/16
 58/16 58/17 58/20
                                     84/14 84/22 85/16 86/4 88/19 89/6 73/13 73/13 82/22 82/23
Delphi [1] 17/23                     89/16 90/16 91/24 92/11           emoji [4] 7/25 9/3 17/19 18/3
delta [3] 40/5 62/19 63/13          doesn't [5] 31/4 31/5 51/12 52/16 employee [3] 76/14 78/23 83/11
deniable [1] 9/2                     57/23                             employees [1] 76/8
department [3] 1/13 26/19 76/18     doing [3] 77/23 82/3 98/25         encrypts [1] 29/16
E                                   Exhibit 805 [1] 10/18                  fiat [1] 30/1
    Case 1:21-cr-00399-RDM Exhibit
end [12] 7/19 9/13 10/5 20/8 20/9
                                     Document       280 13/23
                                              807 [2]       Filed
                                                                18/403/16/24
                                                                           fieldPage   106 of 115
                                                                                  [1] 40/24
                                    Exhibit 808 [1] 18/7                   figure [1] 33/13
 20/11 34/9 42/10 54/20 86/25 87/2
                                    Exhibit 809 [1] 19/2                   filling [1] 78/14
 87/15
                                    Exhibit 811 [2] 27/13 27/14            finally [2] 25/14 59/16
enforce [1] 93/6
                                    Exhibit 812 [2] 27/17 27/18            financial [12] 9/20 29/18 29/21
enforcement [1] 13/20
                                    Exhibit 813 [2] 27/20 27/20             69/14 69/18 70/24 72/9 73/23
engage [1] 13/14
                                    Exhibit 814 [2] 27/22 27/22             74/24 90/14 93/2 95/5
English [4] 57/7 57/10 58/13
                                    Exhibit 843 [2] 68/12 69/1             FinCEN [3] 9/14 9/19 9/20
 96/10
                                    Exhibit 861 [1] 16/25                  find [6] 13/14 21/14 61/7 76/9
enough [4] 8/8 41/24 53/17 88/2
                                    Exhibit 873 [1] 68/23                   90/2 90/19
enskild [1] 85/14
                                    Exhibit 892 [3] 59/22 59/24 60/11 finding [2] 51/15 51/19
entire [3] 45/5 46/2 46/4
                                    Exhibit 912 [1] 56/8                   fine [7] 5/7 5/8 29/7 31/2 51/24
entirely [1] 85/12
                                    Exhibit 914 [1] 57/25                   52/4 55/18
entitled [1] 100/5
                                    Exhibit, [1] 42/25                     finely [1] 15/19
entries [8] 31/3 31/4 31/6 33/2
                                    Exhibit, 522 [1] 42/25                 finger [1] 37/11
 54/9 62/10 65/24 67/17
                                    exhibits [71] 3/6 3/7 3/8 3/8 3/9 firma [1] 85/14
entry [1] 11/2
                                     3/10 3/11 3/14 3/14 3/15 3/15         first [26] 6/22 6/23 6/24 8/16
equivalent [1] 30/1
                                     3/16 3/16 3/17 14/4 14/12 14/15        14/21 16/2 17/18 19/1 19/10 22/18
error [2] 85/6 85/11
                                     18/5 26/9 30/4 30/4 32/15 33/6         25/12 30/5 37/2 43/4 50/6 56/24
escrow [2] 90/22 90/23
                                     33/8 33/10 33/13 33/17 33/20           59/15 62/1 66/22 67/17 67/19 68/6
especially [1] 19/13
                                     34/22 34/24 34/25 38/2 38/5 38/8       78/21 79/12 84/10 86/17
establish [1] 88/22
                                     42/20 42/22 43/9 43/13 54/10          fishing [1] 82/6
established [1] 47/24
                                     56/10 56/20 62/20 63/2 63/18 71/1 five [3] 27/10 77/7 78/11
estimated [1] 77/10
                                     71/4 71/13 72/11 72/13 72/17          fixed [1] 22/9
estimating [1] 12/25
                                     72/23 72/25 73/4 75/1 75/4 75/11 flip [4] 23/3 35/15 80/20 91/17
et [1] 18/1
                                     75/14 90/24 91/5 91/19 94/1 94/8 flipping [3] 35/23 83/9 92/11
Euro [1] 27/12
                                     94/11 95/8 95/11 95/20 95/24          Floor [1] 2/4
Europe [2] 57/20 58/21
                                     96/15 96/22 96/25 97/3                fly [1] 33/4
Euros [2] 88/7 89/10
                                    exist [4] 79/19 79/21 81/22 86/4 Fog [25] 11/24 11/25 16/14 19/1
even [17]  7/3  7/8 8/10 16/5 18/18
                                    expand [1] 13/15                        23/1 23/2 27/24 28/4 29/1 29/7
 28/16 50/6 50/10 51/5 51/14 78/16
                                    expected [1] 59/21                      37/21 40/9 45/4 47/18 47/19 48/9
 79/19 79/23 80/18 88/4 90/1 97/19
                                    experience [2] 16/11 59/7               49/17 50/2 51/12 52/17 52/19
events [1] 48/21
                                    experimented [1] 87/21                  52/21 53/13 53/18 53/21
every [1]  23/21
                                    experimenting [1] 82/10                following [7] 26/24 44/2 44/3
everything [3] 18/21 82/14 85/22
                                    expert [1] 31/20                        44/4 62/15 77/2 77/16
evidence [8] 6/12 31/20 32/16
                                    explain [5] 27/7 43/21 54/23 55/6 follows [1] 44/7
 32/22 41/17 55/8 61/7 64/15
                                     55/8                                  forced [1] 90/2
evoking [1] 51/2
                                    explaining [1] 52/8                    foregoing [1] 100/4
exactly [1] 23/22
                                    extent [4] 47/5 47/21 52/7 56/2        foreign [2] 57/7 57/8
examination [2] 3/4 6/1
                                    external [1] 24/19                     forfeiture [2] 4/17 98/21
example [1] 79/6
                                    extra [1] 25/15                        forget [2] 7/2 83/24
Excel [2]  30/5  32/14
                                    eye [1] 29/1                           forgot [1] 83/23
exception [4] 50/17 52/3 53/12
                                                                           form [3] 31/8 32/20 85/15
 72/24                              F                                      format [3] 21/23 56/24 60/17
exceptions [1] 45/24
                                    face  [1]    25/17                     forum [1] 6/8
exchange [18] 13/6 69/19 70/25
                                    fact  [11]    28/22 31/3 31/5 31/6     forward [11] 54/14 77/14 79/8
 72/10 73/24 74/25 77/8 78/13
                                     32/8 33/1 34/6 35/5 48/14 49/2         80/11 81/8 83/9 83/17 85/1 87/5
 80/18 82/9 85/13 85/25 85/25
                                     49/5                                   89/1 98/3
 86/10 89/22 90/15 90/17 93/3
                                    facts  [1]    51/15                    found [3] 56/4 83/25 90/1
exchanges [2] 79/7 89/25
                                    failure [1] 59/8                       foundational [1] 29/12
excited [1] 13/6
                                    fair [15] 14/7 16/20 26/2 41/24        Four [2] 77/6 78/10
exciting [1] 82/11
                                     41/25 42/2 45/15 61/14 62/23          fourth [1] 7/19
excuse [4] 6/19 20/9 30/7 36/8
                                     64/24 66/11 68/15 72/20 74/4          frames [1] 47/18
execute [2] 78/2 90/21
                                     95/15                                 framing [1] 55/13
executing [1] 78/15
                                    fairly [11] 34/17 38/8 43/9 56/13 frankly [1] 50/23
exemption [1] 48/3
                                     60/4 70/4 71/7 75/7 91/11 94/4        Franky [1] 9/11
exemptions [1] 45/24
                                     95/15                                 free [2] 79/9 81/9
exhibit [125]
                                    faking   [1]   17/25                   freelancing [1] 77/23
Exhibit 13 [2] 6/11 19/24
                                    fall [1] 52/3                          freenet [1] 25/14
Exhibit 15 [1] 11/14
                                    falls [1] 48/3                         frequent [1] 56/5
Exhibit 217D [1] 40/5
                                    familiar   [2]   29/18 63/16           fresh [1] 33/15
Exhibit 411G [1] 94/21
                                    far  [1]   89/18                       Friday [5] 98/17 99/2 99/5 99/8
Exhibit 412 [2] 69/21 70/11
                                    fashion [1] 54/6                        99/10
Exhibit 413F [1] 71/18
                                    FBI [2] 93/14 94/5                     friends [1] 16/11
Exhibit 414C [2] 80/24 84/10
                                    February [10] 1/5 21/22 22/13          front [1] 55/2
Exhibit 414I [1] 82/25
                                     23/6 24/12 24/22 25/9 83/15 92/22 full [15] 8/5 8/16 17/18 19/8
Exhibit 415 [2] 73/25 74/8
                                     100/10                                 19/10 23/13 24/25 28/13 28/19
Exhibit 416 [1] 73/8
                                    February 12 [1] 83/15                   45/3 45/10 45/15 59/15 76/15
Exhibit 419A [1] 92/11
                                    February   13th  [1]   21/22            77/21
Exhibit 441A [1] 35/16
                                    February   16th  [1]   24/22           fully [3] 23/20 85/18 88/22
Exhibit 441B [1] 35/10
                                    February 19th [1] 23/6                 function [1] 18/1
Exhibit 502E [1] 20/18
                                    February 21st [1] 22/13                functionality [1] 90/1
Exhibit 508 [2] 46/14 46/18
                                    February   26  [2]   25/9 92/22        funds [10] 23/23 24/7 76/20 82/3
Exhibit 511A [1] 62/18
                                    February   9th  [1]   24/12             82/9 85/9 85/13 86/1 86/7 86/13
Exhibit 511E [2] 61/11 61/21
                                    fee [1] 20/14                          further [20] 13/17 18/8 19/3 22/8
Exhibit 513B [2] 64/18 64/22
                                    feel [2] 79/9 81/9                      28/18 37/5 48/20 48/20 55/15 56/4
Exhibit 521A [1] 66/15
                                    feels  [1]    6/25                      58/23 63/10 65/23 67/24 75/23
Exhibit 522 [1] 42/15
                                    fees  [2]    7/11 7/22                  76/2 76/18 79/19 90/7 92/8
Exhibit 522A [2] 43/3 43/25
                                    fellow [1] 97/19                       furtherance [1] 50/2
Exhibit 53 [6] 45/13 45/19 46/9
                                    few [6] 17/17 50/22 53/3 56/3          future [6] 16/6 56/6 76/24 77/8
 54/24 54/25 59/1
                                     80/16 96/4                             78/1 78/13
F                                   54/15                             history [1] 85/24
    Case55/17
FYI [3]
         1:21-cr-00399-RDM
              55/24 55/25
                                    Document
                                   guess        280 19/16
                                          [7] 15/21    Filed  03/16/24
                                                           48/10 49/6 hold Page   107 of 115
                                                                            [1] 82/6
                                    49/21 50/13 98/18                 holding [1] 86/7
G                                  gulf [5] 30/9 30/15 34/22 71/24    honestly [3] 81/24 82/4 88/1
                                    94/22                             Honor [62] 4/9 4/13 4/19 5/14
gas [1] 7/1                        guns [2] 8/7 8/10                   5/16 5/19 14/14 18/11 19/21 29/11
gate [7] 27/25 28/2 28/3 28/15     guys [1] 78/12                      30/16 30/21 31/10 31/14 31/24
 28/25 29/4 37/22                                                      32/8 32/19 33/22 33/25 41/13
gate.BitcoinFog.com [2] 28/17      H                                   41/16 41/25 42/3 45/22 46/11
 41/4
                                   hack [1] 23/23                      46/22 47/10 47/16 48/7 48/16
gathered [1] 89/19                                                     48/22 49/11 50/6 51/7 51/23 52/9
                                   had [6] 31/15 32/13 32/19 34/11
gathering [2] 88/8 89/11                                               52/10 52/18 53/9 54/7 54/13 54/25
                                    37/8 73/11
gave [1] 85/20                                                         55/12 55/17 56/19 64/4 64/5 67/6
                                   half [4] 57/24 58/10 58/11 58/24
general [1] 19/12                                                      67/8 68/25 91/18 91/18 93/23 96/5
                                   halfway [1] 87/10
generate [1] 15/11                                                     97/6 97/9 97/12 97/15 97/16 98/7
                                   hall [1] 97/22
generated [1] 27/1                                                     98/11 99/3
                                   hand [1] 68/7
geographic [3] 40/1 44/15 75/21                                       HONORABLE [1] 1/9
                                   handy [1] 18/2
Geotrust [1] 40/15                                                    hope [1] 16/12
                                   happen [2] 23/18 24/4
get [11] 5/13 7/13 9/15 13/12
                                   happened [1] 23/22                 hopefully [1] 78/15
 17/19 25/5 32/15 64/9 79/17 81/21
                                   happening [2] 23/19 23/21          hoping [1] 99/1
 89/23
                                   happens [1] 24/1                   hoster [1] 25/2
getting [5] 17/21 20/14 24/6 59/9
                                   happy [4] 13/7 13/13 52/24 89/7    hosting [9] 20/17 20/25 21/20
 63/17
                                   hardware [1] 59/7                   24/18 25/2 27/9 44/23 62/3 66/6
gigabytes [1] 65/16                                                   hosting.com [1] 25/16
                                   has [34] 4/25 5/18 6/11 9/20
give [5] 6/16 22/8 25/5 53/22                                         hotel [2] 71/2 93/21
                                    10/18 11/15 13/24 16/16 19/24
 57/22
                                    21/12 23/3 26/25 28/6 31/15 32/13 hotmail.com [9] 10/14 11/7 14/25
given [2] 46/4 86/9
                                    32/23 33/2 33/16 45/1 47/23 49/12 25/25 26/20 31/19 34/2 37/20
gives [1] 44/17                                                        39/19
                                    49/14 49/17 51/13 52/1 53/14
globe [1] 7/24
                                    53/20 56/8 59/23 68/11 93/12 98/2 hour [2] 88/7 89/10
gmail [1] 11/11
                                    98/8 99/8                         hours [6] 23/12 50/22 53/3 56/3
gmail.com [19] 10/16 11/3 13/12                                        88/5 89/9
                                   HASSARD [2] 2/2 4/15
 13/21 14/6 14/9 15/3 16/19 16/22
                                   have [122]                         how [34] 8/24 9/8 10/1 11/23 13/3
 17/11 31/16 32/10 34/2 62/8 68/14                                     13/17 15/10 15/10 15/24 22/25
                                   haven't [2] 82/11 88/3
 68/17 69/9 75/25 94/25                                                31/9 36/10 37/6 44/8 48/6 48/13
                                   having [4] 15/12 28/5 32/3 49/22
go [9] 4/24 12/25 14/20 24/8                                           48/19 52/18 65/14 65/14 77/6
                                   he [18] 6/10 7/5 13/17 13/19
 33/10 33/20 54/10 57/12 85/21
                                    19/20 22/8 41/19 42/8 44/17 47/25 77/21 78/2 78/9 81/14 81/21 83/22
God [1] 79/20                                                          83/24 86/10 90/16 90/16 98/19
                                    50/20 50/21 67/8 81/14 82/20
goes [2] 33/15 54/5                                                    98/25 99/9
                                    83/22 89/6 89/16
going [24] 5/13 15/24 18/15 19/8
                                   heading [12] 10/24 11/1 26/21      however [4] 7/9 15/7 18/23 79/15
 19/11 24/8 28/20 28/21 28/24 33/4
                                    36/3 36/4 36/5 36/8 36/17 44/1    HQ [1] 73/15
 35/19 51/17 53/22 54/14 59/1
                                    57/13 57/14 58/15                 HTML [1] 16/11
 72/11 78/13 85/13 86/10 88/7
                                   headings [1] 36/3                  HTML/CSS [1] 16/11
 89/10 96/2 98/3 98/20
                                   hear [2] 16/13 97/21               https: [1] 28/17
good [16] 4/9 4/13 6/3 6/4 7/9
                                   hearing [5] 48/19 79/8 80/12 81/8 https://gate.BitcoinFog.com [1]
 13/15 25/16 28/15 30/2 54/18                                          28/17
                                    83/18
 63/20 77/25 78/7 96/2 96/6 97/16
                                   hearsay [11] 45/21 45/23 45/23     huge [3] 9/12 9/14 50/23
goods [5] 29/24 36/15 36/21 40/13
                                    45/25 46/4 46/5 47/1 48/23 49/20 hundred [1] 15/17
 78/8
                                    50/17 53/12                       hypothetical [1] 15/20
Google [3] 16/21 68/14 68/16
                                   heavydist [13] 16/19 16/22 17/11
got [4] 7/24 25/1 49/4 79/24
                                    31/16 32/10 33/19 34/2 62/8 68/14 I
Gothenburg [2] 71/23 75/22
                                    68/17 69/9 75/25 94/25            I'd [16] 13/6 13/13 13/15 23/3
GothenCoin [3] 92/1 92/4 92/7
                                   Hedgedwallet.com [1] 67/22          30/3 36/25 43/20 45/1 46/14 59/1
government [81] 3/7 3/7 3/8 3/8
                                   held [3] 30/19 41/15 46/23          61/10 61/25 73/7 73/18 93/18 95/7
 3/9 3/9 3/10 3/10 3/11 3/11 3/12
                                   hello [5] 15/5 18/16 18/17 21/9    I'm [24] 6/14 11/13 15/5 30/8
 3/12 3/13 3/13 3/14 3/14 3/15
                                    21/10                              37/2 38/14 38/18 39/17 40/20 43/4
 3/15 3/16 3/16 3/17 4/8 4/10 5/15
                                   help [4] 16/5 21/14 76/21 89/8      50/15 53/3 55/14 57/12 59/8 64/20
 10/23 14/11 16/24 16/25 26/5 31/2
                                   helpful [1] 54/16                   69/3 81/17 81/21 91/9 93/20 93/21
 31/15 31/18 32/1 32/9 32/13 33/7
                                   Henderson [1] 94/17                 96/17 96/22
 34/16 34/21 35/3 35/7 38/6 38/11
                                   here [71] 5/5 8/25 9/25 10/25      ID [3] 22/1 35/25 85/16
 43/13 45/18 45/19 49/12 49/14
                                    12/14 13/25 15/4 16/15 21/3 21/7 idea [1] 54/18
 49/17 52/12 52/25 54/4 54/14
                                    21/12 22/15 27/6 27/8 28/12 31/22 ideas [3] 13/15 16/5 16/7
 56/16 56/17 60/7 61/17 63/1 65/2
                                    32/22 33/3 34/5 35/6 35/11 35/24 identifier [1] 52/14
 65/3 66/14 68/19 70/7 71/5 71/8
                                    36/3 37/3 37/10 37/12 37/13 37/18 identifiers [4] 30/25 31/12 32/7
 71/10 72/18 72/23 74/2 74/5 74/7
                                    40/2 40/14 41/17 42/3 42/5 44/16   33/2
 75/6 75/10 75/11 91/6 91/14 93/10
                                    44/18 44/20 46/20 47/10 47/16     identify [1] 44/11
 93/12 94/7 95/19 97/3 98/10
                                    47/19 47/21 48/23 50/7 51/3 51/4 identifying [1] 52/14
government's [2] 51/10 94/2
                                    51/14 53/12 53/24 61/5 62/16      identity [2] 13/10 86/11
governs [1] 81/19
                                    63/15 67/25 70/16 74/16 75/19     ignoring [1] 49/1
Gox [14] 54/8 80/11 80/17 80/17
                                    80/16 81/25 82/12 83/22 84/4      illegal [3] 8/8 19/14 88/3
 80/23 81/6 81/17 81/22 82/22 83/7
                                    84/14 85/22 89/6 89/16 90/4 90/6 image [1] 79/3
 85/25 86/2 86/3 86/4
                                    90/7 94/16 97/22 97/25 98/22      imagine [1] 49/7
granted [1] 73/3
                                   hey [2] 13/5 52/21                 implement [1] 16/5
grateful [1] 90/2
                                   hidden [3] 28/3 28/24 29/6         implied [1] 32/5
gravytrain.top [3]  65/22 67/22
                                   high [5] 20/17 20/25 21/20 76/25 imply [1] 31/5
 70/20
                                    78/3                              important [5] 57/14 57/15 58/14
great [2] 7/9 7/10
                                   higher [1] 20/14                    58/16 78/9
greater [2] 87/12 87/24
                                   Highhosting.net [1] 20/23          impossible [1] 82/10
Greece [2]  40/4 40/10
                                   highly [2] 31/14 32/17             improper [2] 32/11 49/20
grin [2] 92/14 92/15
                                   him [2] 4/4 42/6                   inadvertently [1] 97/21
grounds [1] 17/2
                                   his [13] 5/1 5/6 17/10 39/19       inappropriate [1] 42/6
grouped [2] 31/4 34/6
                                    41/18 42/1 57/5 68/9 69/9 80/23   inclined [1] 33/9
grouping [5] 31/25 32/5 34/5 54/1
                                    88/13 90/10 94/18                 include [1] 8/21
I                                  is the [1] 52/7                          98/18
    Case 1:21-cr-00399-RDM is/was
included [1] 36/19
                                    Document       280 Filed 03/16/24knowledge
                                            [1] 81/18                           Page[1]10842/1
                                                                                            of 115
                                   issue [10] 31/18 31/22 31/24 32/2 knows [1] 4/25
includes [1] 13/13
                                    32/9 32/10 42/7 48/1 49/17 51/21 Kosem [5] 83/11 84/13 84/14 86/16
income [1] 18/22
                                   issued [1] 39/21                         88/12
incoming527409381 [1] 70/20
                                   issues [3] 48/21 51/21 59/17            Kraken [6] 72/7 72/9 72/10 72/19
Incoming640294774 [1] 65/22
                                   it [221]                                 72/21 73/12
inconvenience [4] 53/3 56/4 59/8
                                   it's [4] 23/11 77/25 78/3 82/9          Kunnikov [2] 15/1 22/5
 59/18
                                   IT-related [1] 77/23                    KYC [3] 76/23 77/2 93/6
incorrect [1] 21/11
                                   its [5] 7/15 37/22 83/15 86/1
indeed [1] 24/4                                                            L
                                    88/4
independent [1] 16/10
                                   itself [6] 28/20 28/22 28/23 53/1 lack [2] 19/12 55/5
India [2] 72/12 82/25
                                    53/11 67/7                             language [14] 8/21 8/23 8/24 9/24
indicate [1] 76/13
                                                                            10/1 23/9 55/13 55/20 55/20 57/7
indicated [16] 63/14 66/23 66/25 J
                                                                            57/8 58/8 58/11 96/10
 67/13 67/17 67/21 67/25 69/11
 70/16 70/18 71/21 74/17 74/19     jack [1] 19/11                          languages [1] 17/24
 75/19 94/16 94/24                 January [2] 8/4 59/12                   large [2] 79/20 85/24
                                   January 13th [1] 59/12                  last [7] 19/8 20/11 38/15 78/17
indicating [1] 88/16
                                   January   31st   [1]  8/4                88/24 90/8 90/10
indication [2] 85/20 90/8
                                   Java [1] 16/10                          Lastly [1] 79/4
indicator [1] 29/1
                                   JavaScript [1] 17/23                    late [1] 79/24
individuals [2] 90/19 90/19
                                   JEFFREY [2] 1/18 4/11                   later [3] 12/12 79/16 85/23
infer [1] 34/2
                                   Joe  [1]   19/17                        launch [4] 11/24 11/25 23/1 23/2
inference [2] 34/6 35/5
                                   joining [1] 4/15                        launched [1] 28/15
info [7] 44/19 66/23 67/1 73/15
 74/20 94/20 94/25                 JS [1] 16/11                            launder [1] 10/8
                                   JUDGE [1] 1/10                          laundering [7] 9/2 9/21 10/4 10/5
information [35] 9/21 28/21 35/4
                                   Juliette   [1]    80/20                  10/7 51/12 93/6
 35/7 35/21 37/17 40/1 40/8 44/10
 53/11 57/15 57/16 57/22 58/7      July [1] 76/12                          law [4] 2/3 13/20 50/14 81/19
                                                      76/12                lawful [1] 85/18
 58/16 58/19 58/23 62/5 62/6 65/14 July 25th [1]
 65/17 79/1 81/21 82/16 85/17      June [3] 9/18 17/13 65/13               lead [1] 42/6
                                   June  12th   [2]   17/13 65/13          leading [5] 18/11 19/21 41/19
 85/21 86/6 86/12 88/8 88/21 89/11
 89/19 91/25 92/9 92/13            June 27th [1] 9/18                       42/4 42/9
                                   juror [6] 98/2 98/3 98/8 99/4           leaks [1] 28/21
inherent [1] 7/20
                                    99/7 99/8                              learn [1] 49/3
initial [1] 84/23
                                   jurors   [4]   5/18 97/20 98/1 98/22 least [3] 18/20 50/9 52/1
input [2] 17/25 35/25
                                   jury [56] 1/9 4/20 4/20 5/21 5/22 leave [1] 96/3
inquired [1] 84/18
                                    6/6 14/16 17/5 21/5 26/10 27/5         left [2] 36/23 68/7
ins [1] 23/23
                                    27/7 31/3 32/11 32/15 33/11 33/16 left-hand [1] 68/7
installed [1]  28/24
                                    33/20 34/1 34/24 34/25 37/18 39/5 legal [25] 14/5 14/8 16/18 16/21
instead [4] 7/12 11/3 85/7 86/7
                                    41/1 43/17 46/10 47/13 50/24            25/25 26/3 34/16 34/19 38/7 42/23
institution [10] 29/19 29/21
                                    53/17 53/22 54/6 54/10 54/21            43/11 51/13 61/13 62/24 68/13
 69/18 70/24 72/9 73/23 74/24
                                    54/22 55/1 56/21 60/12 61/3 61/22 68/17 69/23 70/5 71/6 72/19 74/3
 90/14 93/2 95/5
                                    63/6 64/1 64/9 64/12 65/7 65/11         75/6 91/7 95/14 95/17
instruct [2] 34/1 34/25
                                    65/19 66/19 68/24 70/12 71/14          legit [2] 10/8 82/2
instructed [2] 50/23 76/18
                                    73/4 75/15 91/20 92/2 94/12 97/23 Leo [2] 3/3 5/24
instruction [7] 31/3 32/15 33/10
 33/15 51/24 52/5 53/22            just  [67] 12/22 13/17 14/19 15/9 less [3] 28/20 49/24 56/5
                                    15/11 15/19 17/2 17/17 18/7 18/16 let [10] 4/4 5/3 11/13 32/25 33/7
intact [1] 24/8
                                    18/24 20/11 20/15 25/4 25/7 25/12 33/7 38/17 39/17 52/24 54/17
intend [2] 77/6 77/9
                                    25/20 30/25 31/3 31/6 32/2 32/5        let's [5] 13/11 54/19 56/24 64/9
intended [1] 9/10
                                    33/3 33/25 34/3 34/4 35/1 35/19         99/9
intercepting [1] 18/1
                                    36/2 38/17 38/22 39/8 39/24 41/21 letter [1] 38/15
interest [2] 19/12 93/16
                                    42/3 42/5 47/2 48/13 48/18 49/9        letters [2] 33/12 96/18
interested [6] 12/5 12/15 15/12
                                    50/18 51/11 51/18 52/22 53/9           level [1] 59/19
 16/2 16/6 18/19
                                    53/22 55/12 55/20 58/14 58/24          levels [2] 48/22 48/24
interesting [1] 12/25
                                    61/3 62/9 66/17 68/6 68/25 73/19 Liberty [5] 7/3 7/16 21/11 21/16
internal [1] 20/25
                                    74/12 83/2 88/4 89/24 90/6 91/17        79/19
international [2] 77/1 79/4
                                    97/18 98/19 98/21 98/23 99/7           libraries [1] 16/10
internet [4] 28/4 78/5 85/23
 89/21                             JUSTICE [2] 1/13 1/20                   license [2] 9/16 72/1
                                                                           licenses [1] 9/15
internet.BScorp [1] 22/20          K                                       life [2] 15/22 78/11
interruptions [5] 48/9 48/12
 48/15 49/3 49/16                  keep [9] 13/13 18/19 24/3 29/1          light [2] 5/17 85/15
                                    79/25   80/2  80/3  81/20  82/13       like [41] 4/19 6/12 6/22 7/10 8/1
intrusive [1] 89/20
                                   keeping [1] 98/22                        8/11 10/18 11/17 13/15 15/16
invalid [10] 10/15 11/3 11/11
                                   Kellerman [1] 68/9                       16/15 17/25 23/3 25/18 28/7 30/3
 13/12 13/21 14/6 14/9 15/3 18/9
                                   kept [1] 82/16                           33/6 36/23 36/25 43/20 45/1 46/14
 19/5
                                   key  [1]   20/15                         52/13 54/15 59/1 61/6 61/10 61/25
investigation [15] 37/24 41/6
                                                                            64/18 69/13 71/17 73/7 73/18
 41/7 64/15 66/3 69/15 69/15 70/22 Killdozer [10] 6/6 6/6 6/7 6/9
                                    6/20 6/25 8/24 9/1 9/8 10/2             75/18 76/5 78/1 78/1 82/5 90/18
 72/6 73/21 74/21 90/12 92/24
                                   Killdozer's [1] 10/6                     93/18 95/7
 93/16 95/2
                                   kilograms    [2]   57/24  58/25         limiting [1] 52/5
investigative [2] 9/20 11/10
                                   kind [11] 15/14 15/20 25/2 37/6         LINDSAY [3] 2/6 100/3 100/12
invoice [18] 26/22 26/22 26/25
 27/2 27/7 39/18 39/19 39/21 39/23 50/18 52/13 82/15 90/14 90/18           line [11] 7/19 8/14 12/4 12/14
                                    93/2 95/5                               17/14 17/15 21/25 22/16 44/2
 40/7 40/8 40/9 40/11 40/12 83/25
                                   kindly   [8]   76/21  76/25  77/12 79/3  55/24 87/1
 84/7 84/16 85/6
                                    79/4 83/13 88/14 88/23                 lines [1] 26/24
invoice-invoice [1] 26/22
                                   knew [1] 85/23                          link [1] 28/25
invoiced [2] 27/8 40/14
invoices [1] 85/10                 know [27] 15/10 18/1 29/14 30/11 linked [1] 13/11
involved [1] 88/17                  30/12 31/4 31/11 31/20 32/3 32/6 liquidity [1] 82/7
IP [7] 44/5 44/5 44/5 44/6 44/6     33/7 33/7 46/5 48/17 48/18 51/15 list [3] 51/11 76/5 76/6
 44/8 44/9                          53/7 53/15 59/17 76/23 78/19           listed [7] 35/1 44/8 51/9 57/16
                                    79/16 82/8 85/12 89/24 93/12            58/17 62/16 73/16
is [609]
                                                                           listener [2] 48/18 51/25
L                                   30/12 37/17 55/15 76/10 78/18      6/4 54/1 63/20
    Case 1:21-cr-00399-RDM Document
listing [1] 54/7
                                    98/24       280 Filed 03/16/24MOSS Page       109 of 115
                                                                            [1] 1/9
                                   me [24] 4/4 4/10 4/15 5/7 5/9      mostly [1] 16/9
little [12] 12/12 13/17 19/12
                                    6/16 6/19 11/13 13/12 20/9 30/7   move [4] 20/6 25/5 42/5 88/1
 23/17 28/18 47/2 65/23 67/24
                                    36/8 38/17 39/17 52/10 81/19      movement [1] 15/13
 75/23 76/1 90/7 92/8
                                    81/22 86/5 86/10 88/7 89/8 89/11 moves [23] 14/11 16/24 26/5 34/21
living [1] 10/10
                                    89/25 90/2                         38/11 43/13 45/18 56/16 60/7
loads [1] 29/7
                                   mean [12] 15/15 22/8 22/9 33/14     61/17 63/1 65/2 66/14 68/19 70/7
LocalBitcoin [4] 90/21 91/9 91/25
                                    48/16 50/6 50/8 51/12 51/23 52/1   71/10 72/23 74/7 75/10 91/14 94/7
 92/14
                                    52/24 83/23                        95/19 97/3
LocalBitcoins [6] 90/12 90/14
                                   means [3] 11/5 79/18 85/14         moving [5] 12/6 97/8 98/19 98/23
 90/15 90/16 90/22 91/12
                                   meant [3] 7/7 7/17 69/3             99/9
location [5] 44/15 44/17 44/24
                                   meantime [1] 16/3                  Mr [2] 3/4 84/14
 44/25 75/21
                                   meet [3] 15/21 45/23 99/1          Mr. [37] 4/25 5/5 17/10 31/17
lockdown [2] 23/15 24/1
                                   meeting [1] 15/21                   31/19 31/23 33/5 33/16 38/18
lockdowns [2] 23/19 24/5
                                   megabyte [2] 62/12 62/13            41/16 41/17 41/18 41/22 42/4
log [5] 80/17 90/8 90/10 94/16
                                   members [3] 5/22 54/21 55/1         49/12 49/21 49/23 50/1 51/20
 94/17
                                   mentioned [3] 10/4 44/4 44/7        54/11 57/5 60/5 64/13 67/15 69/9
log-in [2] 94/16 94/17
                                   merchant [8] 30/1 36/9 36/11        72/1 76/7 80/14 80/22 83/2 83/6
logged [1] 47/18
                                    36/12 36/13 36/14 37/14 61/5       85/4 90/8 91/25 92/19 96/17 98/14
logging [2] 53/14 55/25
                                   merchants [1] 29/23                Mr. Brown [11] 31/23 38/18 41/16
logs [1] 49/3
                                   mere [3] 32/8 33/1 49/2             41/18 41/22 42/4 49/21 51/20
long [5] 5/7 20/6 46/1 46/8 52/16
                                   merely [1] 51/18                    64/13 96/17 98/14
longer [3] 22/23 32/20 98/22
                                   message [84] 6/13 8/1 8/19 11/17 Mr. Ekeland [3] 33/5 33/16 54/11
look [13] 13/25 20/10 28/7 36/23
                                    11/18 11/19 11/21 12/1 12/4 12/7 Mr. Sterlingov [15] 4/25 5/5
 37/16 37/20 38/17 38/22 43/20
                                    12/7 12/8 12/10 12/17 13/18 18/15 17/10 31/19 41/17 49/12 49/23
 68/6 77/14 79/8 81/8
                                    19/25 20/24 22/4 22/5 22/7 22/14   50/1 57/5 67/15 69/9 76/7 80/14
looked [1] 39/24
                                    22/16 22/25 24/9 26/14 26/16       80/22 83/2
looking [28] 10/24 12/19 27/2
                                    53/14 55/25 57/13 69/6 69/7 69/10 Mr. Sterlingov's [8] 31/17 60/5
 33/14 36/2 37/5 44/10 45/13 46/18
                                    76/9 76/11 76/13 76/15 77/16       72/1 83/6 85/4 90/8 91/25 92/19
 55/13 60/25 62/14 63/13 67/16
                                    77/16 77/17 77/19 78/21 78/22     Mt [13] 54/8 79/20 80/11 80/17
 69/10 73/13 73/25 78/3 80/11 83/4
                                    78/24 79/11 79/12 79/14 80/4 80/5 80/17 80/23 81/22 82/22 83/7
 83/17 85/1 87/5 89/1 90/20 91/10
                                    80/7 80/25 80/25 81/11 81/11       85/25 86/2 86/3 86/4
 92/8 94/23
                                    82/17 82/18 83/3 83/9 83/10 83/12 Mt. [2] 81/6 81/17
looks [4]  29/7  52/13  76/5  82/5
                                    83/19 83/20 84/11 84/12 85/2 85/2 Mt. Gox [2] 81/6 81/17
losing [4] 8/18 20/13 20/14 23/23
                                    85/4 86/14 86/15 86/18 86/25 87/2 much [17] 7/4 7/8 7/22 15/10
lot [8] 15/14 17/24 42/4 59/17
                                    87/7 87/8 87/11 87/16 88/10 88/11 15/22 16/7 18/19 18/25 23/11 37/6
 69/7 78/1 82/10 86/9
                                    88/13 89/3 89/4 89/13 89/14 90/4   56/5 65/14 77/5 78/9 79/23 85/21
low [3]  7/11 78/2  83/24
                                   messages [4] 11/10 11/15 11/20      88/19
loyal [1] 86/8
                                    76/7                              multiple [6] 30/3 30/24 48/22
LR [1] 21/13
                                   method [1] 27/1                     48/24 69/24 69/25
LTD [2] 44/13 73/17
                                   methods [2] 62/16 63/14            must [1] 19/16
lunch [7]  7/21  7/23  96/3  97/17
                                   MICHAEL [2] 2/2 4/15               mutual [4] 42/23 43/11 95/13
 97/24 98/2 98/4
                                   Microsoft [3] 10/23 25/24 26/3      95/17
M                                  Microtronix [13] 37/7 37/15 37/25 my [56] 4/17 5/8 6/14 13/10 13/11
                                    38/7 38/9 38/19 38/21 39/1 39/11   16/11 17/21 21/11 21/14 33/3
M247 [7] 41/11 41/12 42/12 43/23    39/22 40/3 40/7 40/23              33/14 41/23 46/4 46/8 47/4 47/9
 57/20 58/21 61/2
                                   middle [1] 57/12                    50/13 50/16 52/16 54/23 77/24
made [17] 13/1 15/15 20/2 21/12
                                   midstream [1] 32/3                  78/11 78/12 78/15 78/16 78/18
 23/7 23/10 24/13 28/10 47/25
                                   might [1] 49/7                      78/19 78/19 79/15 79/22 79/24
 49/12 50/9 58/20 59/4 59/13 83/15
                                   Mike [2] 75/2 93/19                 79/25 80/17 80/18 80/19 81/25
 84/24 85/19
                                   mind [4] 13/13 33/15 52/16 81/18    82/3 82/12 82/14 82/21 82/22 84/1
mail [2] 66/1 82/21                minimal [1] 28/22                   84/2 85/8 85/9 85/13 85/16 85/24
mailbox [1] 82/23                  minimum [1] 49/25                   86/6 86/7 86/11 88/5 88/6 89/9
main [1] 18/22
                                   minute [1] 51/21                    89/9 93/23
mainly [2] 8/7 17/24
                                   minutes [1] 96/4                   myself [1] 87/19
make [10] 7/13 15/13 16/8 28/25
                                   misspoke [2] 20/9 91/9
 50/23 78/3 78/7 98/21 98/23 99/1
                                   mixer [1] 51/13                    N
making [5] 20/15 47/5 53/12 78/5
                                   mixing [6] 18/20 59/20 86/21       N.W [1] 1/16
 78/15                              86/23 87/17 88/15                 nail [2] 5/2 5/5
Malta [1] 44/17                    mobile [1] 7/8                     nails [2] 5/1 5/6
manner [1]  62/1
                                   mode [1] 29/4                      name [24] 4/7 36/9 36/12 36/18
manpower [1] 23/20                 moment [4] 25/20 41/14 46/22        37/14 37/18 37/19 40/24 41/3 41/4
many [6] 13/19 16/9 44/8 65/14      73/20                              62/6 65/24 66/22 70/17 71/21
 85/19 87/21
                                   Mondays [3] 98/4 98/5 98/7          74/16 75/19 75/20 83/7 92/4 92/15
March [1]  60/16
                                   money [22] 9/2 9/21 10/4 10/5       92/17 94/16 94/17
marked [3] 40/24 44/1 65/11         10/7 10/7 10/8 10/10 15/12 15/21 Namecheap [8] 66/3 66/5 66/6
Marshal [1] 5/7                     19/15 20/13 51/12 78/3 78/7 78/7   66/10 66/12 67/15 68/5 68/9
marshals [2] 4/4 5/3                78/15 82/1 83/25 86/6 88/3 93/6   named [6] 46/21 65/25 66/1 66/1
mass [1]  19/16
                                   moniker [4] 15/1 22/6 37/19 39/20 76/14 83/11
material [1] 88/17                 monitor [2] 23/20 47/25            names [1] 73/16
matter [13] 47/7 48/5 48/8 48/10 month [3] 77/12 78/18 88/24
                                                                      nature [3] 76/21 88/19 88/22
 48/11 48/14 48/14 49/7 49/8 50/25
                                   monthly [1] 18/22                  Neapoli [2] 40/3 40/9
 52/4 52/16 100/5
                                   months [1] 23/2                    necessarily [1] 31/6
matters [2] 49/5 50/20
                                   Moon [2] 44/13 73/17               need [12] 5/17 9/15 33/12 46/4
may [30] 5/25 14/16 17/4 22/21
                                   MoonVPN.net [1] 68/1                47/8 51/3 78/9 82/16 85/21 91/17
 26/10 30/5 30/22 33/12 35/8 39/5
                                   MoonVPN.org [2] 68/1 73/15          95/20 99/10
 43/17 46/9 49/11 55/11 56/20
                                   more [17] 7/14 15/22 18/19 20/15 needed [4] 86/11 89/19 89/23 99/4
 60/11 61/21 63/5 64/13 65/6 66/18 23/11 23/18 23/18 32/4 32/25 49/9
                                                                      needs [2] 10/11 98/3
 67/10 68/23 69/4 70/11 71/14 73/4 49/9 51/3 53/16 58/8 62/22 78/9
                                                                      negotiate [1] 13/7
 75/15 91/20 94/12                  96/5                              network [3] 9/2 20/5 20/15
maybe [10] 6/25 7/23 16/4 21/13    morning [8] 1/7 4/9 4/13 5/1 6/3 never [1] 84/16
N                                  numbers [1] 96/18                     Orangewebsite.com [1] 26/17
    Case 1:21-cr-00399-RDM NW
Nevertheless [1] 9/11
                                    Document
                                      [3] 1/14 280 1/20 2/8Filed 03/16/24orderPage   110 of64/11
                                                                                [5] 40/23    11576/22 84/24
                                   NY [1] 2/4                             88/21
new [7] 1/20 13/1 13/9 18/23
                                                                         ordered [1] 51/10
 22/20 82/11 87/20                 O                                     orders [3] 67/15 68/5 78/14
newbie [5] 47/1 49/4 51/8 51/9
                                   object [3] 33/8 41/19 51/7            organization [1] 9/20
 51/16
                                   objecting   [1]   42/5                origin [4] 77/7 84/21 84/25 86/12
news [5] 25/1 28/15 52/13 56/3
                                   objection   [51]    14/13 14/14 17/1  original [3] 42/25 43/7 85/18
 78/4
                                    18/11 19/21 26/7 26/8 29/11 32/3 originate [1] 86/20
next [12] 1/23 12/6 25/7 28/19
                                    33/17 38/13 39/3 41/13 43/15         originating [1] 83/16
 31/17 32/10 50/22 53/2 56/3 86/22
                                    43/16 45/20 46/6 53/25 54/2 56/18 other [29] 7/1 7/24 16/3 16/4
 96/4 98/24
                                    56/19 60/9 60/10 61/19 61/20 63/3 16/5 16/12 17/23 18/25 31/4 33/5
nice [1] 88/2
                                    63/4 65/4 65/5 66/16 67/6 68/21       33/6 33/19 36/2 46/5 47/6 47/8
no [55] 1/4 5/16 7/16 7/20 11/12
                                    70/9 70/10 71/12 73/1 73/2 74/9       48/19 51/1 51/21 53/11 53/24 55/8
 14/14 14/17 15/14 17/6 22/23
                                    74/10 75/12 75/13 91/16 91/18         55/20 61/7 66/1 86/10 89/25 90/19
 23/23 26/8 32/20 33/16 39/3 43/16
                                    94/9 94/10 95/22 95/23 97/5 97/6      96/10
 46/12 55/17 56/19 60/10 60/13
                                    98/10 98/11                          others [1] 90/1
 61/20 61/23 62/11 63/4 64/4 65/5
                                                       5/18              our [12] 7/12 18/18 23/17 24/3
 65/8 66/20 69/2 70/10 70/13 71/12 obligation [1]
                                   observed   [1]   28/23                 24/7 46/6 50/19 59/19 64/2 76/18
 71/15 73/2 73/5 74/10 75/13 75/16
                                   obtain [13] 13/20 37/24 64/15          77/8 86/19
 77/23 78/17 79/24 80/2 81/18
                                    66/3 69/15 70/22 72/6 73/21 74/21 ourselves [1] 24/18
 86/10 89/24 91/18 91/21 92/17
                                    90/12 92/24 93/10 95/2               out [35] 7/25 9/2 18/3 18/21
 94/10 94/13 95/23 97/6 98/10
                                   obtained   [8]   14/5 14/8 16/18       20/16 21/5 27/5 32/13 33/12 33/13
 98/11
                                    25/24 56/11 68/13 74/2 95/13          37/18 41/1 41/5 45/22 52/12 61/3
nobody [1] 10/9
                                   obviously [1] 24/2                     61/6 64/1 65/11 65/19 66/2 68/10
non [2] 45/23 52/7
                                   occupation [1] 77/3                    69/13 70/21 72/5 73/18 74/21
non-box [1] 52/7
                                   October   [14]   11/19 11/23 12/9      82/22 86/8 90/11 92/2 92/23 95/1
non-hearsay [1] 45/23
                                    12/12 26/1 26/15 27/1 27/11 27/11 97/23 99/8
none [1] 88/1
                                    44/21 46/15 46/19 49/13 55/23        outages [1] 59/7
noon [2] 98/4 98/7
                                   October 12th [1] 26/15                outgoing [1] 78/16
Nordea [5]  95/2 95/5 95/6 95/14
                                   October   2015  [1]   27/1            over [10] 35/15 36/2 36/7 36/16
 96/12
                                   October 22nd [1] 46/15                 37/16 49/12 50/19 80/20 84/3
normal [1] 85/17
                                   October 24th [1] 27/11                 92/11
Nos [7] 26/11 39/6 43/18 56/22
                                   October 25th [1] 27/11                Overruled [4] 17/3 18/12 19/22
 63/7 95/25 97/14
                                   October 28 [4] 11/19 11/23 12/9        67/9
not [81] 5/14 7/2 7/7 7/8 7/9
                                    44/21                                own [2] 78/5 85/16
 7/13 10/3 10/4 10/5 10/6 10/7
                                   October 28th [1] 12/12                owner [3] 62/5 62/6 74/17
 10/10 11/12 13/10 13/24 15/8
                                   off [4] 6/14 13/19 37/17 56/1         ownership [2] 13/8 13/10
 15/11 15/18 16/16 18/18 18/20
                                   offered   [6]   47/7 48/4 48/5 48/7
 20/14 22/9 23/25 24/6 24/8 24/18                                        P
                                    49/6 49/8
 29/3 31/4 31/17 31/24 31/25 32/4
                                   offering   [1]   49/19                P-O-L-O-N-I-E-X [1] 74/13
 32/12 33/3 34/1 34/6 38/25 42/4
 42/16 45/2 46/3 46/4 47/1 48/12   Official [3] 2/7 100/3 100/13         p.m [2] 97/23 99/12
                                                   7/1 7/7 7/14 7/16     page [21] 1/23 30/6 35/2 35/6
 49/6 50/4 50/21 50/22 51/5 51/14 offline [5]
                                    7/20                                  35/19 43/25 55/15 61/25 62/4
 52/10 53/1 53/3 55/5 55/15 56/8
 59/23 67/8 68/11 79/18 79/19      often [1] 23/18                        62/15 62/15 66/22 67/2 67/2 67/3
                                   Oh [1]    91/4                         67/16 68/2 76/1 76/9 76/10 78/14
 79/21 80/1 80/18 81/17 81/21 82/9
                                                 4/21 4/24 5/8 6/19 14/3 pages [2] 77/1 80/16
 84/22 85/12 85/16 85/21 86/4 86/5 okay [20]
                                    18/15 30/20 34/7 38/4 42/8 42/9      paid [3] 21/11 60/25 68/4
 88/19 91/9 93/5 93/6 97/19 98/22
                                    42/15 55/18 71/3 75/3 91/4 91/10 panel [1] 22/24
 99/10
                                    93/24 95/10 96/7                     Papademos [3] 37/19 39/20 40/9
note [2] 79/1 88/20
                                   old [3] 79/22 81/25 82/12             paragraph [17] 6/24 8/15 8/16
noted [1] 37/3
                                   older [1] 79/23                        17/16 17/18 18/16 19/9 20/7 20/10
nothing [9] 14/19 32/4 32/16
                                                     11/22 12/1 12/21     20/11 22/18 24/15 25/12 28/13
 32/24 32/24 41/17 46/8 50/19 64/5 Omedetou [39]
                                    12/22 12/24 13/4 16/14 18/10          28/13 44/2 59/15
notice [1] 26/25
                                    19/18 20/13 21/1 21/3 23/8 24/14 paragraphs [2] 17/17 28/19
noticed [2] 84/15 85/11
                                    24/24 25/11 28/11 47/2 47/6 47/22 parenthesis [1] 20/12
notification [1] 76/19
                                    48/6 48/13 48/25 49/2 49/16 49/23 part [6] 16/6 22/3 48/7 57/6 72/2
November [10] 14/23 20/21 21/15
                                    49/25 50/10 50/11 50/25 51/3 52/6 80/1
 36/16 36/20 49/14 57/3 57/17 58/4
                                    52/8 52/11 52/15 52/22 53/18 59/5 particular [1] 45/25
 58/18
                                    59/14                                particularly [2] 42/6 98/20
November 15th [1] 57/3
                                   one [30] 4/18 4/22 5/18 6/16 6/19 particulars [1] 51/10
November 23rd [3] 57/17 58/4
                                    11/25 18/20 26/1 33/18 41/14         party [4] 44/23 47/20 52/3 53/2
 58/18
                                    42/25 43/2 43/5 43/6 43/7 53/24      passage [3] 9/6 12/17 12/20
November 25th [1] 21/15
                                    58/8 65/25 66/1 66/1 67/19 77/23 passport [3] 77/1 79/4 79/15
November 29th [1] 20/21
                                    78/11 80/16 81/4 81/15 82/24         past [3] 78/17 86/24 87/18
November 3rd [1] 14/23
                                    83/24 91/17 98/1                     pause [5] 11/13 12/6 16/15 37/10
now [56] 9/1 9/15 10/13 11/14
                                               33/6                       67/24
 15/7 15/9 16/15 20/16 20/20 23/17 ones [1]
                                                  7/3 7/10 7/15 19/19    pay [7] 7/22 7/22 15/16 15/20
 23/24 24/2 24/6 25/4 25/16 28/12 online [7]
                                    29/23 45/7 59/9                       29/23 29/24 88/3
 28/13 28/15 30/3 33/4 33/9 36/2
                                   only  [8]   28/22 51/1 51/25 52/7     paying  [3] 7/21 10/10 86/7
 42/12 42/15 45/1 45/3 47/13 56/4
                                    55/6 55/8 86/3 97/11                 payment [15] 21/12 21/14 27/1
 56/7 57/25 59/1 59/20 59/22 61/6
 63/16 66/22 69/13 72/6 72/11      op [1] 17/15                           29/22 37/7 39/10 60/24 61/1 61/2
 73/25 76/1 80/18 82/24 83/23      open [1] 16/3                          62/15 63/13 76/18 82/6 84/1 85/24
                                   operating   [5]   29/4 52/17 52/19    payments  [1] 78/16
 85/25 86/4 88/5 88/6 89/8 89/9
                                    53/21 93/7                           payouts [1] 24/8
 89/20 89/25 90/11 90/24 91/23
 98/20                             operation [1] 50/2                    PayPal [3] 27/1 60/22 62/17
                                   operations [1] 93/8                   Payssion [1] 62/17
number [28] 7/6 7/7 7/18 8/12
                                   operator   [2]   49/10 52/21          PCs [1] 7/9
 8/19 9/4 21/13 21/15 21/16 23/5
                                                   78/5 78/6             Pearl [1] 16/12
 24/10 24/20 25/8 28/8 33/13 46/16 opinion [2]
 50/8 59/10 62/8 76/5 76/9 76/11   opponent [2] 47/20 52/3               PEARLMAN [2] 1/18 4/11
                                                  27/15 27/19 27/21      peer [8] 90/15 90/15 90/16 90/16
 77/16 83/10 84/11 85/7 85/7 85/16 Orange [4]
                                    27/23                                 90/17 90/17 90/18 90/18
P                                  prejudicial [5] 31/14 32/4 32/18 publically [1] 13/2
    Case 1:21-cr-00399-RDM Document
PELKER [2] 1/13 4/11
                                    32/25 32/25 280    Filed 03/16/24publication
                                                                           Page 111[1] of 115
                                                                                        47/13
                                   preliminary [1] 52/2               publicly [2] 13/10 19/18
Pennsylvania [1] 1/14
                                   premium [1] 40/15                  publish [21] 14/12 16/24 26/5
people [2] 10/3 19/14
                                   prepared [1] 96/12                  34/21 38/11 45/18 54/22 56/16
per [4] 77/11 78/18 88/7 89/10
                                   preposterous [1] 15/18              60/7 61/17 63/1 65/2 66/14 68/19
perceive [1] 13/7
                                   present [1] 4/14                    70/7 71/10 74/7 75/10 91/14 94/7
perhaps [3] 52/11 54/14 76/10
                                   pretty [1] 79/24                    95/20
period [2] 27/10 44/7
                                   previous [1] 72/24                 published [21] 14/16 17/4 26/10
permission [1] 5/4
                                   previously [10] 5/24 19/25 20/18    34/24 39/5 46/9 47/12 56/21 60/12
person [1] 53/7
                                    23/4 28/7 68/12 70/2 84/18 84/21   61/22 63/6 65/6 66/18 68/24 69/4
personal [3] 77/24 85/17 88/1
                                    97/2                               70/12 71/14 73/4 75/15 91/20
personally [2] 84/19 85/8
                                   price [10] 12/25 13/12 15/9 15/14 94/12
phone [4] 30/17 41/14 53/24 62/8
                                    15/16 15/19 16/1 16/14 18/25      pull [6] 10/18 25/20 45/22 47/13
PHP [2] 16/10 17/23
                                    90/21                              73/20 93/15
physical [1] 15/21
                                   primary [1] 29/6                   pulled [1] 94/2
pick [1] 41/13
                                   principle [1] 15/8                 purchase [2] 80/11 86/2
picking [1] 9/1
                                   printed [2] 30/6 85/11             purchased [3] 79/20 81/6 81/17
pizza [1] 78/12
                                   prior [3] 46/4 46/7 46/9           purchases [3] 79/16 84/24 85/19
place [1] 9/12
                                   Pristov [10] 76/14 76/15 77/15     purchasing [1] 36/21
placed [2] 22/21 67/14
                                    78/23 79/10 80/6 80/12 81/1 81/2 purportedly [1] 53/21
placing [1] 32/10
                                    81/10                             purpose [10] 77/4 78/6 83/14
Plaintiff [2] 1/4 1/13
                                   Pristov's [1] 78/24                 84/18 86/24 87/4 87/18 87/24 88/5
planned [1] 77/8
                                   privacy [2] 26/19 88/20             88/23
plans [2] 77/8 78/13
                                   private [11] 6/19 11/15 11/17      purposes [2] 51/2 71/20
plasma [2] 60/20 83/6
                                    11/18 11/20 11/21 12/7 12/8 12/10 pursuant [12] 25/24 34/16 38/7
plasmadivision.com [9] 56/12
                                    12/17 13/18                        42/23 61/12 69/22 71/6 72/19 74/3
 56/14 57/5 58/6 60/2 60/5 60/20
                                   probably [3] 17/22 33/17 82/13      75/6 91/7 95/13
 83/7 92/19
                                   probative [1] 33/1                 put [4] 9/12 51/18 51/20 78/1
platform [3] 16/9 16/10 79/20
                                   problem [5] 9/13 9/14 22/9 56/5    putting [2] 7/12 31/16
plausibly [1] 9/2
                                    87/22                             Python [1] 16/10
play [1] 19/14
                                   problems [6] 7/25 10/9 25/14
playing [1] 19/17                                                     Q
                                    78/17 82/1 82/7
please [59] 4/7 6/24 7/19 8/2 8/5
                                   procedure [1] 76/23                qualifies [2] 48/17 48/17
 8/12 8/17 8/20 9/5 9/9 9/22 13/12
                                   proceed [6] 5/25 35/8 54/19 55/11 qualities [1] 7/10
 14/1 15/4 17/9 17/19 18/7 19/2
                                    64/13 76/24                       question [11] 4/17 29/12 41/18
 19/9 21/10 22/11 24/9 24/11 24/16
                                   proceeding [1] 98/21                41/19 41/23 47/21 49/16 50/13
 24/25 25/13 26/24 28/8 28/14
                                   proceedings [2] 1/7 100/5           50/16 52/25 54/3
 28/19 30/4 30/17 33/7 56/10 64/10
                                   process [25] 14/5 14/8 15/22       questionable  [1] 88/4
 77/5 77/9 79/1 79/9 79/14 81/9
                                    16/18 16/21 25/25 26/3 34/16      questioning [1] 41/22
 83/12 84/17 84/19 84/22 85/5 86/5
                                    34/19 38/7 59/20 61/13 62/24      questionnaire [1] 77/2
 86/23 87/1 87/3 87/4 87/7 87/12
                                    68/13 68/17 69/23 70/5 71/6 72/19 questions [8] 42/4 47/23 79/9
 87/17 87/24 88/13 88/18 88/20
                                    74/3 75/6 76/18 76/19 86/1 91/7    81/9 88/9 89/12 89/20 96/6
 89/13
                                   processed [1] 32/6                 quick [4] 5/12 38/17 38/23 40/15
PLLC [1] 2/3
                                   processing [2] 29/22 76/24         quickly [4] 13/25 27/13 53/25
plus [1] 85/19
                                   produce [3] 18/24 31/13 36/1        98/19
podium [1] 4/7
                                   produced [16] 16/21 32/21 34/15    quote [7] 9/8 9/10 9/13 10/1 10/3
point [23] 7/5 7/18 21/5 27/5
                                    34/18 43/10 56/14 61/15 62/24      10/5 23/10
 27/24 29/6 37/18 41/1 44/13 47/4
                                    66/10 68/16 70/5 71/8 72/2 72/18 quoted [10] 8/21 8/23 8/24 9/6
 47/9 48/12 52/1 52/12 55/16 61/3
                                    72/21 94/5                         9/24 12/17 12/20 12/23 23/9 48/2
 65/11 65/19 87/15 92/2 96/6 97/16
                                   product [3] 27/8 62/10 62/11
 98/15                                                                R
                                   product/service [1] 62/10
pointless [2] 88/9 89/12
                                   production [2] 43/8 43/22          raise [2] 30/17 32/2
points [1] 50/8
                                   products [2] 67/3 67/12            raised [4] 32/3 49/17 51/22 54/3
poker [5] 17/15 18/2 19/13 19/19
                                   proficient [2] 16/8 17/23          raising [1] 32/9
 20/4
                                   program [1] 82/21                  RamNode [8] 61/8 61/12 61/15 62/2
policies [1] 93/6
                                   promised [1] 98/23                  62/11 62/22 62/24 63/11
politicians [1] 8/9
                                   promoting [1] 7/15                 RANDOLPH [1] 1/9
Poloniex [5] 73/21 73/23 74/3
                                   prompt [1] 78/25                   reach [1] 19/16
 74/5 74/11
                                   prompted [1] 89/25                 reactions [1] 49/9
popular [2] 15/10 93/7
                                   proof [1] 71/19                    read [61] 6/22 6/23 7/5 7/18 8/5
portion [3] 55/8 57/9 96/9
                                   properly [1] 18/21                  8/16 8/23 9/8 9/8 10/1 10/1 12/4
possibilities [1] 15/6
                                   proposal [1] 16/14                  12/22 13/3 15/4 17/8 17/18 17/18
possible [8] 13/6 15/24 54/3 77/6
                                   proposals [1] 16/4                  18/16 19/8 19/9 20/11 21/5 21/8
 80/9 81/4 81/15 87/19
                                   proposition [3] 15/19 18/25 49/25 22/7 22/18 23/9 23/13 24/15 24/25
post [54] 6/23 8/3 8/4 8/5 8/11
                                   prosper [1] 15/13                   25/12 26/23 28/13 28/19 31/5
 8/12 8/21 9/4 9/6 9/17 9/22 9/23
                                   protects [1] 29/17                  35/20 44/1 56/2 56/2 57/14 58/14
 9/24 19/19 20/1 20/2 20/3 20/6
                                   provide [18] 44/4 57/23 77/9 79/3 59/6 59/15 62/9 76/15 77/21 78/24
 23/4 23/5 23/7 24/10 24/11 24/13
                                    79/4 79/16 80/8 80/9 81/4 81/15    79/11 79/14 80/7 80/15 81/2 82/20
 24/20 24/21 24/23 24/25 25/7 25/8
                                    84/20 84/23 86/5 88/15 88/18 89/7 83/12 84/10 85/4 86/17 86/22 87/2
 25/12 28/8 28/8 28/10 28/18 46/16
                                    89/23 90/22                        87/15 88/13
 46/18 46/19 46/20 47/11 47/11
                                   provided [28] 10/23 26/3 31/7      reading [2] 78/4 87/23
 47/17 47/17 47/18 49/15 55/22
                                    31/8 38/6 38/9 42/23 61/12 62/22 ready [2] 5/25 63/17
 59/2 59/2 59/4 59/6 59/10 59/11
                                    63/10 64/23 64/25 66/12 69/22     real [7] 15/22 16/14 23/23 29/1
 59/13 59/15
                                    71/5 74/4 75/5 75/8 80/23 81/3     38/17 38/22 92/17
posted [1] 47/19
                                    84/7 86/6 86/11 89/18 91/6 92/17 really [12] 8/18 20/14 23/19
poster [1] 6/9
                                    92/18 95/16                        31/21 49/24 50/20 51/5 79/23
posts [2] 6/20 48/20
                                   provider [2] 64/16 66/7             81/17 82/5 82/13 87/19
pot [1] 20/4
                                   provides [4] 10/12 29/25 40/3      reason [9] 7/20 8/8 35/2 80/2
practice [3] 13/9 85/18 89/22
                                    58/21                              82/6 86/8 87/4 87/25 98/4
prefer [1] 13/10
                                   providing [1] 78/25                reasonable [1] 53/17
prejudice [1] 32/11
                                   public [2] 6/20 20/15
R                                  request [14] 22/17 22/19 22/21       68/6
    Case 1:21-cr-00399-RDM Document
reasons [1] 88/1
                                    22/22 31/11 280     Filed
                                                33/5 33/10    03/16/24
                                                            43/11           Page
                                                                  44/3 RPR [1]     112 of 115
                                                                                100/12
                                    54/12 73/3 76/17 76/25 95/17       ruled [2] 48/25 49/23
recall [1] 49/11
                                   requested [8] 31/9 34/5 35/3 35/4 rules [1] 82/4
receipt [3] 39/10 39/12 60/24
                                    35/7 98/1 98/3 98/8                ruling [4] 46/7 46/9 53/12 54/23
receipts [1] 81/21
                                   requests [3] 23/16 93/4 93/5        rulings [1] 46/4
receive [3] 29/3 76/19 85/13
                                   requests/tampering [1] 23/16        running [6] 15/11 18/19 30/23
received [14] 11/20 11/21 12/2
                                   require [1] 76/23                    53/4 53/7 59/19
 22/18 22/19 39/10 76/17 80/10
                                   required [2] 80/3 88/21
 81/5 81/16 84/1 84/17 84/19 85/8                                      S
                                   requirement [2] 79/25 81/19
recent [2] 87/5 87/25
                                   research [2] 63/24 97/20            safely [1] 29/8
recently [2] 45/11 82/12
                                   Reseller [1] 22/15                  said [9] 5/3 9/11 9/14 40/19
Recess [3] 5/20 64/8 99/12
                                   Reserve [5] 7/4 7/16 21/11 21/16     42/17 51/13 53/14 53/20 85/7
recognize [31] 10/20 14/4 16/17
                                    79/19                              sales [1] 22/15
 25/23 34/14 35/11 38/5 42/20
                                   resolution [1] 77/1                 same [12] 4/20 18/8 19/3 31/7
 45/13 56/10 59/24 60/1 61/11
                                   resolve [1] 59/16                    31/13 32/12 32/17 34/3 35/2 35/6
 62/20 64/22 66/9 68/12 69/21 71/4
                                   resolved [4] 25/15 50/22 53/2        54/4 98/4
 71/25 72/17 73/8 73/25 75/4 80/21
                                    56/3                               sane [1] 15/14
 83/1 84/3 91/5 94/1 95/11 96/25
                                   resolving [1] 48/21                 Saturday [2] 99/5 99/9
record [15] 20/20 20/22 21/20
                                   respect [6] 35/5 42/12 48/25        save [1] 78/7
 27/2 35/16 44/11 51/19 67/4 68/25
                                    49/22 50/7 54/1                    saw [1] 53/14
 70/2 70/4 74/12 82/14 94/23 100/5
                                   respond [5] 47/23 47/24 77/21       say [16] 15/15 31/18 34/4 41/3
records [83] 10/14 10/23 13/20
                                    81/14 83/22                         41/23 44/22 51/16 51/17 55/24
 16/21 20/17 25/23 25/24 26/2 26/2
                                   respondent [2] 30/22 32/1            57/18 57/23 69/3 81/18 89/6 89/16
 30/21 30/23 31/7 31/12 32/7 32/20
                                   responding [2] 48/6 48/13            89/17
 32/21 32/24 34/12 34/14 34/15
                                   responds [7] 8/24 9/1 9/9 10/2      saying [10] 32/16 32/16 38/18
 34/17 34/18 36/1 37/24 38/6 38/8
                                    12/24 13/3 13/5                     38/25 41/16 50/20 52/12 52/21
 42/23 43/10 43/22 56/13 56/14
                                   response [17] 9/14 10/6 16/21        53/4 55/9
 60/4 61/7 61/12 61/14 61/15 62/22
                                    23/13 26/3 34/18 43/10 44/1 44/2 says [12] 12/22 21/17 26/23 35/20
 62/23 63/10 64/23 64/25 66/3
                                    55/7 62/24 68/16 70/5 77/22 83/25 57/13 57/20 58/14 62/4 62/6 76/2
 66/10 66/11 66/11 69/14 69/15
                                    85/4 95/17                          81/2 82/20
 69/22 70/5 70/22 71/5 71/7 71/7
                                   responses [1] 51/2                  scan [1] 79/15
 72/2 72/3 72/6 72/18 72/20 72/21
                                   restart [1] 23/23                   scenario [1] 15/20
 73/21 74/2 74/4 74/22 75/5 75/7
                                   restaurant [2] 7/1 7/23             schedule [1] 98/25
 75/8 90/12 91/6 91/11 92/24 93/13
                                   retailers [1] 7/14                  Scheduled [1] 57/17
 93/15 93/15 94/2 94/3 94/4 94/5
                                   return [1] 5/23                     scheduling [1] 98/16
 95/2 95/13 95/15 95/16 96/9 96/13
                                   returned [1] 32/7                   scheme [2] 18/22 18/24
recover [1] 11/10
                                   returning [3] 18/4 80/24 84/10      screen [11] 6/14 17/25 21/6 25/21
redact [2]  33/18 33/19
                                   reveal [1] 88/19                     27/5 28/12 35/11 56/10 69/21
redacted [1] 97/10
                                   revenue [2] 15/11 86/9               73/20 91/24
referenced [2] 49/14 83/3
                                   review [6] 30/3 34/12 38/2 56/9     screenshot [6] 45/10 80/16 80/22
reflect [3] 34/18 67/4 91/11
                                    62/4 68/3                           82/24 86/2 88/19
regard [1] 88/17
                                   reviewed [5] 18/5 25/21 45/3 45/5 screenshots [7] 79/6 80/10 81/5
regarding [6] 20/4 22/1 44/3 44/5
                                    70/2                                81/16 84/23 85/22 86/5
 84/21 88/15
                                   reviewing [1] 30/17                 scroll [29] 13/17 14/19 24/10
regards [8] 77/14 79/9 80/12
                                   rework [1] 24/2                      28/18 36/23 37/16 39/14 43/25
 81/10 83/18 85/1 87/6 89/2
                                   rid [1] 24/6                         57/6 57/9 57/18 58/10 65/23 67/24
registered [2] 85/14 85/15
                                   ridiculous [1] 15/16                 75/23 77/16 78/21 80/4 80/13
registrar [1] 22/20
                                   right [37] 4/12 6/24 8/25 9/1        80/24 82/17 83/19 84/9 86/14 87/7
registration [1] 66/6
                                    9/25 13/2 21/7 27/6 31/17 33/4      89/3 89/13 90/6 90/7
registrations [1] 67/14
                                    33/24 34/23 37/13 37/16 39/4       scrolling [12] 9/23 24/20 25/7
regular [1] 28/4
                                    40/20 41/21 47/13 52/6 52/8 61/5    36/2 36/7 36/16 56/7 62/14 69/24
regulating [1] 9/15
                                    63/15 64/2 64/6 64/9 64/13 69/13    76/1 81/11 85/2
reimburse [2] 88/7 89/11
                                    86/4 88/6 89/9 92/3 97/5 97/7      scrolls [1] 67/2
relate [2] 11/23 22/25
                                    97/17 97/24 98/12 99/5             search [3] 11/9 31/12 36/1
related [6] 20/25 43/22 59/7
                                   risk [1] 23/23                      Searching [1] 89/21
 64/16 77/23 80/23
                                   Road [1] 8/7                        seated [1] 64/10
relating [2] 50/1 61/8
                                   Rok [11] 76/14 76/15 77/15 78/23 second [12] 6/16 14/19 24/15 43/4
relationship [2] 76/22 88/22
                                    78/24 79/9 80/6 80/12 81/1 81/2     43/6 43/7 43/25 50/10 58/10 58/11
relatively [1] 29/8
                                    81/10                               70/19 91/18
release [1] 86/6
                                   ROMAN [37] 1/6 4/3 4/6 4/14 6/7     secondary [1] 52/4
relevance [3] 17/2 66/17 68/22
                                    44/14 50/10 52/2 60/20 62/7 65/20 Secrecy [1] 9/21
remember [2] 82/13 87/20
                                    66/24 70/17 71/23 73/17 74/18      section [1] 65/10
remind [3] 6/6 63/23 97/19
                                    75/20 76/16 76/17 77/18 77/21      secure [2] 24/3 28/20
remotely [1] 32/24
                                    78/25 79/13 80/8 81/3 81/13 82/19 security [1] 24/7
renew [1] 46/6
                                    83/13 83/21 84/15 85/3 86/19 87/9 see [31] 10/14 15/24 15/25 21/11
renewal [2] 27/9 27/12
                                    88/14 89/5 89/15 92/5               34/25 35/2 52/13 52/19 52/20
renewals [1] 67/14
                                   Romania [7] 42/24 43/10 43/22        52/25 55/1 55/2 55/15 61/3 63/24
rent [1] 42/13
                                    44/25 49/13 57/21 58/22             64/6 69/21 69/24 76/2 78/2 79/22
rented [3] 41/7 41/10 41/18
                                   Romanian [2] 42/25 43/2              83/23 85/10 85/19 87/13 89/21
repaying [1] 86/1
                                   room [2] 2/8 33/16                   96/24 97/22 97/25 99/9 99/10
repeat [3] 50/15 87/18 96/17
                                   Roso987341870 [1] 83/8              seeing [1] 83/24
rephrase [1] 39/18
                                   roughly [1] 45/7                    seemed [1] 25/14
reply [11] 77/13 77/14 78/25 81/3
                                   routines [1] 24/3                   seems [3] 9/12 23/17 82/2
 83/13 84/15 85/1 86/19 87/6 88/14
                                   Rovensky [35] 3/3 5/24 6/3 10/20 segregated [1] 54/6
 89/2
                                    17/8 27/24 29/9 29/18 34/11 35/10 segregating [1] 54/4
report [1] 35/22
                                    39/8 41/6 42/12 55/22 59/24 60/15 sell [5] 15/17 77/25 78/3 78/12
Reporter [4] 2/6 2/7 100/3 100/13
                                    61/25 63/10 64/15 64/22 65/10       90/20
represent [5] 43/10 60/4 70/4
                                    66/22 67/12 69/6 70/15 71/17 73/7 selling [7] 15/6 15/8 18/23 29/24
 75/7 94/4
                                    73/18 74/16 90/11 91/10 91/23       30/2 36/15 78/8
representation [3] 45/15 68/16
                                    92/24 94/15 96/9                   sells [1] 8/7
 72/21
                                   row [5] 21/12 36/24 37/3 37/5       send [2] 76/25 81/24
S                                  simple [1] 85/6                     stable [1] 82/5
    Case 1:21-cr-00399-RDM simply
sender [4] 12/1 12/3 22/14 22/15
                                    Document    280 32/23
                                          [4] 31/25    Filed  03/16/24
                                                            35/6            Page
                                                                 50/11 stalling   113
                                                                                [1]     of 115
                                                                                     86/7
                                   since [8] 18/23 23/19 24/18 29/5 stand [1] 5/23
sending [2] 49/12 82/24
                                    78/19 79/24 80/1 98/20             start [5] 4/23 19/17 44/20 44/21
sends [2] 29/25 76/15
                                   sit [1] 99/10                        56/24
senses [1] 23/15
                                   site [11] 12/5 12/15 13/8 13/9      starting [18] 4/8 8/15 9/25 15/9
sent [6] 23/16 60/21 76/13 76/20
                                    25/4 25/5 28/3 29/7 53/4 53/7       17/17 18/16 19/9 20/7 20/10 21/8
 79/7 82/9
                                    53/16                               24/8 24/15 28/13 55/24 65/10
sentence [5] 8/16 20/11 86/22
                                   sitting [3] 98/16 99/2 99/7          67/16 76/1 76/5
 87/1 87/11
                                   situation [3] 24/17 30/23 78/4      starts [4] 7/2 8/25 76/4 87/1
sentences [2] 19/10 86/17
                                   Six [2] 77/8 78/15                  state [1] 4/7
separate [7] 31/15 32/13 32/15
                                   skills [2] 17/21 17/22              statement [19] 21/2 47/17 47/20
 33/19 54/8 54/9 85/16
                                   skipping [1] 83/9                    50/4 50/17 51/6 51/8 51/25 52/8
separated [4] 31/21 32/17 32/19
                                   SKVMS [2] 62/12 62/13                52/11 52/19 52/20 52/20 52/23
 54/16
                                   small [3] 4/22 18/25 32/2            53/1 53/1 53/10 53/15 53/18
separately [1] 47/9
                                   Smily [1] 25/17                     statements [6] 45/23 47/7 47/25
September [1] 92/10
                                   sneaky [1] 17/25                     50/1 50/24 51/1
September 20th [1] 92/10
                                   so [87] 5/3 5/5 6/11 6/19 7/8       STATES [5] 1/1 1/3 1/10 4/3 4/5
sequence [1] 25/7
                                    9/15 10/3 12/24 14/19 14/21 15/5 station [1] 7/1
serious [2] 15/22 16/1
                                    16/7 17/17 17/20 18/8 18/17 22/8 status [1] 53/16
server [6] 41/24 42/13 44/24
                                    23/3 23/16 25/5 25/18 27/24 28/5 staying [1] 70/15
 44/25 49/13 62/3
                                    28/6 28/15 28/21 29/24 30/21 33/3 steer [1] 97/20
servers [9] 24/18 41/8 41/10
                                    33/20 34/11 35/4 35/23 35/23       STERLINGOV [44] 1/6 4/3 4/6 4/14
 41/17 41/18 41/24 42/13 42/14
                                    35/25 36/23 37/19 38/2 41/19 46/1 4/25 5/5 6/7 17/10 31/19 41/17
 93/10
                                    46/4 46/8 46/14 46/18 47/2 47/4     44/14 49/12 49/23 50/1 50/10 52/2
service [41] 5/8 13/1 15/7 15/12
                                    47/16 47/20 48/3 49/21 51/13 52/2 57/5 60/20 62/7 65/20 66/24 67/15
 15/24 16/1 16/4 18/21 23/17 23/20
                                    53/21 54/5 54/12 54/22 55/1 55/9    69/9 70/17 71/23 73/17 74/18
 23/23 24/3 27/8 28/16 29/2 29/22
                                    55/19 62/4 65/10 67/16 70/15 75/1 75/20 76/7 76/16 77/18 77/21
 30/2 36/15 44/20 44/21 47/20
                                    76/10 76/22 80/2 80/22 82/3 82/5    79/13 80/14 80/22 81/13 82/19
 47/25 48/9 48/11 48/15 48/21 49/2
                                    85/21 89/18 89/24 90/19 91/3        83/2 83/21 85/3 87/9 89/5 89/15
 49/16 53/16 59/9 59/19 62/9 62/10
                                    93/22 95/8 96/22 97/7 97/11 97/13 92/5
 62/11 82/2 82/5 88/2 88/4 89/18
                                    97/17 97/21 98/6 98/23 98/23 99/9 Sterlingov's [8] 31/17 60/5 72/1
 90/22 90/23
                                   software [1] 17/22                   83/6 85/4 90/8 91/25 92/19
services [20] 10/11 28/3 28/25
                                   some [30] 7/1 7/10 8/9 13/15        still [12] 9/11 10/10 16/2 22/9
 29/6 29/24 36/22 40/13 44/22
                                    15/16 16/12 23/16 23/18 27/24       23/10 24/3 24/8 28/23 29/6 45/7
 47/23 67/3 67/12 78/8 84/1 84/20
                                    28/15 30/5 33/13 36/2 52/13 53/1    50/11 98/18
 86/21 86/23 87/17 87/21 88/16
                                    56/1 61/7 62/15 63/13 79/5 79/6    stipulated [2] 32/23 38/24
 88/16
                                    80/9 81/4 81/15 82/6 82/6 87/19    stop [1] 90/7
set [7] 9/16 15/9 15/14 15/21
                                    89/25 96/9 96/12                   stopping [3] 25/2 96/6 97/16
 27/24 63/18 67/17
                                   somebody [3] 10/15 52/19 53/21      store [1] 7/1
setting [1] 24/1
                                   someone [2] 15/20 53/4              stored [1] 65/15
Seven [2] 77/10 78/18
                                   something [10] 7/13 13/14 15/17     stores [2] 7/8 7/16
several [2]  23/2 90/1
                                    21/13 23/15 30/17 49/3 98/2 99/5 storing [1] 82/3
shall [2] 19/1 56/4
                                    99/8                               strange [1] 23/16
shared [1] 20/4
                                   Sometime [1] 96/4                   Street [2] 1/16 2/3
shave [2] 5/1 5/5
                                   soon [3] 59/9 76/19 99/11           strict [1] 93/6
shaver [2] 5/2 5/5
                                   sorry [25] 6/14 11/13 15/5 30/8     Stripe [1] 63/15
SHERRY [3] 2/6 100/3 100/12
                                    37/2 38/14 38/18 39/17 40/20 43/4 struck [1] 41/20
ship [2] 57/20 58/21
                                    50/15 53/3 55/14 57/12 59/8 59/18 stuff [3] 17/25 42/5 54/15
shipment [1] 58/19
                                    64/20 69/3 81/17 83/23 91/9 93/20 subject [17] 12/4 12/5 12/14
shipped [2] 57/22 57/23
                                    93/21 96/17 96/22                   12/16 17/14 17/15 20/3 20/4 21/25
shit [2] 88/6 89/9
                                   sort [12] 7/11 29/21 51/5 54/4       22/1 22/16 26/21 44/1 44/2 54/14
shopper [2] 29/24 36/21
                                    67/3 67/12 69/18 70/24 72/9 73/23 57/13 57/14
shoppers [1] 29/23
                                    74/24 90/22                        submit [1] 77/12
shormint [27] 10/14 10/15 11/7
                                   sound [1] 12/24                     submitted [4] 79/2 84/16 84/22
 11/9 11/10 14/25 15/5 18/17 19/4
                                   source [1] 56/5                      88/18
 19/11 22/5 25/19 25/25 26/20
                                   sources [1] 10/7                    subpoena [5] 30/22 31/1 32/1 93/4
 27/16 27/19 27/21 27/23 31/17
                                   Spam [3] 57/5 58/6 92/19             93/5
 31/19 32/11 33/18 34/2 37/7 37/20
                                   speaker [3] 48/5 55/6 55/9          subpoenas [1] 31/11
 39/19 40/3
                                   speakers [1] 47/8                   subscriber [3] 44/11 44/13 62/6
Shormint.com [1] 40/2
                                   speaking [3] 78/22 80/25 89/4       substantially [2] 32/4 32/25
short [1] 85/10
                                   speaks [1] 67/7                     such [13] 12/25 15/12 19/16 23/18
shortly [1] 63/25
                                   specific [5] 45/22 47/25 82/9        28/4 49/19 50/14 50/16 56/5 79/18
should [19] 7/2 7/12 7/14 28/24
                                    92/15 93/15                         82/23 86/24 87/18
 29/2 29/3 31/4 31/21 32/2 32/14
                                   specifically [3] 25/19 36/24        suffice [1] 84/22
 32/15 32/17 34/5 50/24 51/1 52/3
                                    71/18                              sufficient [2] 50/3 51/15
 55/2 69/20 79/8
                                   specified [2] 18/18 84/16           suggest [1] 16/1
shouldn't [2] 35/4 49/19
                                   speculate [1] 67/7                  suggested [1] 42/9
show [16] 14/21 18/7 35/13 38/8
                                   speculating [1] 67/8                suggestion [1] 15/15
 48/6 48/8 48/12 49/9 51/25 56/13
                                   speed [1] 7/10                      Suite [1] 1/17
 71/7 71/18 73/10 84/6 91/24 92/12
                                   spell [1] 74/11                     sum [1] 83/25
showing [3] 50/9 52/2 84/23
                                   spend [1] 7/14                      summary [1] 65/11
shown [3] 35/24 55/25 68/3
                                   spent [2] 88/8 89/11                super [1] 78/11
shows [5] 23/11 48/18 73/11 76/6
                                   SpiderOak [4] 63/16 64/16 64/23     support [3] 21/1 76/2 76/4
 80/18
                                    64/25                              supposed [1] 23/25
shut [3] 8/9 25/3 29/5
                                   spinning [1] 50/19                  sure [23] 8/6 9/10 10/3 14/2 15/5
side [2] 7/24 49/18
                                   spreadsheet [7] 30/24 31/7 31/13     15/13 16/8 19/11 20/13 29/1 29/16
Sierra [2] 38/3 38/16
                                    32/14 32/14 33/1 74/16              37/12 47/15 49/6 50/4 50/22 74/13
sign [4] 13/18 87/11 87/12 87/24
                                   spreadsheets [3] 30/5 31/15 54/9     79/21 81/21 86/5 91/8 98/22 98/23
signs [1] 13/19
                                   SRL [2] 57/20 58/21                 surprised [1] 19/12
Silk [1] 8/7
                                   SSL [8] 28/21 29/1 29/3 29/7        surviving [1] 78/9
similar [4] 30/23 31/2 54/2 54/6
                                    29/10 29/14 40/15 40/15            Sweden [8] 62/7 71/23 75/22 85/14
S                                  38/8 38/18 38/20 40/18 40/23       town [1]   99/8
    Case 1:21-cr-00399-RDM
Sweden... [4] 85/18 95/6 95/14
                                   Document
                                   42/20 42/22 280    Filed
                                               42/23 43/9   03/16/24tradePage
                                                          48/21               114 78/12
                                                                          [4] 78/1 of 11578/13 78/14
                                    56/11 56/13 61/12 61/14 62/20     trades [2] 78/1 90/21
 95/16
                                    62/23 63/10 64/23 64/24 66/10     trading [3] 77/5 77/6 78/6
Swedish [2] 72/1 96/11
                                    66/11 67/5 67/14 68/4 68/7 69/22 traditional [1] 95/6
swift [1] 77/10
                                    71/4 71/5 71/7 72/17 72/18 72/20 transaction [11] 7/11 7/22 36/6
switch [2] 63/17 84/3
                                    73/14 73/18 75/4 75/5 75/7 76/7    36/14 36/25 37/2 37/6 37/14 39/14
switched [1] 85/11
                                    79/25 88/25 91/6 91/11 94/2 94/4   39/24 68/3
sworn [1] 5/24
                                    95/13 95/15 95/15 95/20 95/24     transactions [7] 31/11 32/6 35/13
system [3] 23/15 77/25 78/2
                                    96/9 97/1 97/2                     35/14 68/4 68/8 79/6
T                                  they [79] 5/3 8/9 9/14 14/10 24/4 transcript [2] 1/9 100/4
                                    25/3 25/3 26/4 28/1 30/21 30/24   transfer [5] 13/8 22/17 22/22
tab [2] 70/15 70/16                 30/25 31/1 31/6 31/7 31/8 31/9     25/5 25/15
table [5] 2/11 4/11 4/15 17/20      31/12 31/16 31/20 32/6 32/9 32/14 transferred [1] 22/23
 20/5                               32/17 32/20 33/12 33/14 34/1 34/5 transferring [1] 22/19
tabs [2] 69/24 69/25                34/5 34/6 34/17 34/18 34/20 34/24 translation [2] 43/7 43/24
take [11] 5/12 25/20 28/7 38/22     35/4 35/6 38/9 38/10 38/19 43/9   translations [3] 96/12 97/1 97/10
 45/10 47/13 64/2 78/17 97/17       43/12 47/18 49/18 49/18 50/24     travel [1] 99/4
 97/24 98/2
                                    51/1 51/2 51/10 51/16 53/14 54/15 treat [2] 86/10 89/24
taken [3] 5/20 64/8 99/12           54/16 56/15 61/16 62/25 63/12     treaty [4] 42/24 43/11 95/14
taking [1] 85/22                    63/15 66/13 71/8 71/9 72/4 72/20   95/17
talk [12] 6/5 6/8 6/9 11/15 11/22 72/22 75/9 78/2 78/10 78/12 81/22
                                                                      trends [1] 78/4
 19/18 45/3 45/6 46/21 46/22 46/25
                                    82/1 82/23 90/20 91/13 93/5 93/7 trial [2] 1/9 4/17
 54/17                              93/15 94/6 95/18 96/14            trouble [1] 19/14
talked [1] 6/5                     thing [7] 4/22 46/2 46/4 50/14     true [1] 100/4
talking [3] 47/5 50/21 53/13        50/17 53/24 87/20                 trust [1] 18/24
tampering [1] 23/16                thing is [1] 46/2                  trusted [1] 82/2
taxed [1] 10/8
                                   things [2] 18/2 23/18              truth [11] 47/7 48/4 48/8 48/11
taxes [3] 10/10 10/11 10/12
                                   think [28] 7/2 7/3 13/24 33/17      48/15 49/7 49/8 49/19 50/25 55/5
team [13] 11/10 22/15 37/24 41/7    40/19 42/5 42/8 45/2 46/5 48/16    55/6
 64/15 69/15 70/22 72/6 73/21
                                    50/8 50/18 50/22 51/23 52/1 52/4 try [2] 8/8 31/20
 74/21 90/12 92/24 95/2
                                    52/25 53/6 53/9 53/16 53/19 53/20 trying [10] 7/12 7/13 7/21 7/23
technical [1] 59/16                 54/18 56/8 73/19 77/25 78/7 85/6   9/12 23/15 31/18 48/12 78/5 81/25
technology [1] 82/11               thinking [1] 32/12                 tumblers [2] 81/7 82/8
tell [7] 4/4 12/19 25/3 27/2 37/5 third [5] 8/14 8/15 53/2 86/25      turn [4] 49/22 67/2 69/14 76/9
 37/5 60/25                         87/10                             turns [1] 82/21
tells [1] 32/9
                                   this [300]                         two [21] 19/10 23/12 28/19 32/12
terms [7] 8/24 23/1 36/1 48/18
                                   This document [1] 67/6              32/16 33/19 43/9 50/8 62/20 72/12
 48/21 81/19 82/15
                                   those [31] 9/12 10/11 10/12 17/24 72/24 73/11 73/13 73/14 73/16
terribly [1] 33/4                   18/1 18/5 19/10 24/18 25/21 30/17 77/3 77/23 81/6 82/7 86/17 98/24
test [1] 66/1                       31/6 32/12 34/12 34/23 41/10      types [1] 62/9
testified [1] 38/20                 44/11 47/8 56/9 62/9 72/2 72/13
testifying [1] 41/18                72/13 73/3 74/2 79/20 81/20 91/5 U
testing [1] 29/4                    95/11 96/25 97/8 97/9             U.S [2] 1/13 2/7
text [10] 6/24 21/8 22/7 26/23     though [2] 10/12 80/18             U9214765 [1] 21/16
 44/2 47/17 48/2 51/24 59/6 92/8
                                   thought [2] 49/9 49/24             Ultimately [1] 59/18
than [12] 23/11 23/17 28/20 32/25
                                   thousand [1] 15/17                 unable [1] 5/1
 53/16 58/8 79/23 87/12 87/24 90/1
                                   thread [11] 18/9 19/3 19/4 45/3    under [23] 6/22 7/5 11/20 13/9
 96/10 98/22
                                    45/5 45/7 45/10 45/14 45/16 47/22 32/18 35/20 37/3 40/8 44/22 49/20
thank [22] 4/12 4/16 5/19 6/15      53/13                              58/19 62/4 62/6 62/9 62/10 65/17
 21/17 30/10 34/8 64/7 74/14 77/13
                                   three [5] 18/5 62/10 65/25 77/4     65/23 66/23 68/3 73/16 78/24 92/1
 78/25 79/7 80/8 81/3 81/8 83/13    77/24                              92/14
 84/15 84/25 86/19 88/14 89/1
                                   through [44] 13/11 13/25 14/8      understand [9] 15/18 16/6 55/9
 96/20                              24/9 25/21 26/6 26/9 28/20 28/21   55/20 76/21 80/3 81/24 82/13
thanks [3] 13/5 13/19 22/10         30/4 30/7 30/15 34/22 38/3 38/5    88/20
that [298]                          38/12 38/14 39/4 69/24 71/2 71/4 understanding [7] 11/5 29/9 29/14
their [6] 19/15 33/15 33/20 35/3    71/11 71/13 72/12 72/24 75/2 75/4 36/12 36/19 46/7 76/6
 72/3 84/25
                                    75/11 75/14 79/18 79/18 89/21     unfortunately [1] 79/21
them [14] 24/6 25/4 33/8 33/16      90/25 91/2 91/5 91/10 91/15 91/17 unique [1] 7/10
 38/17 78/10 79/17 80/2 80/3 81/24 91/19 93/20 93/22 94/1 94/8 94/11
                                                                      UNITED [5] 1/1 1/3 1/10 4/2 4/5
 86/2 88/1 91/17 96/24
                                   Thursday [2] 6/5 54/2              unredacted [1] 97/10
then [74]  7/5 7/18  7/24 8/1 8/11
                                   ticket [3] 21/1 22/1 77/13         until [3] 17/18 87/2 87/15
 8/19 8/21 9/4 9/6 9/8 9/22 9/23
                                   tickets [2] 76/2 76/4              up [23] 6/17 7/18 10/18 13/25
 10/1 12/6 13/3 17/21 18/4 19/2
                                   time [28] 7/12 7/14 11/23 15/25     14/20 15/21 18/15 18/24 25/20
 21/14 22/3 24/10 24/20 26/24
                                    21/15 23/1 23/22 25/1 25/15 29/5   27/24 32/22 35/11 35/19 41/13
 27/17 27/20 27/22 29/25 33/18
                                    31/15 32/13 34/11 36/6 37/1 37/3   55/15 57/12 73/20 78/5 82/2 82/23
 33/19 35/15 36/7 36/16 40/16
                                    37/8 37/21 63/20 81/20 82/15 88/5 87/1 91/24 96/3
 43/24 47/8 49/14 51/3 53/15 54/12
                                    88/6 88/8 89/9 89/9 89/11 96/3    update [1] 56/4
 54/22 55/2 58/17 58/19 59/10 62/8
                                   times [2] 24/5 44/7                updated [1] 23/11
 62/15 67/2 67/20 68/2 76/4 78/3
                                   today [6] 4/23 5/17 25/1 45/7      upper [1] 68/6
 78/5 78/14 78/14 78/21 79/11       45/16 55/25                       Urban [8] 83/11 83/18 84/13 85/1
 80/24 81/11 81/23 82/16 82/25
                                   together [3] 16/8 31/25 54/16       86/16 87/6 88/12 89/2
 84/9 86/22 86/25 87/12 87/23 89/3
                                   tomorrow [2] 98/1 98/6             us [20] 1/20 19/14 24/2 24/9 25/3
 90/7 91/3 91/8 92/11 94/21 98/6
                                   Tongue [3] 7/25 9/2 18/3            25/5 33/7 43/20 55/16 76/21 76/25
 99/1
                                   too [1] 18/25                       79/3 79/5 80/9 81/4 81/15 84/25
theory [2] 49/22 50/4
                                   top [10] 14/20 18/15 22/3 22/7      93/4 93/5 93/12
there [139]                         35/19 57/6 65/10 67/16 76/10 90/6 USAO [1] 1/16
Therefore [1]  88/23
                                   TOR [14] 2/2 2/3 4/13 27/25 28/2 USD [5] 37/8 37/11 37/12 39/14
these [74] 10/23 14/5 14/7 23/21    28/3 28/5 28/15 28/16 28/20 28/24 77/12
 24/5 25/23 25/24 26/2 30/21 31/7   28/25 29/4 37/22                  use [13] 7/14 7/16 7/20 10/9
 32/5 32/5 32/16 32/19 32/24 34/14
                                   total [1] 39/14                     16/10 28/5 29/8 44/18 51/13 77/6
 34/15 34/17 34/25 35/14 38/5 38/6
                                   towards [4] 9/24 20/6 28/12 67/16 77/9 88/2 88/15
U                                  well [14] 7/24 17/21 19/11 34/4    witness [8] 5/23 5/23 30/16 38/20
    Case 1:21-cr-00399-RDM Document
used [18] 7/7 7/12 18/23 35/21
                                                280 53/11
                                    37/2 41/21 42/8    Filed
                                                           54/503/16/24
                                                                81/17  42/1Page   115 of74/11
                                                                             67/7 67/10   115
                                    86/12 89/8 97/25 98/17            WITNESSES [1] 3/2
 36/1 37/19 51/25 68/7 78/8 85/10
                                   went [1] 82/21                     won't [2] 42/9 99/10
 86/1 86/23 87/17 87/19 88/4 88/16
                                   were [56] 10/14 11/12 14/8 14/17 wondering [1] 50/18
 90/18 94/17
                                    15/6 15/14 25/2 26/11 30/21 30/25 woo [1] 66/1
user [16] 34/3 46/21 46/25 47/18
                                    31/1 31/7 31/8 31/9 34/5 34/18    word [6] 8/15 17/17 19/9 21/8
 47/19 47/21 47/23 50/7 51/11
                                    38/9 39/6 41/10 43/18 48/1 48/11   24/15 87/1
 51/16 53/4 53/14 55/24 65/21
                                    48/14 49/2 51/10 56/14 56/22      words [2] 55/3 87/12
 66/23 92/17
                                    62/24 63/7 64/25 65/15 66/12      work [7] 7/9 13/14 23/25 77/23
user's [1] 29/17
                                    69/14 71/8 71/15 72/2 72/21 73/5   88/17 88/19 90/16
username [8] 65/17 65/17 68/7
                                    75/8 75/16 78/10 81/7 82/1 82/8   worked [1] 24/1
 68/9 70/15 92/1 92/2 92/14
                                    85/19 85/24 93/7 94/5 94/13 95/16 working [3] 24/5 59/8 59/21
users [2] 48/19 86/1
                                    96/1 96/12 96/14 97/14 99/1 99/7 would [59] 4/7 4/19 6/12 6/22
uses [2] 47/23 85/16
                                   what [192]                          6/23 7/8 8/1 8/11 10/18 11/17
using [10] 10/11 14/25 22/5 25/3
                                   whatever [1] 51/2                   13/1 13/1 13/9 13/10 15/17 15/20
 28/25 39/19 77/3 81/7 81/20 82/8
                                   wheels [1] 50/19                    15/21 15/22 16/8 16/15 17/22
usually [1] 82/23
                                   when [26] 5/25 6/25 7/21 10/3       18/24 25/18 28/7 31/2 31/11 31/12
utility [1] 71/19
                                    15/25 16/13 18/2 18/23 19/13 24/1 32/20 32/21 33/5 36/23 48/2 49/3
V                                   29/17 33/10 33/15 37/21 41/19      49/8 50/3 50/23 51/24 52/4 54/3
                                    44/20 49/23 51/10 54/5 54/9 65/11 54/12 54/16 61/6 64/18 69/13
valid [1] 29/2                      68/4 78/10 88/16 89/23 92/21       71/17 75/18 77/10 78/12 80/9 81/4
value [7] 13/7 15/25 37/8 37/11
                                   where [17] 7/15 10/16 11/3 21/6     81/15 82/1 82/16 82/16 90/19
 37/11 37/12 37/12                  26/23 30/23 37/11 41/10 41/12      90/20 90/23 96/6 97/16
valued [2] 88/6 89/10               44/24 54/15 57/18 58/14 58/20     wouldn't [1] 5/3
Vasily [2] 14/25 22/5               61/3 79/17 85/6                   write [1] 84/14
verification [1] 79/2              Whereupon [21] 14/17 17/6 26/11    writes [8] 6/25 7/5 15/5 17/20
verifications [1] 80/1              39/6 43/18 46/12 56/22 60/13       18/17 19/11 20/13 22/8
verified [1] 78/20                  61/23 63/7 65/8 66/20 69/2 70/13 writing [2] 13/6 18/2
versus [2] 4/3 4/5                  71/15 73/5 75/16 91/21 94/13
very [16] 13/6 15/8 17/22 18/23     95/25 97/14                       Y
 20/11 27/13 34/1 78/10 79/22
                                   whether [6] 48/11 48/14 49/2 50/4 yeah [4] 5/11 37/2 45/25 55/19
 81/25 82/2 82/11 82/12 83/24       50/19 50/20                       years [10] 27/10 79/17 80/1 81/18
 89/17 93/7
                                   which [37] 6/11 7/8 10/18 11/14     82/14 85/19 85/23 86/9 86/10
via [1] 62/17                       13/23 19/24 20/18 23/3 25/16 28/6 87/20
view [1] 98/18                      30/12 31/16 31/25 35/11 37/8      yes [75] 4/19 6/21 16/23 18/6
vs [1] 1/5                          42/16 46/14 53/25 56/8 59/22       18/13 25/1 30/15 30/18 31/10
W                                   68/11 69/20 73/19 77/9 78/8 78/16 33/22 34/13 34/15 35/14 35/18
                                    79/5 79/19 79/21 80/16 85/10       37/23 38/10 41/9 42/18 42/21 43/2
waiting [1] 25/4                    85/14 85/15 86/3 90/1 91/24 93/12 43/12 44/17 45/5 45/12 45/14
Wall [1] 2/3                       while [11] 6/25 10/10 15/7 30/16    46/11 46/24 47/10 47/16 48/16
want [11] 5/10 10/8 20/6 29/23      47/14 53/24 54/13 85/10 88/20      51/23 52/9 54/7 54/13 54/25 57/20
 34/24 41/22 41/23 77/24 86/5       93/6 98/15                         59/25 61/9 61/12 63/19 63/21
 98/21 98/23                       who [58] 4/14 6/6 12/1 12/10        64/17 64/23 65/16 66/4 68/13
wanted [1] 32/2                     12/19 14/24 15/2 17/8 22/3 22/14   68/18 69/17 69/22 70/3 70/23 72/1
wants [3] 20/15 29/24 54/11         23/7 24/13 24/23 25/10 26/16       72/8 72/18 73/9 73/22 74/18 74/23
warnings [2] 25/4 29/4              26/18 28/10 29/23 29/24 38/18      75/25 80/22 83/23 90/10 90/13
warrant [1] 11/9                    39/17 39/17 46/20 53/4 53/4 53/7   90/23 93/1 93/9 93/17 93/23 96/11
was [81] 6/6 6/9 6/10 9/17 10/15    53/7 53/14 53/21 57/4 58/5 59/4    96/14 96/19 97/12 98/9 99/3 99/6
 10/17 11/9 17/6 23/22 24/1 25/15   59/13 60/19 60/21 60/25 69/6 69/8 yet [5] 13/24 16/16 42/16 56/8
 26/1 26/1 31/25 32/1 37/6 37/6     76/13 77/17 78/22 79/12 80/5       59/23
 37/7 37/21 38/14 46/12 47/4 47/4   80/13 80/25 81/11 82/17 83/4      York [1] 1/20
 47/9 47/19 49/9 49/13 49/15 49/25 83/10 83/19 84/11 85/2 86/14 87/7
                                                                      you [344]
 50/13 50/16 51/9 53/25 54/2 54/2   88/11 89/3 89/14 99/4             your [223]
 54/7 57/22 57/23 58/20 58/23      whoever [1] 51/16                  yours [1] 86/8
 60/13 60/25 61/1 61/2 61/23 65/8 whole [3] 9/1 15/4 17/24
                                                                      yourselves [1] 63/24
 65/12 66/20 69/2 70/13 79/17      whom [1] 85/8
 79/18 81/18 81/18 81/20 82/3      whose [2] 39/18 61/1               Z
 82/11 83/24 83/25 84/1 85/6 85/7 why [11] 10/3 41/21 47/2 49/5
                                                                      Zoom [1] 98/3
 85/11 85/20 86/3 86/24 87/18       49/6 54/17 63/22 84/17 84/19      ZZLTFFKS [1] 46/21
 87/20 87/20 88/2 88/17 90/10       97/17 97/18
 90/14 90/15 91/8 92/9 92/10 92/21 will [49] 10/8 10/9 10/9 15/10
 93/2 93/3 96/2                     15/11 15/13 15/16 15/24 15/25
Washington [5] 1/5 1/14 1/17 1/21 15/25 16/2 16/2 16/13 18/2 18/18
 2/9                                19/1 20/14 21/14 22/22 22/23 24/5
wasn't [2] 7/17 85/22               29/12 33/12 33/15 33/20 34/1 34/4
wasted [2] 88/5 89/8                34/23 34/25 45/22 46/9 48/19 53/2
way [18] 4/17 8/3 9/10 23/25 28/3 56/3 63/23 63/24 64/6 76/19 76/20
 33/13 33/14 33/21 34/5 35/3 42/9   85/21 85/23 89/22 96/3 97/18
 49/6 50/5 82/2 85/20 87/10 89/24   97/22 97/25 98/16 98/24 99/10
 90/2                              Win [1] 17/24
we [205]                           Windows [1] 16/9
we'll [2] 30/6 99/1                wish [1] 89/7
web [2] 67/14 69/7                 withdraw [1] 19/15
website [13] 22/1 25/14 27/16      withdrawal [2] 76/17 76/25
 27/19 27/21 27/23 28/23 29/16     withdrawals [6] 59/20 84/24 87/5
 29/17 80/18 85/20 86/2 86/4        87/25 88/24 88/25
websites [2] 18/23 90/3            withdrawing [1] 77/11
weighed [1] 58/24                  within [5] 47/11 47/17 48/2 48/3
weight [2] 57/24 58/24              52/3
weird [1] 88/3                     without [6] 25/4 28/5 28/16 31/19
Welcome [1] 5/22                    51/15 86/8
